Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 1 of 552




                  Exhibit 1
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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

WILLIAM A. LINK, et al.,

     Plaintiffs,                                Case No. 4:21-cv-00271-MW-MAF

      v.

RICHARD CORCORAN, in his official
capacity as the Florida Commissioner of
Education, et al.,

     Defendants.

 DECLARATION OF ALEXI M. VELEZ IN SUPPORT OF PLAINTIFFS’
EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER OR
    IN THE ALTERNATIVE FOR PRELIMINARY INJUNCTION

I, Alexi M. Velez, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

      1.     I am over the age of 18 and competent to make this declaration. I am

an attorney with the law firm of Elias Law Group LLP and am admitted to practice

law in the District of Columbia, New Jersey, Pennsylvania, and before multiple

federal courts of appeals and district courts. I am admitted before this District pro

hac vice in the above-captioned matter and am an attorney for Plaintiffs. I submit

this declaration to provide the Court true and correct copies of certain documents

submitted in connection with Plaintiffs’ Emergency Motion for Temporary

Restraining Order or in the Alternative for Preliminary Injunction and Order to Show

Cause.
   Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 3 of 552




        2.   Exhibit A is a true and correct copy of a March 23, 2022 email from

Defendants’ counsel, George Levesque, to Plaintiffs’ counsel.

        3.   Exhibit B is a true and correct copy of a December 16, 2021 email from

Plaintiffs’ counsel, Fritz Wermuth, to Defendants’ counsel.

        4.   Exhibit C is a true and correct copy of a January 4, 2022 email from

Plaintiffs’ counsel, Fritz Wermuth, to Defendants’ counsel.

        5.   Exhibit D is a true and correct copy of a January 13, 2022 email

from Plaintiffs’ counsel, Fritz Wermuth, to Defendants’ counsel.

        6.   Exhibit E is a true and correct copy of a March 3, 2022 email from

Plaintiffs’ counsel, Fritz Wermuth, to Defendants’ counsel.

        7.   Exhibit F is a true and correct copy of a March 17, 2022 email from

Plaintiffs’ counsel, Noah Barron, to Defendants’ counsel.

        8.   Exhibit G is a true and correct copy of the document titled “FLBOG

Faculty Survey (FINAL DRAFT).docx,” which is Bates stamped FSU001776-1783

and was produced to Plaintiffs by Florida State University (“FSU”) on March 22,

2022.

        9.   Exhibit H is a true and correct copy of the document titled “FLBOG

Student Survey (FINAL DRAFT).docx,” which is Bates stamped FSU001796-1803

and was produced to Plaintiffs by FSU on March 22, 2022.




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        10.   Exhibit I is a true and correct copy of the document titled “FLBOG

Student Survey (DRAFT) with comments.docx,” which is Bates stamped

FSU001733-1739 and was produced to Plaintiffs by FSU on March 22, 2022.

        11.   Exhibit J is a true and correct copy of is a true and correct copy of the

document titled “FLBOG Student Survey (DRAFT)_LA.docx,” which is Bates

stamped FSU001740-1750 and was produced to Plaintiffs by FSU on March 22,

2022.

        12.   Exhibit K is a true and correct copy of is a true and correct copy of the

document titled “FLBOG Student Survey (February 2022) THSnotes.docx,” which

is Bates stamped FSU002003-2009 and was produced to Plaintiffs by FSU on March

22, 2022.

        13.   Exhibit L is a true and correct copy of a March 24, 2022 email from

Plaintiffs’ counsel, Fritz Wermuth, to Defendants’ counsel.

        14.   Exhibit M is a true and correct copy of the video file titled “6_22_21

Now Speaking - Governor Ron DeSantis & Lieutenant Governor Jeanette Nuñez at

the Florida American Legion Boys State - The Florida Channel.mp4,” which is Bates

stamped PL_000004.

        15.   Exhibit N is a true and correct copy of the video file titled “Education

is Freedom Richard Corcoran_youtube.com-watch-v-HVujpIator0.mp4,” which a

recording of Defendant Commissioner Richard Corcoran’s remarks in a presentation



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titled “Education is Freedom” made at Hillsdale College and is Bates stamped

PL_000006.

      16.    Exhibit O is a true and correct copy of the video file titled “FAU BOT

Meeting 4_20_21.mp4,” which is a recording of the Florida Atlantic University

Board of Trustees public meeting occurring on April 20, 2021 and Bates stamped

PL_000007.

      17.    Exhibit P is a true and correct copy of David La Falce & SimonPeter

Gomez, Political Attitudes in the Classroom: Is Academia the Last Bastion of

Liberalism?, 3 J.   OF   POLITICAL SCIENCE EDUCATION 1, 18 (2007), which is Bates

stamped FSU000256-276 and was produced to Plaintiffs by FSU on March 22, 2022.

      18.    Exhibit Q is a true and correct copy of Jennifer Larson et al., Free

Expression and Constructive Dialogue at the University of North Carolina at Chapel

Hill 18-20 (March 2, 2020), which is Bates stamped FSU001810-1889 and was

produced to Plaintiffs by FSU on March 22, 2022.

      19.    Exhibit R is a true and correct copy of the Institutional Review Board

(“IRB”) Protocol entitled “The State of Florida’s State University Systems

Intellectual Freedom and Viewpoint Diversity Survey,” which is Bates stamped

FSU001967-1983 and was produced to Plaintiffs by FSU on March 22, 2022.




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      20.   Exhibit S is a true and correct copy of the document titled “FLBOG

Student Survey (DRAFT) with DR Comments.docx,” which is Bates stamped

FSU000121-127 and was produced to Plaintiffs by FSU on March 8, 2022.

      21.   Exhibit T is a true and correct copy of Matthew Woessner & April

Kelly-Woessner, I Think My Professor is a Democrat: Considering Whether

Students Recognize and React to Faculty Politics, 42 PS: POLITICAL SCIENCE AND

POLITICS 343 (Apr. 2009).

      22.   Exhibit U is a true and correct copy of McCarthy & Isaac Kamola,

Sensationalized Surveillance: Campus Reform and the Targeted Harassment of

Faculty 14-19, NEW POLITICAL SCIENCE, DOI: 10.1080/07393148.2021.1996837

(2021).

      23.   Exhibit V is a true and correct copy of Plaintiff Barry Edwards’s

Verified Responses and Objections to Defendants’ First Set of Interrogatories.

      24.   Exhibit W is a true and correct copy of Plaintiff Jack Fiorito’s Verified

Responses and Objections to Defendants’ First Set of Interrogatories.

      25.   Exhibit X is a true and correct copy of Plaintiff William Link’s Verified

Responses and Objections to Defendants’ First Set of Interrogatories.

      26.   Exhibit Y is a true and correct copy of Plaintiff Julie Adams’s Verified

Responses and Objections to Defendants’ First Set of Interrogatories.




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   Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 7 of 552




      27.   Exhibit Z is a true and correct copy of Plaintiff Blake Simpson’s

Verified Responses and Objections to Defendants’ First Set of Interrogatories.

      28.   Exhibit AA is a true and correct copy of a March 25, 2022 email from

Defendants’ counsel, George Levesque, to Plaintiffs’ counsel.

      29.   Exhibit BB is a true and correct copy of Isaac Kamola, Dear

Administrators: To Protect Your Faculty from Right-Wing Attacks, Follow the

Money, 10 AAUP J. OF ACADEMIC FREEDOM 4-8 (2019).

      30.   Exhibit CC is a true and correct copy of the document titled “FLBOG

Staff Survey Dec 7.docx,” with is Bates stamped FSU000205-210.

      31.   Exhibit DD is a true and correct copy of a February 10, 2022 email from

Plaintiffs’ counsel, Alexi Velez, to Defendants’ counsel.

      32.   Exhibit EE is a true and correct copy of a Monday, November 15, 2021

email from Jon Rogers to various individuals with email addresses using a Florida

Board of Governors domain name attaching a November 15, 2021 version of the

student survey, which is Bates stamped Defendants_007101.

      33.   Exhibit FF is a true and correct excerpt from a certified transcript of

February 17, 2021 meeting of the Florida House Post-Secondary Education &

Lifelong Learning Subcommittee, which is Bates stamped PL_002924-3019.

      34.   Exhibit GG is a true and correct copy of John Villasenor, Views among

college students regarding the First Amendment: Results from a new survey,


                                        -6-
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Brookings Institution (Sept. 18, 2017), https://www.brookings.edu/blog/fix

gov/2017/09/18/views-among-college-students-regarding-the-first-amendment-

results-from-a-new-survey/.

      35.    Exhibit HH is a true and correct copy of Lois Beckett, ‘Junk science’:

experts cast doubt on widely cited free speech survey, The Guardian (Sept. 22, 2017),

https://www.theguardian.com/us-news/2017/sep/22/college-free-speech-violence-

survey-junk-science.

      36.    Exhibit II a true and correct copy of Plaintiff David Price’s Verified

Responses and Objections to Defendants’ First Set of Interrogatories.

      37.    Exhibit JJ is a true and correct copy of Mack D. Mariani & Gordon J.

Hewitt, Indoctrination U.? Faculty Ideology and Changes in Student Political

Orientation, 41 PS: POLITICAL SCIENCE & POLITICS 773 (Oct. 2008).

      38.    Exhibit KK is a true and correct copy of Matthew Woessner & April

Kelly-Woessner, Why College Students Drift Left: The Stability of Political Identity

and Relative Malleability of Issue Positions Among College Students, 54 PS:

POLITICAL SCIENCE & POLITICS 657 (Oct. 2020).

      39.    Exhibit LL is a true and correct copy of Michael Bérubé & Jennifer

Ruth, When Professors’ Speech is Disqualifying: Should academic freedom really

protect those who make false and morally repellent claims? It’s time for a rethink,

The New Republic (March 21, 2022).



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       40.   Exhibit MM is a true and correct copy of the video interview Ybeth

Bruzul, New Florida bill calls for annual evaluations of all university viewpoints,

Spectrum News 13 (July 18, 2021), available at https://www.mynews13.com/fl/

orlando/political-connections/2021/07/16/political-connections?cid=share_fb&fbc

lid=IwAR3SNMHL5SOQGh1cXeCPhRCERjTAarfftJB6rf8g-egSS3VAtPiCrK3-

uLY.

       41.   Exhibit NN is a true and correct copy of AERA, AERA Statement on

the Significance of Academic Freedom in a Divisive Political Climate (Feb. 22,

2022), available at https://www.aera.net/Newsroom/AERA-Statement-on-the-

Significance-of-Academic-Freedom-in-a-Divisive-Political-Climate.



       I declare under penalty of perjury that the foregoing is true and correct.

DATED: March 26, 2022                          /s/ Alexi M. Velez
                                               Alexi M. Velez*
                                               ELIAS LAW GROUP LLP
                                               10 G Street NE, Suite 600
                                               Washington, D.C. 20002
                                               Telephone: (202) 968-4654
                                               avelez@elias.law

                                               Counsel for Plaintiffs

                                               *Admitted Pro Hac Vice




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                        EXHIBIT A
                                                                                                                          Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 11 of 552


Alexi Velez

From:                                                                                                                              George Levesque <George.Levesque@gray-robinson.com>
Sent:                                                                                                                              Wednesday, March 23, 2022 5:45 PM
To:                                                                                                                                Angie Price; Fritz Wermuth; Tim Moore, Jr.
Cc:                                                                                                                                Melissa Hill; Robyn Kramer; Elisabeth Frost; Noah Baron
Subject:                                                                                                                           RE: Link/UFF v. Corcoran et al. -- Discovery Supplementation Request



Thanks for sharing. To be clear, we are not moving to request any extension; however, we won’t
oppose the motion. It should not be styled as a joint motion. The summarization includes
statements with which we would disagree, but as a matter of courtesy and professionalism, we
are not opposing the relief you are requesting.

Also, since you make reference to this in your motion, I received word this afternoon that the
student survey is presently targeted to be distributed by the Board of Governors to the
universities on April 4. I don’t know when the staff survey will be distributed to the
universities. As far as I know, the surveys are still a work in progress, and these dates are not
set in stone.

George


                                                                                                                                                               T 850-577-9090
                                                                                                                                                               D 850-577-6969
                                                                                                                                                               F 850-577-3311
George Levesque                                                                                                                                                    To help protect
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Shareholder
                                                                                                                                                                   Mail To              Bio                  GR Twitter           GR Facebook          GR Link edIn




GrayRobinson, P.A.                                                                                                            ▪   301 South Bronough Street, Suite 600, Tallahassee, Florida 32301
    To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.
    Gray Robinson Logo




From: Angie Price <APrice@kbzwlaw.com>
Sent: Wednesday, March 23, 2022 5:20 PM
To: George Levesque <George.Levesque@gray‐robinson.com>; Fritz Wermuth <FWermuth@kbzwlaw.com>; Tim Moore,
Jr. <tim.moore@gray‐robinson.com>
Cc: Melissa Hill <mhill@kbzwlaw.com>; Robyn Kramer <rkramer@kbzwlaw.com>; Elisabeth Frost <efrost@elias.law>;
Noah Baron <nbaron@elias.law>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.

Hey George – here’s our motion for your review before we file.

Angie Price | Paralegal
aprice@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.
Tel: 407-422-2472


                                                                                                                                                                                                             1
              Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 12 of 552

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Wednesday, March 23, 2022 3:43 PM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Angie Price <APrice@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Robyn Kramer <rkramer@kbzwlaw.com>;
Elisabeth Frost <efrost@elias.law>; Noah Baron <nbaron@elias.law>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Fritz, we do not oppose the motion.


                                                      T 850-577-9090
                                                      D 850-577-6969
                                                      F 850-577-3311
George Levesque
Shareholder

GrayRobinson, P.A.   ▪   301 South Bronough Street, Suite 600, Tallahassee, Florida 32301




From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Tuesday, March 22, 2022 9:35 AM
To: George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Angie Price <APrice@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Robyn Kramer <rkramer@kbzwlaw.com>;
Elisabeth Frost <efrost@elias.law>; Noah Baron <nbaron@elias.law>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.


Hi George,

In light of the status of the productions and final survey, we think it makes sense to seek modification of the
case management schedule, without altering the trial date. We propose to file a joint motion requesting the
Court approve the following modified schedule. Please let us know whether you will join in this
request. Thanks.

 Task                                              Scheduling Order                    Proposed New
                                                   Deadline                            Deadline

 Plaintiffs’ Expert Witness                        March 31, 2022                      April 14, 2022
 Disclosure and Reports

 Defendants’ Expert Witness                        May 2, 2022                         May 16, 2022
 Disclosure and Reports

 Plaintiffs’ Rebuttal Expert                       Within the time set by              June 1, 2022
 Witness Disclosure and                            Rule 26(a)(2)(d)(ii)
 Reports                                           (June 1, 2022)
                                                                   2
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 Discovery Deadline (Fact and           June 8, 2022                 June 15, 2022
 Expert Discovery)

 Deadline to file Motions for           June 29, 2022                Same
 Summary Judgment and Other
 Dispositive Motions
 Deadline for Pretrial                  August 17, 2022              Same
 Disclosures, including Witness
 and Exhibit Lists
 Motions in Limine and Daubert          August 31, 2022              Same
 Motions Deadline
 Trial                                  September 19, 2022           Same



Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Thursday, March 17, 2022 1:03 PM
To: Noah Baron <nbaron@elias.law>; Fritz Wermuth <FWermuth@kbzwlaw.com>; Tim Moore, Jr. <tim.moore@gray‐
robinson.com>
Cc: Angie Price <APrice@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Robyn Kramer <rkramer@kbzwlaw.com>;
Elisabeth Frost <efrost@elias.law>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Noah,
The surveys should be distributed to the students and faculty at the end of this month.

To your second question, I’m unable to provide a date for production. We understand your
request for the supplement to our prior discovery responses to include the final survey that is
distributed and the documents leading up to the final version. We are working on gathering
those missing documents from the last production. Obviously, we can’t give you document that
doesn’t yet exist, but once the final survey is finalized and distributed, we will provide those
records to you as well.

George




                                          T 850-577-9090
                                          D 850-577-6969
                                          F 850-577-3311
George Levesque
Shareholder

                                                     3
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GrayRobinson, P.A.   ▪   301 South Bronough Street, Suite 600, Tallahassee, Florida 32301




From: Noah Baron <nbaron@elias.law>
Sent: Thursday, March 17, 2022 10:37 AM
To: George Levesque <George.Levesque@gray‐robinson.com>; Fritz Wermuth <FWermuth@kbzwlaw.com>; Tim Moore,
Jr. <tim.moore@gray‐robinson.com>
Cc: Angie Price <aprice@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Robyn Kramer <rkramer@kbzwlaw.com>;
Elisabeth Frost <efrost@elias.law>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.

George,

Thanks for getting back to us. Fritz is out this week but I wanted to follow up with a few questions.

         Can you clarify what you mean by “the surveys should go out at the end of this month”? Does that mean that
          the survey will be distributed to faculty/staff/students at the end of the month, or does that mean that the
          supplemental production with the final drafts will be sent to us at the end of the month?

         If it is the former – that the surveys should be distributed by the end of March – can you provide us a specific
          date on which we can expect to receive the supplemental production, including any additional communications
          your clients have about the surveys and the process of preparing them, as well as the final drafts of the surveys?

As the second bullet above indicates, but I want to make sure is clear, we are seeking not only the final surveys, but a
supplement of your production of documents for all requests, and especially those requests relating to the survey, which
Fritz mentioned in his prior email. Please let me know if a conversation would be helpful.

Thanks,

Noah Baron
Associate
Elias Law Group
10 G St NE Ste 600
Washington DC 20002
202-968-4556


CONFIDENTIAL: This email may contain privileged or confidential information and is for the sole use of the intended
recipient(s). Any unauthorized use or disclosure of this communication is prohibited. If you believe that you have
received this email in error, please notify the sender immediately and delete it from your system.

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Friday, March 11, 2022 11:22 AM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <aprice@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Robyn
Kramer <rkramer@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Fritz, I have been informed that the surveys should go out at the end of this month.

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We’ll look into the issue related to the surveys. We ran the searches on the same terms and the
same custodians as the initial production. If there are documents that we missed in that review,
we will produce them as a supplement to the original production.

George




                                                      T 850-577-9090
                                                      D 850-577-6969
                                                      F 850-577-3311
George Levesque
Shareholder

GrayRobinson, P.A.   ▪   301 South Bronough Street, Suite 600, Tallahassee, Florida 32301




From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Friday, March 11, 2022 10:43 AM
To: George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Robyn
Kramer <rkramer@kbzwlaw.com>; Fritz Wermuth <FWermuth@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.

Thank you, George. We are aware of the documents that you reference. Both are dated in September of 2021. The most
recent documents related to surveys we have been able to find in any of Defendants productions are from October
2021. Please let me know asap of you are aware of any more recent materials related to the survey that have been
produced. We have been unable to locate anything. This is particularly concerning given that we have received more
recent materials in response to public records requests. I am attaching some of those more recent drafts here; they
were previously produced by us to you pursuant to your Second Set of Requests for Production to Plaintiffs. Those PRR
responses also indicate that the survey will be finalized and actually distributed by February 2022 (See
Defendants_001242). Given the existence of these documents, and this new information about the timeframe, Plaintiffs
reasonably believe that your clients have documents responsive to our requests not yet produced. Please consult with
your clients again. It is critical that they produce all materials related to the survey as requested by our discovery
requests (See Plaintiff’s First Requests for Production at Nos. 2 and 6, as well as Plaintiff’s First Set of Interrogatories
Nos. 1, 2, 7, 8, and 9).


Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Tuesday, March 8, 2022 9:55 AM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim
                                                                   5
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Moore, Jr. <tim.moore@gray‐robinson.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Fritz, Draft surveys were indeed included in the supplemental production. I believe the records
you were looking for are Defendants_007335-42 (Student Survey) and Defendants_007247-54
(Faculty Survey).

I’m not aware of the current status of the survey, but I have inquired and can provide an update
once I know more.

George




                                                      T 850-577-9090
                                                      D 850-577-6969
                                                      F 850-577-3311
George Levesque
Shareholder

GrayRobinson, P.A.   ▪   301 South Bronough Street, Suite 600, Tallahassee, Florida 32301




From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Thursday, March 3, 2022 11:28 AM
To: George Levesque <George.Levesque@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim
Moore, Jr. <tim.moore@gray‐robinson.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.

Hi George,

Please let me know the status of the final survey, which I know you were expecting to be available late
February or early March. Also, your supplement did not appear to include draft of the survey. We request that
you provide all drafts as part of the supplement. Thanks.

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Monday, February 21, 2022 9:04 AM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim Moore, Jr. <tim.moore@gray‐
robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

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Fritz, we expect to make a supplemental production this week.

Your reading of the order is consistent with ours. Also, I wanted to raise one more point about
the order – it appears the order reinstates mediation, requiring it to start within 14 days of the
close of discovery. In addition to calculating the wrong date for the close of discovery, it appears
the court overlooked that it had previously relieved us of those obligations, and that order (ECF
No. 59) was not referenced in any way in the current order.

While I believe this is just an oversight, I welcome your thoughts on how you would like to
proceed.


                                                      T 850-577-9090
                                                      D 850-577-6969
                                                      F 850-577-3311
George Levesque
Shareholder

GrayRobinson, P.A.   ▪   301 South Bronough Street, Suite 600, Tallahassee, Florida 32301




From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Friday, February 18, 2022 10:36 AM
To: George Levesque <George.Levesque@gray‐robinson.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim Moore, Jr.
<tim.moore@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.


Hi George and Tim,

Please provide an update on the status of your supplemental discovery responses.

Also, I would like to confirm that you read the Court’s attached order (ECF No. 69) as I do, which is that he
accepted the proposed deadlines in our motion (ECF No. 64), even though he only specifically referenced the
discovery deadline.

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Thursday, January 13, 2022 7:24 PM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim Moore, Jr. <tim.moore@gray‐
robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

                                                                   7
              Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 18 of 552


Fritz,
We are working on supplementing the Board of Governor’s responses for the requests identified
below. The records are being gathered, but I don’t have an indication as to how many there are.

George



                                                      T 850-577-9090
                                                      D 850-577-6969
                                                      F 850-577-3311
George Levesque
Shareholder

GrayRobinson, P.A.   ▪   301 South Bronough Street, Suite 600, Tallahassee, Florida 32301




From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Thursday, January 13, 2022 4:04 PM
To: George Levesque <George.Levesque@gray‐robinson.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim Moore, Jr.
<tim.moore@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.

Hi George,

I’m circling back to get your response to our request that you supplement your responses regarding the survey
materials (as referenced below). Please let us know the status of the supplement.

       Documents “related to the Survey Provisions and the Survey that it requires.” E.g., Corcoran Request for
        Production No. 2.
       Documents “regarding or related to the ideological makeup or viewpoint diversity of faculty, students,
        and staff in Florida’s public post-secondary schools.” E.g., Corcoran Request for Production No. 6.


Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Tuesday, January 4, 2022 3:21 PM
To: Melissa Hill <mhill@kbzwlaw.com>; Fritz Wermuth <FWermuth@kbzwlaw.com>; Tim Moore, Jr. <tim.moore@gray‐
robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request


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Fritz, apologies for the delay. To your second question, I believe we produced the requested
document. The first attachment is the document you reference, the second document, Bates No.
Defendants_000339, is the Update Memorandum #1 that was previously produced.

To your first question, we’re looking at your request, and I hope to have a response later this
week.

George


                                                                    T 850-577-9090
                                                                    D 850-577-6969
                                                                    F 850-577-3311
George Levesque
Shareholder

GrayRobinson, P.A.        ▪   301 South Bronough Street, Suite 600, Tallahassee, Florida 32301




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From: Melissa Hill <mhill@kbzwlaw.com>
Sent: Tuesday, January 4, 2022 10:20 AM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>; George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore,
Jr. <tim.moore@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.

+ Angie Price.

Melissa Hill | Paralegal
mhill@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.
25 East Pine St | P.O. Box 1631 | Orlando, FL 32801
Tel: 407-422-2472 | Fax: 407-648-0161
kbzwlaw.com

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under applicable law. If you have received this email in error, please advise the sender and permanently delete this email and any attachments from your system. Thank you.


From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Tuesday, January 4, 2022 10:11 AM

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             Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 20 of 552

To: George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Melissa Hill <mhill@kbzwlaw.com>; Noah Baron <nbaron@elias.law>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Hi George and Tim,

Happy New Year. I am following up on my email below to check the status of your effort and response. Please
let us know your response as soon as possible. Thanks.

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: Fritz Wermuth
Sent: Thursday, December 16, 2021 6:43 AM
To: George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Melissa Hill (mhill@kbzwlaw.com) <mhill@kbzwlaw.com>; Noah Baron <nbaron@elias.law>
Subject: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Dear Counsel,

I hope this e-mail finds you well. I write to you to request supplemental and ongoing production of documents
relating to the Survey Provision. See Fed. R. Civ. P. 26(e)(1)(A).

As you may recall, Plaintiffs previously propounded discovery requests seeking:
    Documents “related to the Survey Provisions and the Survey that it requires.” E.g., Corcoran Request for
       Production No. 2.
    Documents “regarding or related to the ideological makeup or viewpoint diversity of faculty, students,
       and staff in Florida’s public post-secondary schools.” E.g., Corcoran Request for Production No. 6.

Your responses to those requests were served on October 25, 2021, about two months ago. Because the design
of the survey appears to be ongoing, we ask that you conduct another search for responsive documents.

We also ask that you conduct another search for a document we believe may have been inadvertently omitted
from your last production. In that production, you provided documents relating to the Survey Provision which
indicate the existence of “Update Memorandum #1,” which was to provide an update on progress related to the
design of the survey and provide a “summary of the core literature shaping the project.” Bates No.
Defendants_001503. However, we were unable to identify such a document in the documents produced.

Regards,

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.
25 East Pine St | P.O. Box 1631 | Orlando, FL 32801
Tel: 407-422-2472 | Fax: 407-648-0161
kbzwlaw.com
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                        EXHIBIT B
             Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 22 of 552


Alexi Velez

From:                 Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent:                 Thursday, December 16, 2021 6:43 AM
To:                   George Levesque; Tim Moore, Jr.
Cc:                   Melissa Hill; Noah Baron
Subject:              Link/UFF v. Corcoran et al. -- Discovery Supplementation Request



Dear Counsel,

I hope this e-mail finds you well. I write to you to request supplemental and ongoing production of documents
relating to the Survey Provision. See Fed. R. Civ. P. 26(e)(1)(A).

As you may recall, Plaintiffs previously propounded discovery requests seeking:
    Documents “related to the Survey Provisions and the Survey that it requires.” E.g., Corcoran Request for
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design of the survey and provide a “summary of the core literature shaping the project.” Bates No.
Defendants_001503. However, we were unable to identify such a document in the documents produced.

Regards,

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.
25 East Pine St | P.O. Box 1631 | Orlando, FL 32801
Tel: 407-422-2472 | Fax: 407-648-0161
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                        EXHIBIT C
           Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 24 of 552


Alexi Velez

From:              Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent:              Tuesday, January 4, 2022 10:11 AM
To:                George Levesque; Tim Moore, Jr.
Cc:                Melissa Hill; Noah Baron
Subject:           RE: Link/UFF v. Corcoran et al. -- Discovery Supplementation Request



Hi George and Tim,

Happy New Year. I am following up on my email below to check the status of your effort and response. Please
let us know your response as soon as possible. Thanks.

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: Fritz Wermuth
Sent: Thursday, December 16, 2021 6:43 AM
To: George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Melissa Hill (mhill@kbzwlaw.com) <mhill@kbzwlaw.com>; Noah Baron <nbaron@elias.law>
Subject: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Dear Counsel,

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Regards,

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.
25 East Pine St | P.O. Box 1631 | Orlando, FL 32801
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             Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 25 of 552

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                        EXHIBIT D
                                                                                                                          Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 27 of 552


Alexi Velez

From:                                                                                                                              Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent:                                                                                                                              Thursday, January 13, 2022 4:04 PM
To:                                                                                                                                George Levesque; Melissa Hill; Tim Moore, Jr.
Cc:                                                                                                                                Noah Baron; Angie Price
Subject:                                                                                                                           RE: Link/UFF v. Corcoran et al. -- Discovery Supplementation Request



Hi George,

I’m circling back to get your response to our request that you supplement your responses regarding the survey
materials (as referenced below). Please let us know the status of the supplement.

                                                                  Documents “related to the Survey Provisions and the Survey that it requires.” E.g., Corcoran Request for
                                                                   Production No. 2.
                                                                  Documents “regarding or related to the ideological makeup or viewpoint diversity of faculty, students,
                                                                   and staff in Florida’s public post-secondary schools.” E.g., Corcoran Request for Production No. 6.


Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Tuesday, January 4, 2022 3:21 PM
To: Melissa Hill <mhill@kbzwlaw.com>; Fritz Wermuth <FWermuth@kbzwlaw.com>; Tim Moore, Jr. <tim.moore@gray‐
robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Fritz, apologies for the delay. To your second question, I believe we produced the requested
document. The first attachment is the document you reference, the second document, Bates No.
Defendants_000339, is the Update Memorandum #1 that was previously produced.

To your first question, we’re looking at your request, and I hope to have a response later this
week.

George


                                                                                                                                                               T 850-577-9090
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George Levesque                                                                                                                                                    To help protect
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Shareholder
                                                                                                                                                                   Mail To              Bio                  GR Twitter           GR Facebook          GR Link edIn




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From: Melissa Hill <mhill@kbzwlaw.com>
Sent: Tuesday, January 4, 2022 10:20 AM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>; George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore,
Jr. <tim.moore@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.

+ Angie Price.

Melissa Hill | Paralegal
mhill@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.
25 East Pine St | P.O. Box 1631 | Orlando, FL 32801
Tel: 407-422-2472 | Fax: 407-648-0161
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Sent: Tuesday, January 4, 2022 10:11 AM
To: George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Melissa Hill <mhill@kbzwlaw.com>; Noah Baron <nbaron@elias.law>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Hi George and Tim,

Happy New Year. I am following up on my email below to check the status of your effort and response. Please
let us know your response as soon as possible. Thanks.

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: Fritz Wermuth
Sent: Thursday, December 16, 2021 6:43 AM
To: George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Melissa Hill (mhill@kbzwlaw.com) <mhill@kbzwlaw.com>; Noah Baron <nbaron@elias.law>
Subject: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Dear Counsel,

                                                                                      2
             Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 29 of 552

I hope this e-mail finds you well. I write to you to request supplemental and ongoing production of documents
relating to the Survey Provision. See Fed. R. Civ. P. 26(e)(1)(A).

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design of the survey and provide a “summary of the core literature shaping the project.” Bates No.
Defendants_001503. However, we were unable to identify such a document in the documents produced.

Regards,

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.
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Tel: 407-422-2472 | Fax: 407-648-0161
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privileged or otherwise exempt from disclosure under applicable law. If you have received this email in error, please advise the
sender and permanently delete this email and any attachments from your system. Thank you.




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                        EXHIBIT E
                                                                                                                          Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 31 of 552


Alexi Velez

From:                                                                                                                              Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent:                                                                                                                              Thursday, March 3, 2022 11:28 AM
To:                                                                                                                                George Levesque
Cc:                                                                                                                                Noah Baron; Angie Price; Melissa Hill; Tim Moore, Jr.
Subject:                                                                                                                           RE: Link/UFF v. Corcoran et al. -- Discovery Supplementation Request



Hi George,

Please let me know the status of the final survey, which I know you were expecting to be available late
February or early March. Also, your supplement did not appear to include draft of the survey. We request that
you provide all drafts as part of the supplement. Thanks.

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Monday, February 21, 2022 9:04 AM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim Moore, Jr. <tim.moore@gray‐
robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Fritz, we expect to make a supplemental production this week.

Your reading of the order is consistent with ours. Also, I wanted to raise one more point about
the order – it appears the order reinstates mediation, requiring it to start within 14 days of the
close of discovery. In addition to calculating the wrong date for the close of discovery, it appears
the court overlooked that it had previously relieved us of those obligations, and that order (ECF
No. 59) was not referenced in any way in the current order.

While I believe this is just an oversight, I welcome your thoughts on how you would like to
proceed.


                                                                                                                                                               T 850-577-9090
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George Levesque                                                                                                                                                    To help protect
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From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Friday, February 18, 2022 10:36 AM
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To: George Levesque <George.Levesque@gray‐robinson.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim Moore, Jr.
<tim.moore@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.

Hi George and Tim,

Please provide an update on the status of your supplemental discovery responses.

Also, I would like to confirm that you read the Court’s attached order (ECF No. 69) as I do, which is that he
accepted the proposed deadlines in our motion (ECF No. 64), even though he only specifically referenced the
discovery deadline.

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Thursday, January 13, 2022 7:24 PM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim Moore, Jr. <tim.moore@gray‐
robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Fritz,
We are working on supplementing the Board of Governor’s responses for the requests identified
below. The records are being gathered, but I don’t have an indication as to how many there are.

George



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From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Thursday, January 13, 2022 4:04 PM
To: George Levesque <George.Levesque@gray‐robinson.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim Moore, Jr.
<tim.moore@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

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This message originated outside of GrayRobinson.

Hi George,

I’m circling back to get your response to our request that you supplement your responses regarding the survey
materials (as referenced below). Please let us know the status of the supplement.

                                                                   Documents “related to the Survey Provisions and the Survey that it requires.” E.g., Corcoran Request for
                                                                    Production No. 2.
                                                                   Documents “regarding or related to the ideological makeup or viewpoint diversity of faculty, students,
                                                                    and staff in Florida’s public post-secondary schools.” E.g., Corcoran Request for Production No. 6.


Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Tuesday, January 4, 2022 3:21 PM
To: Melissa Hill <mhill@kbzwlaw.com>; Fritz Wermuth <FWermuth@kbzwlaw.com>; Tim Moore, Jr. <tim.moore@gray‐
robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Fritz, apologies for the delay. To your second question, I believe we produced the requested
document. The first attachment is the document you reference, the second document, Bates No.
Defendants_000339, is the Update Memorandum #1 that was previously produced.

To your first question, we’re looking at your request, and I hope to have a response later this
week.

George


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shall, in and of itself, create an attorney-client relationship with the sender.
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                 Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 34 of 552

From: Melissa Hill <mhill@kbzwlaw.com>
Sent: Tuesday, January 4, 2022 10:20 AM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>; George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore,
Jr. <tim.moore@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.

+ Angie Price.

Melissa Hill | Paralegal
mhill@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.
25 East Pine St | P.O. Box 1631 | Orlando, FL 32801
Tel: 407-422-2472 | Fax: 407-648-0161
kbzwlaw.com

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From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Tuesday, January 4, 2022 10:11 AM
To: George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Melissa Hill <mhill@kbzwlaw.com>; Noah Baron <nbaron@elias.law>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Hi George and Tim,

Happy New Year. I am following up on my email below to check the status of your effort and response. Please
let us know your response as soon as possible. Thanks.

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: Fritz Wermuth
Sent: Thursday, December 16, 2021 6:43 AM
To: George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Melissa Hill (mhill@kbzwlaw.com) <mhill@kbzwlaw.com>; Noah Baron <nbaron@elias.law>
Subject: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Dear Counsel,

I hope this e-mail finds you well. I write to you to request supplemental and ongoing production of documents
relating to the Survey Provision. See Fed. R. Civ. P. 26(e)(1)(A).

As you may recall, Plaintiffs previously propounded discovery requests seeking:
    Documents “related to the Survey Provisions and the Survey that it requires.” E.g., Corcoran Request for
       Production No. 2.
    Documents “regarding or related to the ideological makeup or viewpoint diversity of faculty, students,
       and staff in Florida’s public post-secondary schools.” E.g., Corcoran Request for Production No. 6.
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Your responses to those requests were served on October 25, 2021, about two months ago. Because the design
of the survey appears to be ongoing, we ask that you conduct another search for responsive documents.

We also ask that you conduct another search for a document we believe may have been inadvertently omitted
from your last production. In that production, you provided documents relating to the Survey Provision which
indicate the existence of “Update Memorandum #1,” which was to provide an update on progress related to the
design of the survey and provide a “summary of the core literature shaping the project.” Bates No.
Defendants_001503. However, we were unable to identify such a document in the documents produced.

Regards,

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.
25 East Pine St | P.O. Box 1631 | Orlando, FL 32801
Tel: 407-422-2472 | Fax: 407-648-0161
kbzwlaw.com
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                        EXHIBIT F
              Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 37 of 552


Alexi Velez

From:                  Noah Baron <nbaron@elias.law>
Sent:                  Thursday, March 17, 2022 10:37 AM
To:                    George Levesque; Fritz Wermuth; Tim Moore, Jr.
Cc:                    Angie Price; Melissa Hill; Robyn Kramer; Elisabeth Frost
Subject:               RE: Link/UFF v. Corcoran et al. -- Discovery Supplementation Request


George,

Thanks for getting back to us. Fritz is out this week but I wanted to follow up with a few questions.

         Can you clarify what you mean by “the surveys should go out at the end of this month”? Does that mean that
          the survey will be distributed to faculty/staff/students at the end of the month, or does that mean that the
          supplemental production with the final drafts will be sent to us at the end of the month?

         If it is the former – that the surveys should be distributed by the end of March – can you provide us a specific
          date on which we can expect to receive the supplemental production, including any additional communications
          your clients have about the surveys and the process of preparing them, as well as the final drafts of the surveys?

As the second bullet above indicates, but I want to make sure is clear, we are seeking not only the final surveys, but a
supplement of your production of documents for all requests, and especially those requests relating to the survey, which
Fritz mentioned in his prior email. Please let me know if a conversation would be helpful.

Thanks,

Noah Baron
Associate
Elias Law Group
10 G St NE Ste 600
Washington DC 20002
202-968-4556


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From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Friday, March 11, 2022 11:22 AM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <aprice@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Robyn
Kramer <rkramer@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Fritz, I have been informed that the surveys should go out at the end of this month.

We’ll look into the issue related to the surveys. We ran the searches on the same terms and the
same custodians as the initial production. If there are documents that we missed in that review,
we will produce them as a supplement to the original production.

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George




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From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Friday, March 11, 2022 10:43 AM
To: George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Robyn
Kramer <rkramer@kbzwlaw.com>; Fritz Wermuth <FWermuth@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.

Thank you, George. We are aware of the documents that you reference. Both are dated in September of 2021. The most
recent documents related to surveys we have been able to find in any of Defendants productions are from October
2021. Please let me know asap of you are aware of any more recent materials related to the survey that have been
produced. We have been unable to locate anything. This is particularly concerning given that we have received more
recent materials in response to public records requests. I am attaching some of those more recent drafts here; they
were previously produced by us to you pursuant to your Second Set of Requests for Production to Plaintiffs. Those PRR
responses also indicate that the survey will be finalized and actually distributed by February 2022 (See
Defendants_001242). Given the existence of these documents, and this new information about the timeframe, Plaintiffs
reasonably believe that your clients have documents responsive to our requests not yet produced. Please consult with
your clients again. It is critical that they produce all materials related to the survey as requested by our discovery
requests (See Plaintiff’s First Requests for Production at Nos. 2 and 6, as well as Plaintiff’s First Set of Interrogatories
Nos. 1, 2, 7, 8, and 9).


Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Tuesday, March 8, 2022 9:55 AM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim
Moore, Jr. <tim.moore@gray‐robinson.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request



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Fritz, Draft surveys were indeed included in the supplemental production. I believe the records
you were looking for are Defendants_007335-42 (Student Survey) and Defendants_007247-54
(Faculty Survey).

I’m not aware of the current status of the survey, but I have inquired and can provide an update
once I know more.

George




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From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Thursday, March 3, 2022 11:28 AM
To: George Levesque <George.Levesque@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim
Moore, Jr. <tim.moore@gray‐robinson.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.

Hi George,

Please let me know the status of the final survey, which I know you were expecting to be available late
February or early March. Also, your supplement did not appear to include draft of the survey. We request that
you provide all drafts as part of the supplement. Thanks.

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Monday, February 21, 2022 9:04 AM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim Moore, Jr. <tim.moore@gray‐
robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Fritz, we expect to make a supplemental production this week.


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Your reading of the order is consistent with ours. Also, I wanted to raise one more point about
the order – it appears the order reinstates mediation, requiring it to start within 14 days of the
close of discovery. In addition to calculating the wrong date for the close of discovery, it appears
the court overlooked that it had previously relieved us of those obligations, and that order (ECF
No. 59) was not referenced in any way in the current order.

While I believe this is just an oversight, I welcome your thoughts on how you would like to
proceed.


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From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Friday, February 18, 2022 10:36 AM
To: George Levesque <George.Levesque@gray‐robinson.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim Moore, Jr.
<tim.moore@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.

Hi George and Tim,

Please provide an update on the status of your supplemental discovery responses.

Also, I would like to confirm that you read the Court’s attached order (ECF No. 69) as I do, which is that he
accepted the proposed deadlines in our motion (ECF No. 64), even though he only specifically referenced the
discovery deadline.

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Thursday, January 13, 2022 7:24 PM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim Moore, Jr. <tim.moore@gray‐
robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Fritz,
We are working on supplementing the Board of Governor’s responses for the requests identified
below. The records are being gathered, but I don’t have an indication as to how many there are.
                                                                                                                                                                                                             4
                                                                                                                          Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 41 of 552


George



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George Levesque                                                                                                                                                    To help
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From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Thursday, January 13, 2022 4:04 PM
To: George Levesque <George.Levesque@gray‐robinson.com>; Melissa Hill <mhill@kbzwlaw.com>; Tim Moore, Jr.
<tim.moore@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.


Hi George,

I’m circling back to get your response to our request that you supplement your responses regarding the survey
materials (as referenced below). Please let us know the status of the supplement.

                                                                  Documents “related to the Survey Provisions and the Survey that it requires.” E.g., Corcoran Request for
                                                                   Production No. 2.
                                                                  Documents “regarding or related to the ideological makeup or viewpoint diversity of faculty, students,
                                                                   and staff in Florida’s public post-secondary schools.” E.g., Corcoran Request for Production No. 6.


Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: George Levesque <George.Levesque@gray‐robinson.com>
Sent: Tuesday, January 4, 2022 3:21 PM
To: Melissa Hill <mhill@kbzwlaw.com>; Fritz Wermuth <FWermuth@kbzwlaw.com>; Tim Moore, Jr. <tim.moore@gray‐
robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Fritz, apologies for the delay. To your second question, I believe we produced the requested
document. The first attachment is the document you reference, the second document, Bates No.
Defendants_000339, is the Update Memorandum #1 that was previously produced.


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To your first question, we’re looking at your request, and I hope to have a response later this
week.

George


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George Levesque                                                                                                                                                      To help
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shall, in and of itself, create an attorney-client relationship with the sender.


From: Melissa Hill <mhill@kbzwlaw.com>
Sent: Tuesday, January 4, 2022 10:20 AM
To: Fritz Wermuth <FWermuth@kbzwlaw.com>; George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore,
Jr. <tim.moore@gray‐robinson.com>
Cc: Noah Baron <nbaron@elias.law>; Angie Price <APrice@kbzwlaw.com>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

This message originated outside of GrayRobinson.

+ Angie Price.

Melissa Hill | Paralegal
mhill@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.
25 East Pine St | P.O. Box 1631 | Orlando, FL 32801
Tel: 407-422-2472 | Fax: 407-648-0161
kbzwlaw.com

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From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Tuesday, January 4, 2022 10:11 AM
To: George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Melissa Hill <mhill@kbzwlaw.com>; Noah Baron <nbaron@elias.law>
Subject: RE: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Hi George and Tim,
                                                                                                                                                                                                     6
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Happy New Year. I am following up on my email below to check the status of your effort and response. Please
let us know your response as soon as possible. Thanks.

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: Fritz Wermuth
Sent: Thursday, December 16, 2021 6:43 AM
To: George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: Melissa Hill (mhill@kbzwlaw.com) <mhill@kbzwlaw.com>; Noah Baron <nbaron@elias.law>
Subject: Link/UFF v. Corcoran et al. ‐‐ Discovery Supplementation Request

Dear Counsel,

I hope this e-mail finds you well. I write to you to request supplemental and ongoing production of documents
relating to the Survey Provision. See Fed. R. Civ. P. 26(e)(1)(A).

As you may recall, Plaintiffs previously propounded discovery requests seeking:
    Documents “related to the Survey Provisions and the Survey that it requires.” E.g., Corcoran Request for
       Production No. 2.
    Documents “regarding or related to the ideological makeup or viewpoint diversity of faculty, students,
       and staff in Florida’s public post-secondary schools.” E.g., Corcoran Request for Production No. 6.

Your responses to those requests were served on October 25, 2021, about two months ago. Because the design
of the survey appears to be ongoing, we ask that you conduct another search for responsive documents.

We also ask that you conduct another search for a document we believe may have been inadvertently omitted
from your last production. In that production, you provided documents relating to the Survey Provision which
indicate the existence of “Update Memorandum #1,” which was to provide an update on progress related to the
design of the survey and provide a “summary of the core literature shaping the project.” Bates No.
Defendants_001503. However, we were unable to identify such a document in the documents produced.

Regards,

Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.
25 East Pine St | P.O. Box 1631 | Orlando, FL 32801
Tel: 407-422-2472 | Fax: 407-648-0161
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                        EXHIBIT L
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Alexi Velez

From:               Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent:               Thursday, March 24, 2022 8:02 PM
To:                 George Levesque; Tim Moore, Jr.
Cc:                 Elisabeth Frost; Florida Campus Speech; Angie Price; Kimberly Healy; Robyn Kramer
Subject:            Link v. Corcoran -- Discovery Supplement



George,

We received information this afternoon that faculty are being told that the surveys of students, faculty, and staff
will be administered on the following timeline:

   ‐   Mar. 31, 2022 – Institutions send pre-survey notifications to students and employees
   ‐   Apr. 4, 2022 – Invitations to students and employees are sent to take the surveys.
   ‐   Apr. 7, 2022 – Survey reminders are sent to students and employees.
   ‐   April 8, 2022 – Survey collection closes.

As you know, we have been asking that Defendants supplement your discovery responses as it relates to the
survey, including any draft surveys, documents, and communications related to the same, for months. We made
this request in correspondence dated December 16, 2021, January 4, 2022, January 13, 2022, February 18, 2022,
March 3, 2022, March 8, 2022, March 11, 2022 and most recently March 17, 2022. As we have noted, the most
recent materials we have from Defendants relating to the survey are dated October 2021 – about 5 months
ago.

Repeatedly, you have told us that more material would be coming, and repeatedly nothing has come. In the
meantime, we have continued to pursue every option for obtaining these materials and have received – and even
produced to you – substantial materials through public records requests that make it clear that over the course of
all of these months, when Defendants have produced nothing new related to the survey, the drafting and plan for
its implementation have been significant, substantive, and ongoing.

Given what we have received – including over the past few days from third parties, and the information we now
have about the timeline for the administration of the survey – it must have been obvious to your clients, who
you presumably informed of their discovery obligations, that there are significant additional materials
responsive to our discovery requests related to the surveys and that they are (and have been, for months) under a
clear obligation to produce. With the imminent survey rollout that we just learned about, it is also incredible to
think that the surveys are not at this point finalized. And it is clear that there are now in fact (and have been for
some while) plans for the survey’s implementation—another topic that we specifically asked about in our
interrogatories directed to Defendants, yet at no point have Defendants supplemented their responses to provide
any new information on that, either.

Of course, during the months since Defendants produced survey drafts and months that we have sent repeated
requests for supplementation, Defendants have been under a continuing obligation under Fed. R. Civ. P.
26(e)(1) to supplement their responses to our RFPs and interrogatories in a timely manner when they learn that
in some material respect the disclosure or response is incomplete or incorrect. We are well past timely at this
point. I am reiterating my request that Defendants promptly supplement their responses to our discovery
requests, including specifically as it relates to the following requests and interrogatories. While Defendants’
obligation to supplement incomplete or incorrect discovery responses is ongoing and applies to all requests, we
are specifically asking that Defendants supplement their responses to the RFPs and interrogatories listed below
                                                          1
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by no later than March 29, 2022. If Defendants refuse to do so, we will be filing a motion to compel with the
Court. Please advise when we can discuss this very serious issue at your earliest convenience.

First Requests for Production to Board of Governors, Board of Education, and Commissioner Corcoran:

       REQUEST NO. 2: All documents and communications related the Survey Provisions and the Survey
        that it requires. This includes any documents or communications related to any state interests that you
        believe the Survey Provisions or the Survey furthers.

First Set of Interrogatories to Board of Governors, Board of Education, and (in substantively similar
form to) Commissioner Corcoran:

       INTERROGATORY NO. 2: State and describe your involvement in, and all plans you have related to
        the creation, drafting, implementation, enforcement, or use of the Survey. Your response should include
        a detailed description of any involvement you had in the development or passage of legislation involving
        the Survey; your understanding of the intended or potential use of the Survey, including specifically by
        you, the Florida Board of Governors, the Governor, the Legislature, or Florida's post-secondary schools;
        any plans for enforcement of HB 233 's Survey Provisions, including specifically in the event that
        schools, students, or faculty decline, resist, or refuse to take part in the Survey; and any timeline (even
        rough or preliminary) for developing any of the foregoing. Your answer should include the identities of
        those individuals and/or entities that have been or you anticipate will be involved at each stage of the
        Survey's creation, drafting, implementation, or use, and the scope or anticipated scope of their
        involvement and responsibilities.

       INTERROGATORY NO. 8: State and describe your intentions for handling information collected
        through the Survey, including but not limited to, the collecting, storing, sharing, security, deleting, and
        evaluation of the same.


Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
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                                   Exhibit M

       Placeholder for Videotaped Recording, Bates numbered PL_000004


   “6_22_21 Now Speaking - Governor Ron DeSantis & Lieutenant Governor
    Jeanette Nuñez at the Florida American Legion Boys State - The Florida
  Channel.mp4,” available at https://thefloridachannel.org/videos/6-22-21-now-
speaking-governor-ron-desantis-lieutenant-governor-jeanette-nunez-at-the-florida-
                          american-legion-boys-state/
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                                Exhibit N

    Placeholder for Videotaped Recording, Bates numbered PL_000006


Defendant Commissioner Richard Corcoran’s remarks in a presentation titled
      “Education is Freedom” made at Hillsdale College, available at
            https://www.youtube.com/watch?v=HVujpIator0
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                                  Exhibit O

      Placeholder for Videotaped Recording, Bates numbered PL_000007


Florida Atlantic University Board of Trustees public meeting occurring on April
                             20, 2021, available at
https://fau.mediasite.com/Mediasite/Play/459345b79fdd4735b2cda709ee1786d91d
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                              [Florida! Board of Governors                                      ~      Commented [DR 1]: Hi Tim, Let me reiterate the concerns
                                                                                                       that I have alrea dy articulated about this survey. As deca des
        Intellectual Free dom and Viewpoint Diversity Assessment Project                               of survey research have shown, good surveys have the
                                                                                                       potential to illum inate critical issues regarding a workplace
                                     Student Survey                                                    or community. The COACHE survey is a great example in this
                                                                                                       regard. A bad survey can create con f usion, problems an d
Opening Message for Survey                                                                             sow discord. While I do not know what the implications of
                                                                                                       this survey wi ll be, I do know that this is not a good survey.
In Spring 2021, t he Flori da Legislat ure passed HB233 to promote Intellect ual                       The dependent variable (intellectual freedom and viewpoint
                                                                                                       diversity) is not defined at all and severa l relevant
Freedom and Viewpoint Diversity w ith in the State of Flo ri da's State Un ive rsity                   independent variables are missing.

System. The Flori da Boa rd of Govern ors (FLBOG) w as as ked to create "an                            The problems that I outlined previously:
obj ect ive, nonpart isa n, and statisti cally val id survey to be used by each instit ut ion
                                                                                                       The Terminology used is overly political and wi ll likely prime
w hich considers t he ext ent to wh ich compet ing ideas and perspect ives are                         political responses. Terms such as 11 intolerant 11 and 11 hostile11
                                                                                                       should not be included in a survey that is intended to
presented and membe r s of the college co mmunity, including st ud ents, fac ulty,                     explore what the SUS does we ll and where it needs to
                                                                                                       improve. It is particularly concerning that these loaded
and staff, feel free to ex press thei r bel iefs and viewpo int s on ca mpus and in the
                                                                                                       terms were not defined for respondents.
classroom ."
                                                                                                       The survey lacks specificity in ways that are con fusing and
                                                                                                       make the survey read as a political tool rather than a
The goal of th is anonym ous survey is to obta in opi nions on intellectual freedom                    legitimate effort to improve the SUS system. For example,
and ~iewpoint divers ity lat [un iversity name], drawing on you r experiences as a                     I'm not sure why we would ask faculty if readings only
                                                                                                       present one side of a controversia l issue when disciplines
student the re. You w ill b e asked a number of questions about these top ics and
                                                                                                       Commented [DR2]: The phrase "intellectual freedom
about yo urself. Yo ur partic ipation is vol unta ry. Yo u are free not to answe r any                 and viewpoint diversity" require definition. I recommend
                                                                                                       dropping the phrase entirely since it is politica l and can only
question or to w ithd raw from the study at any t ime. Th is su rvey should ta ke                      be defined in politica l ways. Specifically, this phraseology
                                                                                                       suggests that faculty and students should evaluate a
approxi mately 10 minut es to complete.
                                                                                                       co llege/university according to the 11 air time 11 progressive
                                                                                                       and conservative talking points get on campus. It assumes
Respo nses w ill be analy zed fo r the enti re institut ion and fi ndings w ill be reported            that the equa l exposure to the ideas associated with the
                                                                                                       two dominant politica l parties is the sine qua non of
by the FLBOG to the Sta te Legislatu re as requ ired . Only grouped responses w ill be                 educationa l quality.
reported; any data or resuits that might compromi se a respondent's identity will
                                                                                                       The use of the phrase "intellectua l diversity" is better since
not be publ ished .                                                                                    it can be defined and contextualized. We know, for example,
                                                                                                       that intellectual diversity is not about evaluating the
                                                                                                       theoretical debates and developments associated with a
                                                                                                       particu lar discipline. Intellectual diversity exists when
                                                                                                       campuses provide a place where faculty and students ask
Intellectual Freedom an d Viewpoint Diversity on My Campus                                             questions and have the ability to approach a problem,
                                                                                                       whatever its nature, from a variety of perspectives. Debra
On my ca mpus, [panel d iscuss ions and presentations [on soci al and political issues
typ ically see m one-s ide d.                                                                   ----   Commented [DR3]: This is a political question, not a
                                                                                                       survey question. What kind of panel discussion and
                                                                                                       presentations? Those sponsored by RSO's? What is the
                                                                                                       temporal context here? It seems like we would have
   •   Strongly Ag ree                                                                                 respondents te ll us the extent to which they pay attention
   •   Somewhat Ag ree                                                                                 to what's happening on campus, where they get information
                                                                                                       regarding panels/presentations from and provide a clear
   •   Neut ral                                                                                        sense of what kinds of panels/discussions are the reference
                                                                                                       point. What is meant by "one-sided?" If they survey is asking
   •   Somewhat Disagr ee
                                                                                                       respondents to think about presentations inside a
   •   Strongly Disagree                                                                               department or center, how care respondents supposed to
                                                                                                       evaluate this?
   •   Don' t Know




                                                                                                                                                  FSU000121
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Ion my campus, courses have readings which present only one side of a
 controversial issue.I                                                                 /       Commented [DR4]: Again, this is a political question . An
                    ~ ------------------------------~                                          appropriate survey question would ask about the mix of
                                                                                               read ings (academic to non-academic) rea d in class, an d,
   •   Strongly Agree                                                                          MORE IM PORTANTLY, are learners given guidance
   •   Somewhat Agree                                                                          disciplinary frameworks - meaning they are told how
                                                                                               someone from 11 X11 discipline would read the materia l or
   •   Neutral                                                                                 what they would focus on to understand, in this case, a
                                                                                               controversial issue.
   •   Somewhat Disagree
   •   St rongly Disagree
   •   Don't Know

Ion my campus, courses present soc ial and pol it ical issues in an unfa ir and one-
sided manne r.I                                                                        /       Commented [DRS]: Same comment. What is meant by
                 ~---------------------------------                                            unfair and one-sided when it comes to course materia l? A
                                                                                               legitimate survey would probe to assess whether students
   •   St rongly Ag ree                                                                        are learning disciplinary appropriate perspectives and the
   •   Somewhat Ag ree                                                                         makeup of their coursework, which is also key to fostering
                                                                                               intellectual diversity and students ready to succeed in the
   •   Neutral                                                                                 workforce.
   •   Somewhat Disagree
   •   Strongly Disagree
   •   Don't Know

Io n my campus, professors are intolerant of certa in pol it ical and social viewpo ints.[ /   Com mented [DR6]: What is meant by intolerant? As
                                                                                               noted above, one assumption undergirding this survey is
   •   St rongly Ag ree                                                                        that higher education is about political parties and their
                                                                                               viewpoints. Certainly, there are students who get politica lly
   •   Somewhat Ag ree                                                                         involved, something that isn't asked about on the survey,
                                                                                               but this not a useful question. Usef ul questions, in this case,
   •   Neutral                                                                                 would ask about respective disagreement in the classroom
                                                                                               and the extent to which they are happening - not to
   •   Somewhat Disagree
                                                                                               mention ask students about their own participation in
   •   St rongly Disagree                                                                      practices that foster intellectual diversity.

   •   Don't Know

Ion my campus, there are courses in wh ich the professo r creates an environment
 that is hostile to certa in pol it ical or social views .I                            /       Commented [DR7]: This is a conf using question. What is
                                                  ~ -----------------                          meant by "hostile/" Is something hostile because a student
   •   St rongly Ag ree                                                                        finds it personally or intellectua lly cha llenging? If their
                                                                                               politics doesn't neatly map onto the course materia l? If so,
   •   Somewhat Ag ree                                                                         that seems extraordinarily problematic since secondary
                                                                                               education is supposed to be cha llenging and our students
   •   Neutral                                                                                 need to be challenged so that they can be competitive in the
   •   Somewhat Disagree                                                                       rapidly cha nging global economy.

   •   Strongly Disagree
   •   Don't Know




                                                                                                                                       FSU000122
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Freedom of Expression on My Campus

~hink about being at your school in a class that was discussing a NON-
CONTROVERSIAL issue. How comfortable or reluctant would you feel about
speaking up and giving your views on this topic .                                 ~ Commented [DRS]: This entire section baffles me since it
                                                   ~   -------------~                    is unclear what 11 freedom of expression" on campus has to
   •   I would be very comfortable giving my views                                       do with a rando m class that a respondent is being asked to
                                                                                         think about. Classrooms and campus are not the same
   •   I would be somewhat comfortable giving my views                                   spaces. Classrooms are places where students learn more
                                                                                         about a topic fro m a specific disciplinary perspective.
   •   Neutral                                                                           Campus provides the environment where st udents get
   •   I would be somewhat reluctant giving my views                                     involved in groups and cl ubs, explore internship and
                                                                                         research opportunities, and attend talks and panels
   •   I would be very reluctant giving my views                                         sponsored by RSOs as we ll as other entities on campus. If
                                                                                         the goal of the survey is to grind a political axe, it w ill likely
Think about being at your school in a class that was discussing a controversial          be a success on this front. If the survey is a legitimate
                                                                                         assessment of the SUS, it should make these distinctions
issue about RACE. How comfortable or reluctant would you feel about speaking             and ask questions about campus life and, in this case,
up and giving your views on this topic?                                                 ~s_tu_d_
                                                                                               en_t _in_vo_lv_e_m_en_t _in_it_. - - - - - - - - - ~


   •   I would be very comfortable giving my views
   •   I would be somewhat comfortable giving my views
   •   Neutral
   •   I would be somewhat reluctant giving my views
   •   I would be very reluctant giving my views

Think about being at your school in a class that was discussing a controversial
POLITICAL issue. How comfortable or reluctant would you feel about speaking up
and giving your views on this topic?

   •   I would be   very comfortable giving my views
   •   I would be   somewhat comfortable giving my views
   •   Neutral
   •   I would be   somewhat reluctant giving my views
   •   I would be   very reluctant giving my views

Think about being at your school in a class that was discussing a controversial
issue about RELIGION . How comfortable or reluctant would you feel about
speaking up and giving your views on this topic?

   •   I would be   very comfortable giving my views
   •   I would be   somewhat comfortable giving my views
   •   Neutral
   •   I would be   somewhat reluctant giving my views
   •   I would be   very reluctant giving my views




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Think about being at your school in a class that was discussing a controversial
issue about GENDER. How comfortable or reluctant would you feel about
speaking up and giving your views on this topic?

      •    I would be   very comfortable giving my views
      •    I would be   somewhat comfo rtable giving my views
      •    Neutral
      •    I would be   somewhat reluctant giving my views
      •    I would be   very reluctant giving my views

Think about being at you r school in a class that was discussing a controve rsial
issue about SEXUAL ORIENTATION . How comfortable or reluctant would you feel
about speaking up and giving your views on this topic?

      •    I would be very comfortable giving my views
      •    I would be somewhat comfortable giving my views
      •    Neutral
      •    I would be somewhat reluctant giving my views
      •    I would be ve ry reluctant giving my views

Your Political Views

Generally speaking, you would say that you think of you rself as a...

      •    Democrat
      •    Independent
      •    Republ ican

On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely conservative,
and 4 is exactly in the middle, where would you place yourself?

      l.   Extremely liberal
      2.   Somewhat liberal
      3.   Moderate leaning liberal
      4.   Moderate
      5.   Moderate leaning conservative
      6.   Somewhat conservative
      7.   Extremely conservative

11   believe that through hard work, everybody can succeed in American society.      Commented [DR9]: What purpose do t hese questions
                                                                                     serve beyond probing t he re lat ive conserva t iveness or
                                                                                     progressiveness of a student? Does it contribute the
      •    Strongly Agree                                                            exploration of the dependent variable?




                                                                                                                             FSU000124
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   •   Somewhat Agree
   •   Neutral
   •   Somewhat Disagree
   •   Strongly Disagree
   •   Don't Know

I believe that racial discrimination is no longer a major problem in America.

   •   Strongly Agree
   •   Somewhat Agree
   •   Neutral
   •   Somewhat Disagree
   •   Strongly Disagree
   •   Don't Know

I believe that undocumented immigrants should be denied access to public
education.

   •   Strongly Agree
   •   Somewhat Agree
   •   Neutral
   •   Somewhat Disagree
   •   Strongly Disagree
   •   Don't Know

I believe that that universities have the right to ban extreme speakers from
campus.

   •   Strongly Agree
   •   Somewhat Agree
   •   Neutral
   •   Somewhat Disagree
   •   Strongly Disagree
   •   Don't Know

I believe that dissent is a critical component of the political process.

   •   Strongly Agree
   •   Somewhat Agree
   •   Neutral




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    •   Somewhat Disagree
    •   Strongly Disagree
    •   Don't Know

I believe that colleges should prohibit racist/sexist speech on campus .

    •   Strongly Ag ree
    •   Somewhat Ag ree
    •   Neutral
    •   Somewhat Disagree
    •   Strongly Disagree
    •   Don't Know
loemoe:raohic Information!                                                                                   /    Commented [DR10]: So much relevant information
I=-='-'-'-'-="'-'-='"-'-"'-=-'-'-'-'-'"-'-'-"-'--=-=-='-'-'!.._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __,.,,.   missing such as year in school, number of courses taken,
                                                                                                                  major, level of involvement on campus (e.g., number of
Which of the following describes your race? You can select as many as apply.
                                                                                                                  RSOs to which they belong) and so on.

    •   American Indian or Alaska Native
    •   Asian or Asian-American
    •   Black or African American
    •   Caucasian or White
    •   Pacific Islander
    •   Mixed
    •   Other

Are you of Hispanic, Latino/a/x, or Spanish origin?

    •   Yes
    •   No
    •   Prefer Not to Answer

With which sex or gender identity do you most identify?

    •   Female/Woman
    •   Male/Man
    •   Transgender Female/Woman
    •   Transgender Male/Man
    •   Gender Variant/Non-conforming
    •   Prefer Not to Answer

What is your sexual orientation?




                                                                                                                                                       FSU000126
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   •   Heterosexual/Straight
   •   Asexual
   •   Bisexual
   •   Gay
   •   Lesbian
   •   Pansexual
   •   Queer
   •   Not Listed Above
   •   Prefer Not to Answer

What is your primary religious affiliation, if any?

   •   Evangelical Protestant
   •   Mainline Protestant
   •   Historically Black Protestant
   •   Catholic
   •   Latter Day Saints/ Mormon
   •   Orthodox Christian
   •   Jehovah's Witness
   •   Other Christian
   •   Unitarian/ Universalist
   •   Jewish
   •   Muslim
   •   Buddhist
   •   Hindu
   •   Other religion
   •   Atheist
   •   Agnostic
   •   No religious affiliation/ None
   •   Prefer Not to Answer




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                        EXHIBIT V
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

WILLIAM A. LINK et al.,
                                                        Case No. 4:21-cv-271-MW/MAF
              Plaintiffs,

       v.

RICHARD CORCORAN, et al.,

              Defendants.




                  PLAINTIFF BARRY EDWARDS’ RESPONSES
                    AND OBJECTIONS TO DEFENDANTS’
                     FIRST SET OF INTERROGATORIES



       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff

Barry Edwards (“Plaintiff”), by and through his attorneys, submits the following

written responses and objections to Defendants’ First Set of Interrogatories served

on November 8, 2021.1

                            PRELIMINARY STATEMENT

       Discovery is ongoing, and Plaintiff has not completed his investigation. These

responses and objections are based on the information and documents currently


1The parties conferred and Defendants’ counsel agreed that Plaintiffs should have until January 7,
2022 to respond to these interrogatories and the other discovery that Defendants served on
November 8, 2021.
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available to Plaintiff, and Plaintiff reserves his rights to alter, supplement, amend, or

otherwise modify these responses and objections in light of additional facts revealed

through subsequent inquiry.

                             GENERAL OBJECTIONS

      1.     Nothing in these responses or objections can be taken as an admission

that Plaintiff agrees with Defendants’ use or interpretation of terms. These responses

and objections are based on Plaintiff’s understanding of each individual

interrogatory. To the extent Defendants assert an interpretation of any interrogatory

that is inconsistent with Plaintiff’s understanding, Plaintiff reserves the right to

supplement his responses and objections.

      2.     Plaintiff objects to Defendants’ interrogatories to the extent that they

purport to impose obligations greater than those imposed by the applicable Federal

Rules of Civil Procedure or the Local Rules of the United States District Court for

the Northern District of Florida.

      3.     Plaintiff objects to Defendants’ interrogatories to the extent that they

purport to require Plaintiff to search for and produce documents and/or information

that are not in his possession, custody, or control. An objection on this ground does

not constitute a representation or admission that such information does in fact exist.

      4.     Plaintiff objects to Defendants’ interrogatories to the extent that they

are overly broad and/or unduly burdensome, including where: (1) they seek

information or documents obtainable from other sources that are more convenient,
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less burdensome, or less expensive; (2) they seek answers or information that may

be derived or ascertained from a review, examination, audit, or inspection of

business records to be produced where the burden of deriving or ascertaining such

answers or information is substantially the same for Plaintiff as for Defendants; (3)

they are cumulative or duplicative of any other interrogatory or request for

production; (4) they are cumulative or duplicative of information or documents

already in the possession of Defendants; or (5) they require the expenditure of time

and resources that outweighs the likely benefit of such efforts.

      5.     Plaintiff objects to Defendants’ interrogatories to the extent that they

seek information that is not relevant or reasonably calculated to lead to the discovery

of evidence admissible in this action.

      6.     Plaintiff objects to Defendants’ interrogatories to the extent that they

are vague or ambiguous.

      7.     Plaintiff objects to Defendants’ interrogatories to the extent that they

call for information or documents that fall within any relevant privilege (including,

without limitation, the attorney-client privilege and the First Amendment privilege),

are within the work product doctrine, constitute trial preparation materials within the

meaning of Rule 26, constitute expert witness information that is not discoverable

under Rule 26, and/or seek or call for information protected from discovery by any

other applicable privileges, doctrines, or immunities. If any protected information is


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disclosed, such disclosure is not intentional and shall not be deemed a waiver of any

privilege or protection.

      8.     Plaintiff further objects to this interrogatory to the extent that it would

require him to divulge information or documents protected by the Family

Educational Rights and Privacy Act (“FERPA”), 20 U.S.C. § 1232g, which

guarantees the privacy of the “education records” of students at post-secondary

educational institutions. Under FERPA, “education records” has a broad definition,

encompassing all documents “directly related to a student” and “maintained by . . .

a person acting for [an educational] agency or institution.” 20 U.S.C. § 1232g(a)(4).

As a professor, Plaintiff is such a person. Plaintiff cannot produce covered

information or documents unless four requirements are met. First, the disclosure

must be “in compliance with [a] judicial order, or pursuant to any lawfully issued

subpoena.” Id. at 1232g(b)(2)(B). Second, “parents and the students” must be

“notified of all such orders or subpoenas in advance of the compliance” with that

order or subpoena. Id. Third, a protective order must be in place to “restrict[]

disclosure of the information to the purposes of the litigation.” C.T. v. Liberal Sch.

Dist., No. 06-2093-JWL, 2008 WL 394217, at *4 (D. Kan. Feb. 11, 2008). Fourth,

“the party seeking disclosure” must “demonstrate a genuine need for the information

that outweighs the privacy interest of the students.” Rios v. Read, 73 F.R.D. 589, 599

(E.D.N.Y. 1977); accord Daywalker v. Univ. of Texas Med. Branch at Galveston,

No. 3:20-CV-00099, 2021 WL 4099827, at *3 (S.D. Tex. Sept. 9, 2021). None of
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these requirements are met: Defendants’ First Set of Interrogatories to Barry

Edwards are neither a court order nor a subpoena; Defendants have produced no

evidence that they have notified parents or students of these interrogatories; there is

no protective order in place relating to student records; and Defendants have not

demonstrated a “genuine need” for the information. Accordingly, Plaintiff cannot

comply with any interrogatory that seeks disclosure of information or documents

encompassed by FERPA.

                                 INTERROGATORIES

INTERROGATORY NO. 1:

      Please identify with specificity the viewpoints you contend HB 233 targets

and the basis for your belief.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      HB 233 was enacted to target viewpoints with which Governor Ron DeSantis

(“Governor”), Defendant Commissioner Corcoran (“Corcoran”), and others in

Florida government disagree, including specifically viewpoints they deem to be

progressive or liberal viewpoints. To achieve these aims, HB 233 broadly targets the

teaching, research into, and academic expression and exploration of viewpoints the

Governor, Corcoran, and others in Florida government view as “left-wing,” even in


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the context of historical, philosophical, or economic instruction. HB 233 also targets

viewpoints the Governor, Corcoran, and others in Florida government associate with

what they perceive to be “liberal college professors” like Plaintiff, regardless of

whether—or perhaps because—those viewpoints are supported by overwhelming

data and/or have broad academic or historical support.

       These include viewpoints regularly taught by Plaintiff. For example, Plaintiff

teaches a course about firearms in the United States: “Guns, Freedom, and

Citizenship.” It features social science research on the impact of guns on public

health and research on the efficacy of gun control. This is a subject strongly

disfavored by Governor’s party (also the majority party in the current Legislature).

Indeed, Florida Republicans have previously passed legislation (later found to be

unconstitutional) that restricted what physicians could say to patients about firearm

ownership. See Rebecca Hersher Court Strikes Down Florida Law Barring Doctors

From     Discussing     Guns     With     Patients,    NPR     (Feb.    17,     2017),

https://www.npr.org/sections/thetwo-way/2017/02/17/515764335/court-strikes-

down-florida-law-barring-doctors-from-discussing-guns-with-patient.        HB     233

specifically is part of a broader right-wing drive to push back on what they view as

progressive influences in education, including to impede or even prohibit teaching

the subjects and viewpoints that Plaintiff actively teaches.

       There have been extensive public reports about the purpose and intent of HB

233 both around the time of its enactment and since then; in addition, since its
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enactment there have been numerous public reports that further evidence the intent

of Defendants and the Governor to chill and even punish speech that espouses

viewpoints with which Defendants and/or the Governor disagrees. It would be

impossible to list all that evidence here. For a summary of much of the evidence

available at the time the Amended Complaint was filed, Plaintiff refers Defendants

to that pleading, ECF No. 35, including but not limited to ¶¶ 3, 5-9, 19, 22, 25, 27-

37, 42-45, 48-52, 55-62, 77-81, 84, 86, 90-96, 102, 104-126, 133-135, 137-142, and

the statements and facts discussed therein. Plaintiff further refers Defendants to

Plaintiff’s response in opposition to Defendants’ motion to dismiss, ECF No. 43,

including but not limited to the discussions at pages 3-5, 11-12, 20-28, 31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as unduly burdensome and overbroad. Plaintiff further objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession, or that is otherwise obtainable from

sources that are more convenient, less burdensome, or less expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 2:

      Please identify with specificity the viewpoints you contend HB 233 protects

and the basis for your belief.


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RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      HB 233 protects viewpoints considered to be “uncomfortable, unwelcome,

disagreeable, or offensive.” See Matal v. Tam, 137 S.Ct. 1744, 1763 (2017) (“Giving

offense is a viewpoint.”). HB 233 does this through its Anti-Shielding Provision,

which prohibits state post-secondary educational institutions from “limit[ing]

students’, faculty members’, or staff members’ access to, or observation of, ideas

and opinions that they may find uncomfortable, unwelcome, disagreeable, or

offensive.” Fla. Stat. §§ 1001.03(19)(c), 1001.706(13)(c), 1004.097(3)(f). In Texas,

similar legislation led to one school administrator directing teachers that “if you have

a book on the Holocaust, that you have one that has an opposing—that has other

perspectives.” HB 233 also protects—and even advances and attempts to legitimize

through governmental favoritism—the baseless narrative that post-secondary faculty

are “indoctrinating” students with progressive beliefs and political viewpoints with

which the Governor, the majority in the Legislature, and many among the

Defendants disagree, as discussed at length in the Amended Complaint, ECF No. 35.

      As part of HB 233’s protection of “uncomfortable, unwelcome, disagreeable,

or offensive” speech, HB 233 protects the ability of—and even encourages—

students to disrupt Plaintiff’s teaching and the education experience with comments

that either do not substantively contribute to the learning environment or, possibly,
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actively harm the learning environment by diverting the class discussion,

intimidating or harassing students or Plaintiff, or forcing Plaintiff to spend his

limited instruction time addressing ideas that would not otherwise include in his

curriculum, including ideas with which he does not agree, does not believe are well-

founded, or even ideas that have been widely debunked. For example, HB 233 may

protect the ability of Plaintiff’s students to seriously discuss the baseless conspiracy

theory that victims of mass shootings are “crisis actors,” or may require Plaintiff to

include such ideas in his curriculum when he otherwise would not.

      HB 233 puts Plaintiff in an impossible situation, threatening him and his

institution with retribution if his teaching is perceived as not including

“uncomfortable, unwelcome, disagreeable, or offensive” viewpoints, whatever those

may be, inducing Plaintiff to include such ideas in his curriculum when he otherwise

would not. Nor is it confined to just Plaintiff’s teaching (which alone would be

unlawful). HB 233’s Anti-Shielding Provisions broadly apply to virtually every

conceivable form of “oral or written communication of ideas, including all forms of

peaceful assembly, protests, and speeches; distributing literature; carrying signs;

circulating petitions; faculty research, lectures, writings, and commentary, whether

published or unpublished; and the recording and publication, including the Internet

publication, of video or audio recorded in outdoor areas of campus.” E.g., Fla. Stat.

§ 1004.097(3)(a).

      Plaintiff also refers Defendants to the text of the Anti-Shielding Provision of
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HB 233 and to the Amended Complaint in this matter, ECF No. 35, including but

not limited to ¶¶ 3, 5-9, 19, 22, 25, 27-37, 42-45, 48-52, 55-62, 77-81, 84, 86, 90-

96, 102, 104-126, 133-135, 137-142, and the statements and facts discussed therein.

Plaintiff further refers Defendants to Plaintiff’s response in opposition to

Defendants’ motion to dismiss, ECF No. 43, including but not limited to the

discussions at pages 3-5, 11-12, 20-28, 31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as unduly burdensome and overbroad. Plaintiff further objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession, or that is otherwise obtainable from

sources that are more convenient, less burdensome, or less expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 3:

      Please identify any and all instances where students, faculty, or staff in the

State’s public post-secondary institutions have been required to register their

political views because of HB 233.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      The survey mandated by HB 233 has not yet been distributed to students,
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faculty, or staff, nor has the final version of the survey as it will be given (or the

procedures for its implementation) been produced yet to Plaintiffs in discovery.

However, for the reasons discussed at length in the Amended Complaint, the threat

that HB 233 may be used to require students, faculty, or staff in the State’s public

post-secondary institutions to report, reveal, or “register” their political views is

serious, present, and remains ongoing. This is true whatever form the survey that is

ultimately distributed this year contains, and whether it is initially designated as

mandatory or anonymous.

      That Defendants are now empowered—indeed, required—to conduct annual

surveys into political and ideological viewpoints on campuses that they will publish

(and may otherwise use however they wish) imposes its own First Amendment

threat. The Legislature affirmatively refused to consider amendments that would

have required that the survey be anonymous, and statements by proponents

affirmatively indicated they anticipated they would be mandatory, and would ask

questions such as “Where are you on the political spectrum?” and “Do you believe

that Republicans are evil?” The Survey Provisions themselves require that

respondents be asked about “the extent to which . . . [they] feel free to express their

beliefs and viewpoints on campus and in the classroom.” Fla Stat. §§ 1001.03(19)(b),

1001.706(13)(b). A survey making such an inquiry in the name of “viewpoint

diversity” would logically require at least some inquiry into what those “beliefs and

viewpoints” are.
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      Documents produced by Defendants in discovery thus far relating to the

development of the survey mandated by the Survey Provision indicate that the

survey will likely include questions into the political views of respondents. The most

recent draft of the survey produced includes questions such as: “Generally speaking,

you would say that you think of yourself as a … Republican, Independent,

Democrat” and “On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely

conservative, and 4 is exactly in the middle, where would you place yourself?”

Defendants_002971-002972. Defendants’ production also reveals that the survey is

based on other surveys which include similar questions, such as: “How would you

describe    your    views?    Radical    left;   liberal;   moderate;    conservative;

ultraconservative”; “How would you characterize your political views? (Mark one)

Far left – liberal – middle of the road – conservative – far right”; “On a scale from 1

to 7, where 1 is extremely liberal, 7 is extremely conservative, and 4 is exactly in the

middle, where would you place yourself?”; “Generally speaking, would you say that

you usually think of yourself as a….? Democrat; Independent; Republican.”

Defendants_002200-002210.

      In addition, HB 233 requires that the survey be “statistically valid.” Fla. Stat.

§ 1001.03(19)(b). For the survey to be “statistically valid,” it seems likely that

responses to the survey will be required, either of all potential respondents or of a

statistically representative sample of potential respondents. If the survey were

entirely voluntary, it would be impossible for the survey to be “statistically valid,”
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as statutorily required, because the results would be distorted by self-selection bias.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as vague specifically in its use of the terms “register” and “political

views,” which are not defined in these interrogatories or in HB 233. Plaintiff further

objects to this interrogatory as overbroad, unduly burdensome, and disproportionate

to the needs of this case to the extent it seeks information outside of Plaintiff’s

knowledge. Plaintiff cannot be reasonably expected to know of or identify every

single such incident at every single “public post-secondary institution” in Florida.

Plaintiff further objects to this interrogatory to the extent it seeks information within

the public sphere or within Defendants’ knowledge or possession, or is otherwise

obtainable from sources that are more convenient, less burdensome, or less

expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 4:

      Please identify any and all facts you have concerning the contents of and the

implementation of the survey required by HB 233, including the specific questions

on the survey you contend violate your First Amendment rights.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:
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      The survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff, nor has the final version of the survey as it will be given in this

coming year been produced yet to Plaintiff in discovery. The discovery that

Defendants have produced thus far includes what appear to be initial drafts of the

survey; however, the most recent of those drafts appears to have been prepared in or

around September 2021. Plaintiffs have specifically requested that Defendants

supplement that discovery and provide any and all additional information that they

have about this topic, but as of the date of these responses and objections, Defendants

have yet to produce to Plaintiffs the final version of the survey that Defendants

intend to implement as required by HB 233. Thus Plaintiff is not yet able to identify

“the specific questions” on that survey that threaten their First Amendment rights.

      However, as discussed at length in Plaintiff’s Amended Complaint, opposition

to the motion to dismiss, and in the response to Interrogatory Number 3, above, the

enactment of HB 233 and its broad mandate to Defendants to impose an annual

survey that by its terms necessarily and logically must include questions that relate

to the political viewpoints held by Plaintiffs and other students, faculty, and staff in

Florida’s public post-secondary institutions imposes its own threat to Plaintiff’s First

Amendment rights. As discussed above, because the Legislature chose not to impose

any restrictions on the way in which the survey may be used, the manner in which it

inquires into these politically sensitive and personal topics, or whether or how

responses to the same may be made anonymously and/or kept from disclosure within
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the government, to other third parties, or publicly, as well as whether the annual

survey that it requires made be made mandatory, the broad, unfettered empowerment

given to Defendants to inquire into these matters – indeed, the law’s mandate that

they do so annually, and failure to restrict the use of that information for any purpose,

including political retribution – imposes a severe and continuing injury to Plaintiff’s

First Amendment rights for as long as HB 233’s Survey Provisions remain

enforceable.

      The facts that Plaintiff has concerning the contents of and implementation of

the survey outside of the materials produced by Defendants in discovery are set forth

in the Amended Complaint, ECF No. 35. For example, as set forth in the Amended

Complaint, Representative Sabatini, who co-sponsored HB 233, said the survey

would “say something along the lines of: ‘Where are you on the political spectrum?’”

FAC ¶ 74. He also made clear that the purpose of the survey was to tell people

“[what] to be honest, we already know, which is that we’ve lost these campuses to

the radical left” and to justify “defunding the radical institutions on these campuses”

and “insane professors that hate conservatives and hate this country.” Id. at ¶ 80.

Similarly, the Governor, who supported the passage of HB 233 and signed it into

law, indicated that the results of the survey would be used to cut funding from post-

secondary educational institutions that, in his view, had not done enough to foster

“intellectual freedom and viewpoint diversity.” Id. at ¶ 79. Plaintiff also refers

Defendants to the rest of the Amended Complaint including, in particular,
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paragraphs 63 to 80.

      Consistent with Plaintiffs’ allegations, the drafts of the survey produced by

Defendants in discovery thus far include questions such as: “Generally speaking,

you would say that you think of yourself as a … Republican, Independent,

Democrat” and “On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely

conservative, and 4 is exactly in the middle, where would you place yourself?”

Defendants_002971-002972. Defendants’ production also reveals that the survey is

based on other surveys which include similar questions, such as: “How would you

describe    your    views?    Radical    left;   liberal;   moderate;    conservative;

ultraconservative”; “How would you characterize your political views? (Mark one)

Far left – liberal – middle of the road – conservative – far right”; “On a scale from 1

to 7, where 1 is extremely liberal, 7 is extremely conservative, and 4 is exactly in the

middle, where would you place yourself?”; “Generally speaking, would you say that

you usually think of yourself as a….? Democrat; Independent; Republican.”

Defendants_002200-002210.

      These government inquiries into the political beliefs and associations of

citizens constitute a violation of the First Amendment. “[W]hen a State attempts to

make inquiries about a person’s beliefs or associations, its power is limited by the

First Amendment.” Baird v. State Bar of Ariz., 401 U.S. 1, 6 (1971). That limitation

exists because inquiries by the state, such as those in the survey, may “discourage

citizens from exercising rights protected by the Constitution.” Id. at 6-7. That is
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precisely the case here. Plaintiff also refers Defendants to Plaintiff’s opposition to

the motion to dismiss, ECF No. 43, including but not limited to the discussions at

pages 3-4, 10-12, 15-16, 28-31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession or that is otherwise obtainable from

sources that are source more convenient, less burdensome, or less expensive.

Plaintiff further objects to this interrogatory to the extent that it is duplicative of

other interrogatories promulgated by Defendants.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 5:

      Please identify any and all instances where HB 233 has required you to

espouse views you do not promote, including a description of the espoused

viewpoint, date, location, medium of communication, individual(s) who were

present for the espoused views, and the specific statutory basis for believing you

were required to espouse views with which you disagreed.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff does not recall any specific “instances where HB 233 has required
                                           17
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[him] to espouse views [he] do[es] not promote.” However, the plain text of HB 233

threatens Plaintiff if he does not engage in speech in which he would not otherwise

engage, making him and the institution where he teaches vulnerable to retributive

action: it prohibits limiting “students’, faculty members’, or staff members’ access

to, or observation of, ideas and opinions that they may find uncomfortable,

unwelcome, disagreeable or offensive.” Fla. Stat. §§ 1001.03(19)(a)(2),

1001.706(13)(a)(2). The result is that Plaintiff may be compelled to teach or espouse

views with which he disagrees—or perhaps even agrees, but would not otherwise

teach or express in a given moment, absent the threats posed by HB 233. It is “a

fundamental rule of protection under the First Amendment[] that the speaker has the

autonomy to choose the content of his own message.” Hurley v. Irish-American Gay,

Lesbian and Bisexual Group of Boston, 515 U.S. 557, 573 (1995). “[T]his general

rule that the speaker has the right to tailor the speech, applies not only to expressions

of value, opinion, or endorsement, but equally to statements of fact the speaker

would rather avoid.” Id. HB 233 sets up an impossible task, rendering safe only those

persons who somehow manage to anticipate all possible criticism that they are not

teaching or discussing or covering “all sides,” or else risk injury to themselves or

their institutions. In Texas, similar legislation led to one school administrator

directing teachers that “if you have a book on the Holocaust, that you have one that

has an opposing—that has other perspectives.” Given the topical nature of Plaintiff’s

work, he has serious concerns that it will cause him to be specifically targeted under
                                           18
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HB 233.

       Plaintiff also refers Defendants to the Amended Complaint in this matter, ECF

No. 35, and specifically paragraphs 7, 9, 27, 81-86, 95, 98, 119, 149-157 and 161-

163.

       In addition to the General Objections set forth above, Plaintiff further objects

to this interrogatory on the grounds that it is vague and confusing. It is not clear what

means to obtain when it asks Plaintiff to identify a “specific statutory basis for

believing you [i.e., Plaintiff] were required to espouse views with which you

[Plaintiff] disagreed.” Further, HB 233’s Anti-Shielding Provisions broadly apply to

virtually every conceivable form of “oral or written communication of ideas,

including all forms of peaceful assembly, protests, and speeches; distributing

literature; carrying signs; circulating petitions; faculty research, lectures, writings,

and commentary, whether published or unpublished; and the recording and

publication, including the Internet publication, of video or audio recorded in outdoor

areas of campus.” E.g., Fla. Stat. § 1004.097(3)(a). As a result, the interrogatory is

impermissibly overbroad; it would be impossible for Plaintiff to accurately identify

all such instances in which HB 233 imposes a compelled speech threat. Plaintiff

further objects to this interrogatory because it seeks information about Plaintiff’s

political views and associations which are protected by the First Amendment

privilege. Requiring Plaintiff to disclose his political associations would have a

chilling effect, beyond that created by HB 233, on his own associations and could
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also cause others not to associate with him or to cease associating with him if they

believed that any and all confidential disclosures about their personal views, or

communications about times when they felt they were required to espouse views

they did not believe in in order to avoid retribution from Defendants, their

institutions, trustees, or any other number of third parties or Florida government

actors, were subject to disclosure by Plaintiff simply because of Plaintiff’s

involvement in a lawsuit that (ironically) seeks to protect these very rights.

       Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 6:

       Please identify any and all instances where you did not join an association or

resigned from an association because of HB 233, including the date and your reason

for not joining or resigning.

RESPONSE:

       Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

       Plaintiff has not declined to join, or resigned from, any associations due to HB

233.

       In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it seeks information about Plaintiff’s political associations

which are protected by the First Amendment privilege. Requiring Plaintiff to
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disclose his associations would have a chilling effect, beyond that created by HB

233, on his own associations and could also cause others not to associate with him

or to cease associating with him if they believed communications about their fears

of retribution from Defendants, their institutions, trustees, or any other number of

third parties or Florida government actors, were subject to disclosure by Plaintiff

simply because of Plaintiff’s involvement in a lawsuit that (ironically) seeks to

protect these very rights.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 7:

      Please identify any and all instances where you were required by HB 233 to

disclose your associations, including the date of the request, the date of your

disclosure, the identity of the requestor, contents of the request, and your response.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff has not yet been “required by HB 233 to disclose [his] associations.”

As noted, the survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff. However, for the reasons discussed at length in the Amended

Complaint, the threat that HB 233 may be used to require students, faculty, or staff

in the State’s public post-secondary institutions to report, reveal, or “register” their
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political views or associations is serious, present, and remains ongoing. The threat

posed by HB 233 which gives Defendants the power to mandate from all Florida

faculty lists of all of their associations for any type of use or future disclosure

threatens Plaintiff with forced disclosure of this association and operates to chill his

protected associational and speech activities.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it seeks information about Plaintiff’s political associations

which are protected by the First Amendment privilege. Requiring Plaintiff to

disclose his associations would have a chilling effect, beyond that created by HB

233, on his own associations and could also cause others not to associate with him

or to cease associating with him if they believed communications about their fears

of retribution from Defendants, their institutions, trustees, or any other number of

third parties or Florida government actors, were subject to disclosure by Plaintiff

simply because of Plaintiff’s involvement in a lawsuit that (ironically) seeks to

protect these very rights.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 8:

      Please identify any and all instances where you have prohibited a student from

recording a lecture, including the date, class, circumstances surrounding the

prohibition, and reason for your prohibition.
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RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff is not aware of any “instances where [he] . . . prohibited a student

from recording a lecture.” Plaintiff can recall only one or two instances where a

student has asked to record a lecture in one of his classes; in all instances Plaintiff

granted the request. The stated purpose of the requested recordings was to allow the

student to listen to the lecture again for academic purposes; the students indicated to

Plaintiff that they would not post the recordings online. Plaintiff also refers

Defendants to Fla. Stat. § 934.03.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it is overbroad, unduly burdensome, and disproportionate to

the needs of this case. This interrogatory is not limited in time. As phrased, the

interrogatory seeks information reaching back decades, and which has no bearing

whatsoever on this matter. Plaintiff further objects to this interrogatory to the extent

that it would require him to divulge information or documents protected by FERPA.

Plaintiff further objects to the interrogatory to the extent it seeks information relating

to reasonable accommodations made for disabled students. Such information is

protected against disclosure under federal law and by the right to privacy guaranteed

by the Art. I, § 23 of the Florida Constitution. Cf. Gomillion v. State, 267 So. 3d 502,

506 (Fla. 2d DCA 2019) (“[I]n Florida, medical records are protected as private by
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our state constitution.”).

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 9:

      Please identify any and all instances where you revised your curriculum or

syllabus because of HB 233, including the date you revised your curriculum or

syllabus, how the curriculum or syllabus was revised, and the specific provision in

HB 233 that required the revision or change.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      HB 233 has substantially affected Plaintiff’s decisions in relation to course

material and assignments. For example, for Plaintiff’s class, “American

Constitutional Law,” Plaintiff was choosing a video to use regarding Shay’s

Rebellion. Because of HB 233, Plaintiff felt he could not use content that discussed

a connection between Shay’s Rebellion and the problems of debt and poverty in the

early Republic; as a result, he instead used a simple NBC News Learn video instead

of one with more critical analysis. Plaintiff has also altered some of his assignments

to students because of HB 233. Previously, Plaintiff often asked students to analyze

data on politically or socially controversial subjects. But because of HB 233,

Plaintiff has instead changed the assignments to be more abstract and to have less
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context so as to avoid being drawn into tangential debates over a possible “hidden

political message” in the assignment, or accusations of “political bias” if he gives a

student a lower grade for providing an answer more focused on their personal

political opinions than the scientific analysis requested.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory to the extent it seeks information within the public sphere or within

Defendants’ knowledge or possession, or is otherwise obtainable from sources that

are more convenient, less burdensome, or less expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 10:

      Please identify any and all instances where you previously limited students,

faculty members, or staff members from ideas which they may have found to be

uncomfortable, unwelcome, disagreeable, or offensive, but which, because of HB

233, you would no longer be permitted to limit such access.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      Plaintiff routinely “limit[s] students . . . from ideas which they may [find] to

be uncomfortable, unwelcome, disagreeable, or offensive.” In class, Plaintiff advises

students not to express such ideas because they are corrosive to an open and effective
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learning environment, because avoiding the expression of such ideas helps them

learn to think critically, and because avoiding expression of such ideas helps them

learn to express their ideas in a scholarly and professional manner. For example,

Plaintiff has rules for class discussions which include requests that students avoid

the use of profanity or personal attacks on other students. Likewise, Plaintiff limits

the range of ideas and viewpoints acceptable in response to course assignments:

coursework must be responsive to the prompt and not be mere expressions of

personal opinions. When Plaintiff makes decisions about his syllabus, he is

necessarily limited by time and space in the topics he can cover and the readings he

can assign; accordingly, Plaintiff must make editorial decisions about what readings

or topics to include or exclude, including based in part on what ideas those readings

express. Similarly, when Plaintiff makes statements, sends e-mails, or engages in

any other communicative act, he necessarily must make similar editorial decisions

as to what to include or exclude from his communication. Accordingly, Plaintiff

reasonably does not make affirmative efforts to include views he does not believe

would be conducive to learning, fruitful classroom discussion, or civil

communication. It would be impracticable for Plaintiff to list every single instance

where Plaintiff did not make such an effort.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as overly broad, unduly burdensome, disproportionate to the needs of

the case, and seeking information not relevant to the claims and/or defenses in this
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case. Plaintiff further objects to this interrogatory as vague to the extent it relies upon

the text of the Anti-Shielding Provision, which Plaintiff has alleged is vague. E.g.,

FAC ¶¶ 119, 121. Because both HB 233 and the interrogatory “leave[] undefined

[the terms] ‘uncomfortable, unwelcome, disagreeable, or offensive’ speech,”

Plaintiff must “guess at their meaning.” Id. at ¶ 121. For similar reasons, the

interrogatory is also objectionably overbroad. HB 233’s Anti-Shielding Provisions

broadly apply to virtually every conceivable form of “oral or written communication

of ideas, including all forms of peaceful assembly, protests, and speeches;

distributing literature; carrying signs; circulating petitions; faculty research, lectures,

writings, and commentary, whether published or unpublished; and the recording and

publication, including the Internet publication, of video or audio recorded in outdoor

areas of campus.” E.g., Fla. Stat. § 1004.097(3)(a). In addition, this interrogatory has

no time limitation, seeking information relating to “instances” across all years of

Plaintiff’s many years of teaching. Requiring Plaintiff to identify all such instances

would be burdensome. Plaintiff further objects to the scope of the interrogatory as

overbroad, unduly burdensome, and disproportionate to the needs of the case

because it would be impossible for Plaintiff to “identify” every single instance in

which Plaintiff excluded some viewpoint in one way or another in a forum that could

come within HB 233’s extraordinarily broad reach.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.
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Dated: January 7, 2022.            Respectfully submitted,

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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 7, 2022 I served a copy of the

 foregoing via email to all counsel listed on the Service List below.

                                     /s/ Frederick S. Wermuth
                                     Frederick S. Wermuth
                                     Florida Bar No. 0184111



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        VERIFICATION OF ANSWERS TO INTERROGATORIES

      I, Barry C. Edwards, believe, based on reasonable inquiry, that the foregoing

answers are true and correct to the best of my knowledge, information, and belief.

I verify as such under penalty of perjury under 28 U.S.C. § 1746.


                                                   __________________
                                                   Barry C. Edwards


                                                       1/11/2022
                                                   __________________
                                                   Date
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                        EXHIBIT W
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

WILLIAM A. LINK et al.,
                                                        Case No. 4:21-cv-271-MW/MAF
              Plaintiffs,

       v.

RICHARD CORCORAN, et al.,

              Defendants.




                PLAINTIFF JACK FIORITO’S RESPONSES AND
                     OBJECTIONS TO DEFENDANTS’
                    FIRST SET OF INTERROGATORIES



       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff

Jack Fiorito (“Plaintiff”), by and through his attorneys, submits the following written

responses and objections to Defendants’ First Set of Interrogatories served on

November 8, 2021.1

                            PRELIMINARY STATEMENT

       Discovery is ongoing, and Plaintiff has not completed his investigation. These

responses and objections are based on the information and documents currently


1The parties conferred and Defendants’ counsel agreed that Plaintiffs should have until January 7,
2022 to respond to these interrogatories and the other discovery that Defendants served on
November 8, 2021.
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available to Plaintiff, and Plaintiff reserves his rights to alter, supplement, amend, or

otherwise modify these responses and objections in light of additional facts revealed

through subsequent inquiry.

                             GENERAL OBJECTIONS

      1.     Nothing in these responses or objections can be taken as an admission

that Plaintiff agrees with Defendants’ use or interpretation of terms. These responses

and objections are based on Plaintiff’s understanding of each individual

interrogatory. To the extent Defendants assert an interpretation of any interrogatory

that is inconsistent with Plaintiff’s understanding, Plaintiff reserves the right to

supplement his responses and objections.

      2.     Plaintiff objects to Defendants’ interrogatories to the extent that they

purport to impose obligations greater than those imposed by the applicable Federal

Rules of Civil Procedure or the Local Rules of the United States District Court for

the Northern District of Florida.

      3.     Plaintiff objects to Defendants’ interrogatories to the extent that they

purport to require Plaintiff to search for and produce documents and/or information

that are not in his possession, custody, or control. An objection on this ground does

not constitute a representation or admission that such information does in fact exist.

      4.     Plaintiff objects to Defendants’ interrogatories to the extent that they

are overly broad and/or unduly burdensome, including where: (1) they seek

information or documents obtainable from other sources that are more convenient,
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less burdensome, or less expensive; (2) they seek answers or information that may

be derived or ascertained from a review, examination, audit, or inspection of

business records to be produced where the burden of deriving or ascertaining such

answers or information is substantially the same for Plaintiff as for Defendants; (3)

they are cumulative or duplicative of any other interrogatory or request for

production; (4) they are cumulative or duplicative of information or documents

already in the possession of Defendants; or (5) they require the expenditure of time

and resources that outweighs the likely benefit of such efforts.

      5.     Plaintiff objects to Defendants’ interrogatories to the extent that they

seek information that is not relevant or reasonably calculated to lead to the discovery

of evidence admissible in this action.

      6.     Plaintiff objects to Defendants’ interrogatories to the extent that they

are vague or ambiguous.

      7.     Plaintiff objects to Defendants’ interrogatories to the extent that they

call for information or documents that fall within any relevant privilege (including,

without limitation, the attorney-client privilege and the First Amendment privilege),

are within the work product doctrine, constitute trial preparation materials within the

meaning of Rule 26, constitute expert witness information that is not discoverable

under Rule 26, and/or seek or call for information protected from discovery by any

other applicable privileges, doctrines, or immunities. If any protected information is


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disclosed, such disclosure is not intentional and shall not be deemed a waiver of any

privilege or protection.

      8.     Plaintiff further objects to Defendants’ interrogatories to the extent that

they would require him to divulge information or documents protected by the Family

Educational Rights and Privacy Act (“FERPA”), 20 U.S.C. § 1232g, which

guarantees the privacy of the “education records” of students at post-secondary

educational institutions. Under FERPA, “education records” has a broad definition,

encompassing all documents “directly related to a student” and “maintained by . . .

a person acting for [an educational] agency or institution.” 20 U.S.C. § 1232g(a)(4).

As a professor, Plaintiff is such a person. Plaintiff cannot produce covered

information or documents unless four requirements are met. First, the disclosure

must be “in compliance with [a] judicial order, or pursuant to any lawfully issued

subpoena.” Id. at 1232g(b)(2)(B). Second, “parents and the students” must be

“notified of all such orders or subpoenas in advance of the compliance” with that

order or subpoena. Id. Third, a protective order must be in place to “restrict[]

disclosure of the information to the purposes of the litigation.” C.T. v. Liberal Sch.

Dist., No. 06-2093-JWL, 2008 WL 394217, at *4 (D. Kan. Feb. 11, 2008). Fourth,

“the party seeking disclosure” must “demonstrate a genuine need for the information

that outweighs the privacy interest of the students.” Rios v. Read, 73 F.R.D. 589, 599

(E.D.N.Y. 1977); accord Daywalker v. Univ. of Texas Med. Branch at Galveston,

No. 3:20-CV-00099, 2021 WL 4099827, at *3 (S.D. Tex. Sept. 9, 2021). None of
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these requirements are met: Defendants’ First Set of Interrogatories to Jack Fiorito

are neither a court order nor a subpoena; Defendants have produced no evidence that

they have notified parents or students of these interrogatories; there is no protective

order in place relating to student records; and Defendants have not demonstrated a

“genuine need” for the information. Accordingly, Plaintiff cannot comply with any

request that seeks disclosure of information or documents encompassed by FERPA.

                                 INTERROGATORIES

INTERROGATORY NO. 1:

      Please identify with specificity the viewpoints you contend HB 233 targets

and the basis for your belief.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      HB 233 was enacted to target progressive and liberal views, including some

regularly taught by Plaintiff, such as the importance of unions and collective

bargaining. In fact, Defendant Commissioner Corcoran (“Corcoran”) has

specifically called teachers unions such as UFF “downright evil,” and accused them

of them of being “crazy people” and “fixated on halting innovation and competition”

in response to their opposition to his political agenda. More broadly, HB 233 targets

the teaching, research into, and academic expression and exploration of views that


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the Governor Ron DeSantis (“Governor”), Corcoran, and others in Florida

government view as “left-wing,” even in the context of historical, philosophical, or

economic instruction. HB 233 also targets viewpoints the Governor, Corcoran, and

others in Florida government associate with what they perceive to be “liberal college

professors” like Plaintiff, regardless of whether—or perhaps because—those

viewpoints are supported by overwhelming data and/or have broad academic or

historical support.

      There have been extensive public reports about the purpose and intent of HB

233 both around the time of its enactment and since then; in addition, since its

enactment there have been numerous public reports that further evidence the intent

of Defendants and the Governor to chill and even punish speech about issues or that

espouses viewpoints with which Defendants and/or the Governor disagrees. It would

be impossible to list all of that evidence here. For a summary of much of the evidence

available at the time the Amended Complaint was filed, Plaintiff refers Defendants

to that pleading, ECF No. 35, including but not limited to ¶¶ 3, 5-9, 19, 22, 25, 27-

37, 42-45, 48-52, 55-62, 77-81, 84, 86, 90-96, 102, 104-126, 133-135, 137-142, and

the statements and facts discussed therein. Plaintiff further refers Defendants to

Plaintiff’s response in opposition to Defendants’ motion to dismiss, ECF No. 43,

including but not limited to the discussions at pages 3-5, 11-12, 20-28, 31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as unduly burdensome and overbroad. Plaintiff further objects to this
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interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession, or that is otherwise obtainable from

sources that are more convenient, less burdensome, or less expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 2:

      Please identify with specificity the viewpoints you contend HB 233 protects

and the basis for your belief.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      HB 233 protects viewpoints considered to be “uncomfortable, unwelcome,

disagreeable, or offensive.” See Matal v. Tam, 137 S.Ct. 1744, 1763 (2017) (“Giving

offense is a viewpoint.”). HB 233 does this through its Anti-Shielding Provision,

which prohibits state post-secondary educational institutions from “limit[ing]

students’, faculty members’, or staff members’ access to, or observation of, ideas

and opinions that they may find uncomfortable, unwelcome, disagreeable, or

offensive.” Fla. Stat. §§ 1001.03(19)(c), 1001.706(13)(c), 1004.097(3)(f). In Texas,

similar legislation led to one school administrator directing teachers that “if you have

a book on the Holocaust, that you have one that has an opposing—that has other

perspectives.”
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      HB 233 also protects – and even advances and attempts to legitimize through

governmental favoritism – the baseless narrative that post-secondary faculty are

“indoctrinating” students with viewpoints with which the Governor, the majority in

the Legislature, and many among Defendants disagree, as discussed at length in the

Amended Complaint, ECF No. 35.

      As part of HB 233’s protection of “uncomfortable, unwelcome, disagreeable,

or offensive” speech, HB 233 protects the ability of – and even encourages – students

to disrupt Plaintiff’s teaching and the education experience with comments that

either do not substantively contribute to the learning environment or, possibly,

actively harm the learning environment by diverting the class discussion,

intimidating or harassing students or Plaintiff, or forcing Plaintiff to spend his

limited instruction time addressing ideas that he would not otherwise include in his

curriculum, including ideas that he does not agree are well-founded. For example,

HB 233 may effectively require Plaintiff to teach Corcoran’s contention that unions

are “fixated on halting innovation and competition,” a view with which Plaintiff

disagrees.

      HB 233 puts Plaintiff in an impossible situation, threatening him and his

institution with retribution if his teaching is perceived as not including

“uncomfortable, unwelcome, disagreeable, or offensive” viewpoints, whatever those

may be, inducing Plaintiff to include such ideas in his curriculum when he otherwise

would not. Nor is it confined to just Plaintiff’s teaching (which alone would be
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unlawful). HB 233’s Anti-Shielding Provisions broadly apply to virtually every

conceivable form of “oral or written communication of ideas, including all forms of

peaceful assembly, protests, and speeches; distributing literature; carrying signs;

circulating petitions; faculty research, lectures, writings, and commentary, whether

published or unpublished; and the recording and publication, including the Internet

publication, of video or audio recorded in outdoor areas of campus.” E.g., Fla. Stat.

§ 1004.097(3)(a).

      Plaintiff also refers Defendants to the text of the Anti-Shielding Provision of

HB 233 and to the Amended Complaint in this matter, ECF No. 35, including but

not limited to ¶¶ 3, 5-9, 19, 22, 25, 27-37, 42-45, 48-52, 55-62, 77-81, 84, 86, 90-

96, 102, 104-126, 133-135, 137-142, and the statements and facts discussed therein.

Plaintiff further refers Defendants to Plaintiff’s response in opposition to

Defendants’ motion to dismiss, ECF No. 43, including but not limited to the

discussions at pages 3-5, 11-12, 20-28, 31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as unduly burdensome and overbroad. Plaintiff further objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession, or that is otherwise obtainable from

sources that are more convenient, less burdensome, or less expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.
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INTERROGATORY NO. 3:

      Please identify any and all instances where students, faculty, or staff in the

State’s public post-secondary institutions have been required to register their

political views because of HB 233.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      The survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff, nor has the final version of the survey as it will be given (or the

procedures for its implementation) been produced yet to Plaintiffs in discovery.

However, for the reasons discussed at length in the Amended Complaint, the threat

that HB 233 may be used to require students, faculty, or staff in the State’s public

post-secondary institutions to report, reveal, or “register” their political views is

serious, present, and remains ongoing. This is true whatever form the survey that is

ultimately distributed this year contains, and whether it is initially designated as

mandatory or anonymous.

      That Defendants are now empowered—indeed, required—to conduct annual

surveys into political and ideological viewpoints on campuses that they will publish

(and may otherwise use however they wish) imposes its own First Amendment

threat. The Legislature affirmatively refused to consider amendments that would

have required that the survey be anonymous, and statements by proponents
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affirmatively indicated they anticipated they would be mandatory, and would ask

questions such as “Where are you on the political spectrum?” and “Do you believe

that Republicans are evil?” The Survey Provisions themselves require that

respondents be asked about “the extent to which . . . [they] feel free to express their

beliefs and viewpoints on campus and in the classroom.” Fla Stat. §§ 1001.03(19)(b),

1001.706(13)(b). A survey making such an inquiry in the name of “viewpoint

diversity” would logically require at least some inquiry into what those “beliefs and

viewpoints” are.

      Documents produced by Defendants in discovery thus far relating to the

development of the survey mandated by the Survey Provision indicate that the

survey will likely include questions into the political views of respondents. The most

recent draft of the survey produced includes questions such as: “Generally speaking,

you would say that you think of yourself as a … Republican, Independent,

Democrat” and “On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely

conservative, and 4 is exactly in the middle, where would you place yourself?”

Defendants_002971-002972. Defendants’ production also reveals that the survey is

based on other surveys which include similar questions, such as: “How would you

describe    your    views?    Radical    left;   liberal;   moderate;    conservative;

ultraconservative”; “How would you characterize your political views? (Mark one)

Far left – liberal – middle of the road – conservative – far right”; “On a scale from 1

to 7, where 1 is extremely liberal, 7 is extremely conservative, and 4 is exactly in the
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middle, where would you place yourself?”; “Generally speaking, would you say that

you usually think of yourself as a….? Democrat; Independent; Republican.”

Defendants_002200-002210.

      In addition, HB 233 requires that the survey be “statistically valid.” Fla. Stat.

§ 1001.03(19)(b). For the survey to be “statistically valid,” it seems likely that

responses to the survey will be required, either of all potential respondents or of a

statistically representative sample of potential respondents. If the survey were

entirely voluntary, it would be impossible for the survey to be “statistically valid,”

as statutorily required, because the results would be distorted by self-selection bias.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as vague specifically in its use of the terms “register” and “political

views,” which are not defined in these interrogatories or in HB 233. Plaintiff further

objects to this interrogatory as overbroad, unduly burdensome, and disproportionate

to the needs of this case to the extent it seeks information outside of Plaintiff’s

knowledge. Plaintiff cannot be reasonably expected to know of or identify every

single such incident at every single “public post-secondary institution” in Florida.

Plaintiff further objects to this interrogatory to the extent it seeks information within

the public sphere or within Defendants’ knowledge or possession, or is otherwise

obtainable from sources that are more convenient, less burdensome, or less

expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this
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response at a later time as appropriate.

INTERROGATORY NO. 4:

      Please identify any and all facts you have concerning the contents of and the

implementation of the survey required by HB 233, including the specific questions

on the survey you contend violate your First Amendment rights.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      The survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff, nor has the final version of the survey as it will be given in this

coming year been produced yet to Plaintiff in discovery. The discovery that

Defendants have produced thus far includes what appear to be initial drafts of the

survey; however, the most recent of those drafts appear to have been prepared in or

around September 2021. Plaintiffs have specifically requested that Defendants

supplement that discovery and provide any and all additional information that it has

about this topic, but as of the date of these responses and objections, Defendants

have yet to produce to Plaintiffs the final version of the survey that Defendants

intend to implement as required by HB 233. Thus Plaintiff is not yet able to identify

“the specific questions” on that survey that threaten their First Amendment rights.

      However, as discussed at length in Plaintiff’s Amended Complaint, opposition

to the motion to dismiss, and in the response to Interrogatory Number 3, above, the
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enactment of HB 233 and its broad mandate to Defendants to impose an annual

survey that by its terms necessarily and logically must include questions that relate

to the political viewpoints held by Plaintiffs and other students, faculty, and staff in

Florida’s public post-secondary institutions imposes its own threat to Plaintiff’s First

Amendment rights. As discussed above, because the Legislature chose not to impose

any restrictions on the way in which the survey may be used, the manner in which it

inquires into these politically sensitive and personal topics, or whether or how

responses to the same may be made anonymously and/or kept from disclosure within

the government, to other third parties, or publicly, as well as whether the annual

survey that it requires made be made mandatory, the broad, unfettered empowerment

given to Defendants to inquire into these matters – indeed, the law’s mandate that

they do so annually, and failure to restrict the use of that information for any purpose,

including political retribution – imposes a severe and continuing injury to Plaintiff’s

First Amendment rights for as long as HB 233’s Survey Provisions remain

enforceable.

      The facts that Plaintiff has concerning the contents of and implementation of

the survey outside of the materials produced by Defendants in discovery are set forth

in the Amended Complaint, ECF No. 35. For example, as set forth in the Amended

Complaint, Representative Sabatini, who co-sponsored HB 233, said the survey

would “say something along the lines of: ‘Where are you on the political spectrum?’”

FAC ¶ 74. He also made clear that the purpose of the survey was to tell people
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“[what] to be honest, we already know, which is that we’ve lost these campuses to

the radical left” and to justify “defunding the radical institutions on these campuses”

and “insane professors that hate conservatives and hate this country.” Id. at ¶ 80.

Similarly, the Governor, who supported the passage of HB 233 and signed it into

law, indicated that the results of the survey would be used to cut funding from post-

secondary educational institutions that, in his view, had not done enough to foster

“intellectual freedom and viewpoint diversity.” Id. at ¶ 79. Plaintiff also refers

Defendants to the rest of the Amended Complaint including, in particular,

paragraphs 63 to 80.

      Consistent with Plaintiffs’ allegations, the drafts of the survey produced by

Defendants in discovery thus far include questions such as: “Generally speaking,

you would say that you think of yourself as a … Republican, Independent,

Democrat” and “On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely

conservative, and 4 is exactly in the middle, where would you place yourself?”

Defendants_002971-002972. Defendants’ production also reveals that the survey is

based on other surveys which include similar questions, such as: “How would you

describe    your    views?    Radical    left;   liberal;   moderate;    conservative;

ultraconservative”; “How would you characterize your political views? (Mark one)

Far left – liberal – middle of the road – conservative – far right”; “On a scale from 1

to 7, where 1 is extremely liberal, 7 is extremely conservative, and 4 is exactly in the

middle, where would you place yourself?”; “Generally speaking, would you say that
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you usually think of yourself as a….? Democrat; Independent; Republican.”

Defendants_002200-002210.

      These government inquiries into the political beliefs and associations of

citizens constitute a violation of the First Amendment. “[W]hen a State attempts to

make inquiries about a person’s beliefs or associations, its power is limited by the

First Amendment.” Baird v. State Bar of Ariz., 401 U.S. 1, 6 (1971). That limitation

exists because broad inquiries into political associations by the state, such as those

in the survey, may “discourage citizens from exercising rights protected by the

Constitution.” Id. at 6-7. That is precisely the case here. Plaintiff also refers

Defendants to Plaintiff’s opposition to the motion to dismiss, ECF No. 43, including

but not limited to the discussions at pages 3-4, 10-12, 15-16, 28-31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession or that is otherwise obtainable from

sources that are source more convenient, less burdensome, or less expensive.

Plaintiff further objects to this interrogatory to the extent it is duplicative of other

interrogatories promulgated by Defendants.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 5:

      Please identify any and all instances where HB 233 has required you to
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espouse views you do not promote, including a description of the espoused

viewpoint, date, location, medium of communication, individual(s) who were

present for the espoused views, and the specific statutory basis for believing you

were required to espouse views with which you disagreed.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff does not recall any specific “instances where HB 233 has required

[him] to espouse views [he] do[es] not promote.” However, Plaintiff observes that

the plain text of HB 233, including through its vague Anti-Shielding Provisions,

threatens Plaintiff if he does not engage in speech in which he would not otherwise

engage, making him and the institution at which he teaches vulnerable to retributive

action: it prohibits limiting “students’, faculty members’, or staff members’ access

to, or observation of, ideas and opinions that they may find uncomfortable,

unwelcome, disagreeable or offensive.” Fla. Stat. §§ 1001.03(19)(a)(2),

1001.706(13)(a)(2).

      Plaintiff regularly teaches and publishes about unions and collective

bargaining. Corcoran has specifically called teachers unions such as UFF

“downright evil,” and accused them of them of being “crazy people” and “fixated

on halting innovation and competition” in response to their opposition to his political

agenda. Plaintiff has serious concerns that his work will cause him to specifically be
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targeted under HB 233, and he will face retribution if refuses to teach or espouse

views with which he disagrees—or perhaps even agrees, but would not otherwise

teach or express in any given moment, absent the threats posed by HB 233.

       Specifically, Plaintiff is concerned that HB 233 may force him to narrow the

scope of the perspectives he teaches, effectively “shielding” students from the liberal

views HB 233 targets. For example, in an early chapter of the text Plaintiff uses for

his course “Management of Labor and Industrial Relations,” MAN 4401, the text’s

author, Professor John W. Budd (“Budd”), lays out four “schools of thought” on

employment relations in a chapter entitled “Labor Unions: Good or Bad?” These

are:

       1.   The Mainstream Economics School (sometimes called “neoclassical

economics school”);

       2. The Human Resource Management School;

       3.   The Industrial Relations School (sometimes called “institutional labor

economics school”); and

       4.   The Critical Industrial Relations School (sometimes called “Marxist

industrial relations school”).

       As Budd points out, answers to the chapter title’s question vary with each

school of thought, but, in Plaintiff’s view, all have some legitimacy as a perspective

on employment relations, perhaps to varying degrees in different parts of the world

with differing employment relations systems. Plaintiff believes that students need to
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be aware of the differing perspectives of these schools in order to have a more

complete understanding of the subject matter and how differing systems address the

need to provide efficiency, equity, and voice. Budd’s text, in Plaintiff’s view, justly

favors the Industrial Relations School and its pluralist perspective in assuming that

each of the major parties to employment relations—management, employees,

unions, and government—plays a legitimate role in employment relations, while

acknowledging the legitimacy of all four schools of thought. However, given the

statements of proponents of HB 233, and in particular the anti-union viewpoints to

which they have given voice, Plaintiff is concerned that he may not be able to teach

or espouse some of the perspectives in Budd’s text, such as the Critical Industrial

Relations School.

      Plaintiff is also concerned because, before the passage of HB 233, a student

criticized Plaintiff’s teaching as one-sided (in the student’s view). HB 233 allows

these types of complaints, based on viewpoint, to be weaponized against Plaintiff

and his institution, with the force of state-sponsored law. It is “a fundamental rule of

protection under the First Amendment[] that the speaker has the autonomy to choose

the content of his own message.” Hurley v. Irish-American Gay, Lesbian and

Bisexual Group of Boston, 515 U.S. 557, 573 (1995). “[T]his general rule that the

speaker has the right to tailor the speech, applies not only to expressions of value,

opinion, or endorsement, but equally to statements of fact the speaker would rather

avoid.” Id. HB 233 sets up an impossible task, rendering safe only those persons
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who somehow manage to cover all opposing viewpoints to anything they teach or

say, or else risk injury to themselves or their institutions. For example, in Texas,

similar legislation led to one school administrator directing teachers that “if you have

a book on the Holocaust, that you have one that has an opposing—that has other

perspectives.” .

      Plaintiff also refers Defendants to the Amended Complaint in this matter, ECF

No. 35, and specifically paragraphs 7, 9, 28-29, 81-86, 95, 98, 119, 149-157 and

161-163.

      In addition to the General Objections set forth above, Plaintiff further objects

to this interrogatory on the grounds that it is vague and confusing. It is not clear what

means to obtain when it asks Plaintiff to identify a “specific statutory basis for

believing you [i.e., Plaintiff] were required to espouse views with which you

[Plaintiff] disagreed.” Further, HB 233’s Anti-Shielding Provisions broadly apply to

virtually every conceivable form of “oral or written communication of ideas,

including all forms of peaceful assembly, protests, and speeches; distributing

literature; carrying signs; circulating petitions; faculty research, lectures, writings,

and commentary, whether published or unpublished; and the recording and

publication, including the Internet publication, of video or audio recorded in outdoor

areas of campus.” E.g., Fla. Stat. § 1004.097(3)(a). As a result, the interrogatory is

impermissibly overbroad; it would be impossible for Plaintiff to accurately identify

all such instances in which HB 233 imposes a compelled speech threat. Plaintiff
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further objects to this interrogatory because it seeks information about Plaintiff’s

political views and associations which are protected by the First Amendment

privilege. Requiring Plaintiff to disclose his political associations would have a

chilling effect, beyond that created by HB 233, on his own associations and could

also cause others not to associate with him or to cease associating with him if they

believed that any and all confidential disclosures about their personal views, or

communications about times when they felt they were required to espouse views

they did not believe in in order to avoid retribution from Defendants, their

institutions, trustees, or any other number of third parties or Florida government

actors, were subject to disclosure by Plaintiff simply because of Plaintiff’s

involvement in a lawsuit that (ironically) seeks to protect these very rights. Plaintiff

further objects to this interrogatory to the extent it is duplicative of other

interrogatories promulgated by Defendants.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 6:

      Please identify any and all instances where you did not join an association or

resigned from an association because of HB 233, including the date and your reason

for not joining or resigning.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and
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General Objections above, Plaintiff responds to this interrogatory as follows:

       Plaintiff has not declined to join, or resigned from, any associations due to HB

233.

       In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it seeks information about Plaintiff’s political associations

which are protected by the First Amendment privilege. Requiring Plaintiff to

disclose his associations would have a chilling effect, beyond that created by HB

233, on his own associations and could also cause others not to associate with him

or to cease associating with him if they believed communications about their fears

of retribution from Defendants, their institutions, trustees, or any other number of

third parties or Florida government actors, were subject to disclosure by Plaintiff

simply because of Plaintiff’s involvement in a lawsuit that (ironically) seeks to

protect these very rights.

       Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 7:

       Please identify any and all instances where you were required by HB 233 to

disclose your associations, including the date of the request, the date of your

disclosure, the identity of the requestor, contents of the request, and their response.

RESPONSE:

       Subject to, expressly reserving, and without waiving the below objections and
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General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff has not yet been “required by HB 233 to disclose [his] associations.”

As noted, the survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff. However, for the reasons discussed at length in the Amended

Complaint, the threat that HB 233 may be used to require students, faculty, or staff

in the State’s public post-secondary institutions to report, reveal, or “register” their

political views or associations is serious, present, and remains ongoing. The threat

posed by HB 233 which gives Defendants the power to mandate from all Florida

faculty lists of all of their associations for any type of use or future disclosure

threatens Plaintiff with forced disclosure of this association and operates to chill his

protected associational and speech activities.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it seeks information about Plaintiff’s political associations

which are protected by the First Amendment privilege. Requiring Plaintiff to

disclose his associations would have a chilling effect, beyond that created by HB

233, on his own associations and could also cause others not to associate with him

or to cease associating with him if they believed communications about their fears

of retribution from Defendants, their institutions, trustees, or any other number of

third parties or Florida government actors, were subject to disclosure by Plaintiff

simply because of Plaintiff’s involvement in a lawsuit that (ironically) seeks to

protect these very rights.
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      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 8:

      Please identify any and all instances where you have prohibited a student from

recording a lecture, including the date, class, circumstances surrounding the

prohibition, and reason for your prohibition.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff is not aware of any “instances where [he] . . . prohibited a student

from recording a lecture.” Only approximately two or three students have requested

to record Plaintiff’s lectures in Plaintiff’s long career of teaching. Plaintiff has

agreed on each occasion. However, those students have only ever requested to record

audio of his lectures—not video, which is substantially more intrusive. In addition,

consistent with College of Business policy, Plaintiff has requested that students not

use their cell phones in class. However, for the Spring 2022 semester, Plaintiff took

care to include in his syllabus a statement that nevertheless, students may record his

lectures consistent with HB 233. Plaintiff also refers Defendants to Fla. Stat. §

934.03.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it is overbroad, unduly burdensome, and disproportionate to
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the needs of this case. This interrogatory is not limited in time. As phrased, the

interrogatory seeks information reaching back decades, and which has no bearing

whatsoever on this matter. Plaintiff further objects to this request to the extent that

it would require him to divulge information or documents protected by FERPA.

Plaintiff further objects to the interrogatory to the extent it seeks information relating

to reasonable accommodations made for disabled students. Such information is

protected against disclosure under federal law and by the right to privacy guaranteed

by the Art. I, § 23 of the Florida Constitution. Cf. Gomillion v. State, 267 So. 3d 502,

506 (Fla. 2d DCA 2019) (“[I]n Florida, medical records are protected as private by

our state constitution.”).

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 9:

      Please identify any and all instances where you revised your curriculum or

syllabus because of HB 233, including the date you revised your curriculum or

syllabus, how the curriculum or syllabus was revised, and the specific provision in

HB 233 that required the revision or change.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      As a result of HB 233, Plaintiff has updated his syllabus for Management of
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Labor and Industrial Relations, MAN 4401, which he is teaching this semester, to

include a statement that students may record his lectures consistent with HB 233.

Furthermore, for the reasons already addressed, Plaintiff is concerned that under the

threats posed to his institution by HB 233, he could receive pressure to make

revisions or changes in the future.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory to the extent it seeks information within the public sphere or within

Defendants’ knowledge or possession, or is otherwise obtainable from sources that

are more convenient, less burdensome, or less expensive. Plaintiff further objects to

this interrogatory to the extent it is duplicative of other interrogatories promulgated

by Defendants.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 10:

      Please identify any and all instances where you previously limited students,

faculty members, or staff members from ideas which they may have found to be

uncomfortable, unwelcome, disagreeable, or offensive, but which, because of HB

233, you would no longer be permitted to limit such access.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:
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      Under the extraordinary breadth (and vague framing) of HB 233, Plaintiff

necessarily “limit[s] students . . . from ideas which they may [find] to be

uncomfortable, unwelcome, disagreeable, or offensive.” For example, Plaintiff

limits the range of ideas and viewpoints acceptable in response to course

assignments: coursework must be responsive to the prompt and not be mere

expressions of personal opinions.

      Furthermore, when Plaintiff makes decisions about his syllabus, he is

necessarily limited by time and space in the topics he can cover and the readings he

can assign; accordingly, Plaintiff must make editorial decisions about what readings

or topics to include or exclude, including based in part on what ideas those readings

express. Similarly, when Plaintiff makes statements, sends e-mails, or engages in

any other communicative act, he necessarily must make similar editorial decisions

as to what to include or exclude from his communication. Accordingly, Plaintiff

reasonably does not make affirmative efforts to include views he does not believe

would be conducive to learning, fruitful classroom discussion, or civil

communication, and under the extraordinary breadth (and vague framing) of HB

233, by not including that information, Plaintiff recognizes he may be viewed as

“shielding” students from it.

      Nonetheless, throughout his career Plaintiff has endeavored to ensure that his

students are exposed to a range of legitimate perspectives in his courses—but he is

concerned that HB 233 may force him to narrow the scope of those perspectives,
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effectively “shielding” students from the liberal views HB 233 targets. For example,

in an early chapter of the text Plaintiff uses for his course “Management of Labor

and Industrial Relations,” MAN 4401, the text’s author, Professor John W. Budd,

lays out four “schools of thought” on employment relations in a chapter entitled

“Labor Unions: Good or Bad?” These are:

      1.   The Mainstream Economics School (sometimes called “neoclassical

economics school”);

      2. The Human Resource Management School;

      3.   The Industrial Relations School (sometimes called “institutional labor

economics school”); and

      4.   The Critical Industrial Relations School (sometimes called “Marxist

industrial relations school”).

      As Budd points out, answers to the chapter title’s question vary with each

school of thought, but, in Plaintiff’s view, all have some legitimacy as a perspective

on employment relations, perhaps to varying degrees in different parts of the world

with differing employment relations systems. Plaintiff believes that students need to

be aware of the differing perspectives of these schools in order to have a more

complete understanding of the subject matter and how differing systems address the

need to provide efficiency, equity, and voice. Budd’s text, in Plaintiff’s view, justly

favors the Industrial Relations School and its pluralist perspective in assuming that

each of the major parties to employment relations—management, employees,
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unions, and government—plays a legitimate role in employment relations, while

acknowledging the legitimacy of all four schools of thought. However, given the

statements of proponents of HB 233, and in particular the anti-Marxist and anti-

union viewpoints to which they have given voice, Plaintiff is concerned that he may

not be able to teach or espouse some of the perspectives in Budd’s text, such as the

Critical Industrial Relations School.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as overly broad, unduly burdensome, disproportionate to the needs of

the case, and seeking information not relevant to the claims and/or defenses in this

case. HB 233’s Anti-Shielding Provisions broadly apply to virtually every

conceivable form of “oral or written communication of ideas, including all forms of

peaceful assembly, protests, and speeches; distributing literature; carrying signs;

circulating petitions; faculty research, lectures, writings, and commentary, whether

published or unpublished; and the recording and publication, including the Internet

publication, of video or audio recorded in outdoor areas of campus.” E.g., Fla. Stat.

§ 1004.097(3)(a). In addition, this interrogatory has no time limitation, seeking

information relating to “instances” across all years of Plaintiff’s many years of

teaching. Requiring Plaintiff to identify all such instances would be burdensome.

Plaintiff further objects to the scope of the interrogatory as overbroad, unduly

burdensome, and disproportionate to the needs of the case because it would be

impossible for Plaintiff to “identify” every single instance in which Plaintiff
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excluded some viewpoint in one way or another in a forum that could come within

HB 233’s Anti-Shielding Provisions’ extraordinarily broad reach. Plaintiff further

objects to this interrogatory as vague to the extent it relies upon the text of the Anti-

Shielding Provision, which Plaintiff has alleged is vague. E.g., FAC ¶¶ 119, 121.

Because both HB 233 and the interrogatory “leave[] undefined [the terms]

‘uncomfortable, unwelcome, disagreeable, or offensive’ speech,” Plaintiff must

“guess at their meaning.” Id. at ¶ 121.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

Dated: January 7, 2022.                    Respectfully submitted,

                                           /s/ Frederick S. Wermuth
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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 7, 2022 I served a copy of the

 foregoing via email to all counsel listed on the Service List below.

                                     /s/ Frederick S. Wermuth
                                     Frederick S. Wermuth
                                     Florida Bar No. 0184111



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Counsel for Defendants




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        VERIFICATION OF ANSWERS TO INTERROGATORIES

      I, Jack Fiorito, believe, based on reasonable inquiry, that the foregoing

answers are true and correct to the best of my knowledge, information, and belief.

I verify as such under penalty of perjury under 28 U.S.C. § 1746.


                                                   __________________
                                                   Jack Fiorito


                                                        1/11/2022
                                                   __________________
                                                   Date
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                        EXHIBIT X
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

WILLIAM A. LINK et al.,
                                                        Case No. 4:21-cv-271-MW/MAF
              Plaintiffs,

       v.

RICHARD CORCORAN, et al.,

              Defendants.




               PLAINTIFF WILLIAM LINK’S RESPONSES AND
                     OBJECTIONS TO DEFENDANTS’
                    FIRST SET OF INTERROGATORIES



       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff

William A. Link (“Plaintiff”), by and through his attorneys, submits the following

written responses and objections to Defendants’ First Set of Interrogatories served

on November 8, 2021.1

                            PRELIMINARY STATEMENT

       Discovery is ongoing, and Plaintiff has not completed his investigation. These

responses and objections are based on the information and documents currently


1The parties conferred and Defendants’ counsel agreed that Plaintiffs should have until January 7,
2022 to respond to these interrogatories and the other discovery that Defendants served on
November 8, 2021.
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available to Plaintiff, and Plaintiff reserves his rights to alter, supplement, amend, or

otherwise modify these responses and objections in light of additional facts revealed

through subsequent inquiry.

                             GENERAL OBJECTIONS

      1.     Nothing in these responses or objections can be taken as an admission

that Plaintiff agrees with Defendants’ use or interpretation of terms. These responses

and objections are based on Plaintiff’s understanding of each individual

interrogatory. To the extent Defendants assert an interpretation of any interrogatory

that is inconsistent with Plaintiff’s understanding, Plaintiff reserves the right to

supplement his responses and objections.

      2.     Plaintiff objects to Defendants’ interrogatories to the extent that they

purport to impose obligations greater than those imposed by the applicable Federal

Rules of Civil Procedure or the Local Rules of the United States District Court for

the Northern District of Florida.

      3.     Plaintiff objects to Defendants’ interrogatories to the extent that they

purport to require Plaintiff to search for and produce documents and/or information

that are not in his possession, custody, or control. An objection on this ground does

not constitute a representation or admission that such information does in fact exist.

      4.     Plaintiff objects to Defendants’ interrogatories to the extent that they

are overly broad and/or unduly burdensome, including where: (1) they seek

information or documents obtainable from other sources that are more convenient,
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less burdensome, or less expensive; (2) they seek answers or information that may

be derived or ascertained from a review, examination, audit, or inspection of

business records to be produced where the burden of deriving or ascertaining such

answers or information is substantially the same for Plaintiff as for Defendants; (3)

they are cumulative or duplicative of any other interrogatory or request for

production; (4) they are cumulative or duplicative of information or documents

already in the possession of Defendants; or (5) they require the expenditure of time

and resources that outweighs the likely benefit of such efforts.

      5.     Plaintiff objects to Defendants’ interrogatories to the extent that they

seek information that is not relevant or reasonably calculated to lead to the discovery

of evidence admissible in this action.

      6.     Plaintiff objects to Defendants’ interrogatories to the extent that they

are vague or ambiguous.

      7.     Plaintiff objects to Defendants’ interrogatories to the extent that they

call for information or documents that fall within any relevant privilege (including,

without limitation, the attorney-client privilege and the First Amendment privilege),

are within the work product doctrine, constitute trial preparation materials within the

meaning of Rule 26, constitute expert witness information that is not discoverable

under Rule 26, and/or seek or call for information protected from discovery by any

other applicable privileges, doctrines, or immunities. If any protected information is


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disclosed, such disclosure is not intentional and shall not be deemed a waiver of any

privilege or protection.

      8.     Plaintiff further objects to this interrogatory to the extent that it would

require him to divulge information or documents protected by the Family

Educational Rights and Privacy Act (“FERPA”), 20 U.S.C. § 1232g, which

guarantees the privacy of the “education records” of students at post-secondary

educational institutions. Under FERPA, “education records” has a broad definition,

encompassing all documents “directly related to a student” and “maintained by . . .

a person acting for [an educational] agency or institution.” 20 U.S.C. § 1232g(a)(4).

As a professor, Plaintiff is such a person. Plaintiff cannot produce covered

information or documents unless four requirements are met. First, the disclosure

must be “in compliance with [a] judicial order, or pursuant to any lawfully issued

subpoena.” Id. at 1232g(b)(2)(B). Second, “parents and the students” must be

“notified of all such orders or subpoenas in advance of the compliance” with that

order or subpoena to the extent the request involves student information. Id. Third,

a protective order must be in place to “restrict[] disclosure of the information to the

purposes of the litigation.” C.T. v. Liberal Sch. Dist., No. 06-2093-JWL, 2008 WL

394217, at *4 (D. Kan. Feb. 11, 2008). Fourth, “the party seeking disclosure” must

“demonstrate a genuine need for the information that outweighs the privacy interest

of the students.” Rios v. Read, 73 F.R.D. 589, 599 (E.D.N.Y. 1977); accord

Daywalker v. Univ. of Texas Med. Branch at Galveston, No. 3:20-CV-00099, 2021
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WL 4099827, at *3 (S.D. Tex. Sept. 9, 2021). None of these requirements are met:

Defendants’ First Set of Interrogatories to William A. Link are neither a court order

nor a subpoena; Defendants have produced no evidence that they have notified

parents or students of these interrogatories; there is no protective order in place

relating to student records; and Defendants have not demonstrated a “genuine need”

for the information. Accordingly, Plaintiff cannot comply with any interrogatory that

seeks disclosure of information or documents encompassed by FERPA.

                                 INTERROGATORIES

INTERROGATORY NO. 1:

      Please identify with specificity the viewpoints you contend HB 233 targets

and the basis for your belief.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      HB 233 was enacted to target viewpoints to which the Governor Ron DeSantis

(“Governor”), Defendant Commissioner Corcoran (“Corcoran”), and others in

Florida government are opposed, including specifically viewpoints that they deem

to be progressive or liberal. To achieve these aims, HB 233 broadly targets the

teaching, research into, and academic expression and exploration of viewpoints the

Governor, Corcoran, and others in Florida government view as “left-wing,” even in


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the context of historical, philosophical, or economic instruction. HB 233 also targets

viewpoints the Governor, Corcoran, and others in Florida government associate with

what they perceive to be “liberal college professors” like Plaintiff, regardless of

whether—or perhaps because—those viewpoints are supported by overwhelming

data and/or have broad academic or historical support.

      These include viewpoints regularly taught by Plaintiff, whose own work

primarily focuses on the history of the American South, the Progressive Era, the

history of education, slavery, and the origins of the Civil War, and American

Conservatism. Indeed, news reports from around the time of the bill’s passage

recognized that HB 233 is part of a broader right-wing drive to push back on

progressive influences in education, including specifically to impede or even

prohibit teaching, researching, or writing about the history of slavery, a subject that

Plaintiff has long taught at the graduate and undergraduate levels. Contemporaneous

statements by Florida lawmakers, including Florida House Speaker Chris Sprowls,

make clear that one of the specific aims of this and similar legislation recently

enacted by the Florida Legislature (and pushed by the Florida Governor) is to attack

the teaching of professors of history, like Plaintiff, in particular. In their view,

“liberal” professors have been failing to teach students “what our real history is and

what our legacy is.” More recent statements, including by the Governor himself,

make clear that Florida intends to suppress speech specifically about the history of

slavery and its enduring consequences for the nation. Just last week it was reported
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that the Governor described teachings that propose that America’s history of slavery

and racism have effects on current-day laws and practices, as “state-sponsored or

corporate-sanctioned racism.”

      There have been extensive public reports about the purpose and intent of HB

233 both around the time of its enactment and since then; in addition, since its

enactment there have been numerous public reports that further evidence the intent

of Defendants and the Governor to chill and even punish speech about issues or that

espouses viewpoints with which Defendants and/or the Governor disagrees. It would

be impossible to list all that evidence here. For a summary of much of the evidence

available at the time the Amended Complaint was filed, Plaintiff refers Defendants

to that pleading, ECF No. 35, including but not limited to ¶¶ 3, 5-9, 19, 22, 25, 27-

37, 42-45, 48-52, 55-62, 77-81, 84, 86, 90-96, 102, 104-126, 133-135, 137-142, and

the statements and facts discussed therein. Plaintiff further refers Defendants to

Plaintiff’s response in opposition to Defendants’ motion to dismiss, ECF No. 43,

including but not limited to the discussions at pages 3-5, 11-12, 20-28, 31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as unduly burdensome and overbroad. Plaintiff further objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession, or that is otherwise obtainable from

sources that are more convenient, less burdensome, or less expensive.


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      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 2:

      Please identify with specificity the viewpoints you contend HB 233 protects

and the basis for your belief.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      HB 233 protects viewpoints considered to be “uncomfortable, unwelcome,

disagreeable, or offensive.” See Matal v. Tam, 137 S.Ct. 1744, 1763 (2017) (“Giving

offense is a viewpoint.”). HB 233 does this through its Anti-Shielding Provision,

which prohibits state post-secondary educational institutions from “limit[ing]

students’, faculty members’, or staff members’ access to, or observation of, ideas

and opinions that they may find uncomfortable, unwelcome, disagreeable, or

offensive.” Fla. Stat. §§ 1001.03(19)(c), 1001.706(13)(c), 1004.097(3)(f). For

example, in Texas, similar legislation led to one school administrator directing

teachers that “if you have a book on the Holocaust, that you have one that has an

opposing—that has other perspectives.”

      HB 233 also protects – and even advances and attempts to legitimize through

governmental favoritism – the baseless narrative that post-secondary faculty are

“indoctrinating” students with viewpoints with which the Governor, legislative
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majority, and many among Defendants disagree, as discussed at length in the

Amended Complaint, ECF No. 35.

      As part of HB 233’s protection of “uncomfortable, unwelcome, disagreeable,

or offensive” speech, HB 233 protects the ability of – and even encourages – students

to disrupt Plaintiff’s teaching and the education experience with comments that

either do not substantively contribute to the learning environment or, possibly,

actively harm the learning environment by diverting the class discussion,

intimidating or harassing students or Plaintiff, or forcing Plaintiff to spend his

limited instruction time addressing ideas that he would not otherwise include in his

curriculum, including ideas that he does not agree are well-founded or even ideas

that have been widely debunked. For example, HB 233 may effectively require

Plaintiff to teach views about the history of slavery that the Governor himself has

endorsed and published, but which Plaintiff, like many historians, views as

historically unsound, such as the notion that the Three-Fifths Compromise

“benefitted anti-slavery states” or that the “philosophical foundations of the

[unamended] Constitution [were] incompatible with slavery,” despite the fact that

the Constitution specifically protected slavery until it was amended in 1865.

      HB 233 puts Plaintiff in an impossible situation, threatening him and his

institution with retribution if his teaching is perceived as not including

“uncomfortable, unwelcome, disagreeable, or offensive” viewpoints, whatever those

may be, inducing Plaintiff to include such ideas in his curriculum when he otherwise
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would not. Nor is it confined to just Plaintiff’s teaching (which alone would be

unlawful). HB 233’s Anti-Shielding Provisions broadly apply to virtually every

conceivable form of “oral or written communication of ideas, including all forms of

peaceful assembly, protests, and speeches; distributing literature; carrying signs;

circulating petitions; faculty research, lectures, writings, and commentary, whether

published or unpublished; and the recording and publication, including the Internet

publication, of video or audio recorded in outdoor areas of campus.” E.g., Fla. Stat.

§ 1004.097(3)(a).

      Plaintiff also refers Defendants to the text of the Anti-Shielding Provision of

HB 233 and to the Amended Complaint in this matter, ECF No. 35, including but

not limited to ¶¶ 3, 5-9, 19, 22, 25, 27-37, 42-45, 48-52, 55-62, 77-81, 84, 86, 90-

96, 102, 104-126, 133-135, 137-142, and the statements and facts discussed therein.

Plaintiff further refers Defendants to Plaintiff’s response in opposition to

Defendants’ motion to dismiss, ECF No. 43, including but not limited to the

discussions at pages 3-5, 11-12, 20-28, 31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as unduly burdensome and overbroad. Plaintiff further objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession, or that is otherwise obtainable from

sources that are more convenient, less burdensome, or less expensive.


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      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 3:

      Please identify any and all instances where students, faculty, or staff in the

State’s public post-secondary institutions have been required to register their

political views because of HB 233.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      The survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff, nor has the final version of the survey as it will be given (or the

procedures for its implementation) been produced yet to Plaintiffs in discovery.

However, for the reasons discussed at length in the Amended Complaint, the threat

that HB 233 may be used to require students, faculty, or staff in the State’s public

post-secondary institutions to report, reveal, or “register” their political views is

serious, present, and remains ongoing. This is true whatever form the survey that is

ultimately distributed this year contains, and whether it is initially designated as

mandatory or anonymous.

      That Defendants are now empowered—indeed, required—to conduct annual

surveys into political and ideological viewpoints on campuses that they will publish

(and may otherwise use however they wish) imposes its own First Amendment
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threat. The Legislature affirmatively refused to consider amendments that would

have required that the survey be anonymous, and statements by proponents

affirmatively indicated they anticipated they would be mandatory, and would ask

questions such as “Where are you on the political spectrum?” and “Do you believe

that Republicans are evil?” The Survey Provisions themselves require that

respondents be asked about “the extent to which . . . [they] feel free to express their

beliefs and viewpoints on campus and in the classroom.” Fla Stat. §§ 1001.03(19)(b),

1001.706(13)(b). A survey making such an inquiry in the name of “viewpoint

diversity” would logically require at least some inquiry into what those “beliefs and

viewpoints” are.

      Documents produced by Defendants in discovery thus far relating to the

development of the survey mandated by the Survey Provision indicate that the

survey will likely include questions into the political views of respondents. The most

recent draft of the survey produced includes questions such as: “Generally speaking,

you would say that you think of yourself as a … Republican, Independent,

Democrat” and “On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely

conservative, and 4 is exactly in the middle, where would you place yourself?”

Defendants_002971-002972. Defendants’ production also reveals that the survey is

based on other surveys which include similar questions, such as: “How would you

describe   your    views?     Radical    left;   liberal;   moderate;    conservative;

ultraconservative”; “How would you characterize your political views? (Mark one)
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Far left – liberal – middle of the road – conservative – far right”; “On a scale from 1

to 7, where 1 is extremely liberal, 7 is extremely conservative, and 4 is exactly in the

middle, where would you place yourself?”; “Generally speaking, would you say that

you usually think of yourself as a….? Democrat; Independent; Republican.”

Defendants_002200-002210.

      In addition, HB 233 requires that the survey be “statistically valid.” Fla. Stat.

§ 1001.03(19)(b). For the survey to be “statistically valid,” it seems likely that

responses to the survey will be required, either of all potential respondents or of a

statistically representative sample of potential respondents. If the survey were

entirely voluntary, it would be impossible for the survey to be “statistically valid,”

as statutorily required, because the results would be distorted by self-selection bias.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as vague specifically in its use of the terms “register” and “political

views,” which are not defined in these interrogatories or in HB 233. Plaintiff further

objects to this interrogatory as overbroad, unduly burdensome, and disproportionate

to the needs of this case to the extent it seeks information outside of Plaintiff’s

knowledge. Plaintiff cannot be reasonably expected to know of or identify every

single such incident at every single “public post-secondary institution” in Florida.

Plaintiff further objects to this interrogatory to the extent it seeks information within

the public sphere or within Defendants’ knowledge or possession or is otherwise

obtainable from sources that are more convenient, less burdensome, or less
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expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 4:

      Please identify any and all facts you have concerning the contents of and the

implementation of the survey required by HB 233, including the specific questions

on the survey you contend violate your First Amendment rights.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      The survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff, nor has the final version of the survey as it will be given in this

coming year been produced yet to Plaintiff in discovery. The discovery that

Defendants have produced thus far includes what appear to be initial drafts of the

survey; however, the most recent of those drafts appear to have been prepared in or

around September 2021. Plaintiffs have specifically requested that Defendants

supplement that discovery and provide any and all additional information that it has

about this topic, but as of the date of these responses and objections, Defendants

have yet to produce to Plaintiffs the final version of the survey that Defendants

intend to implement as required by HB 233. Thus Plaintiff is not yet able to identify

“the specific questions” on that survey that threaten his First Amendment rights.
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      However, as discussed at length in Plaintiff’s Amended Complaint, opposition

to the motion to dismiss, and in the response to Interrogatory Number 3, above, the

enactment of HB 233 and its broad mandate to Defendants to impose an annual

survey that by its terms necessarily and logically must include questions that relate

to the political viewpoints held by Plaintiffs and other students, faculty, and staff in

Florida’s public post-secondary institutions imposes its own threat to Plaintiff’s First

Amendment rights. As discussed above, because the Legislature chose not to impose

any restrictions on the way in which the survey may be used, the manner in which it

inquires into these politically sensitive and personal topics, or whether or how

responses to the same may be made anonymously and/or kept from disclosure within

the government, to other third parties, or publicly, as well as whether the annual

survey that it requires made be made mandatory, the broad, unfettered empowerment

given to Defendants to inquire into these matters – indeed, the law’s mandate that

they do so annually, and failure to restrict the use of that information for any purpose,

including political retribution – imposes a severe and continuing injury to Plaintiff’s

First Amendment rights for as long as HB 233’s Survey Provisions remain

enforceable.

      The facts that Plaintiff has concerning the contents of and implementation of

the survey outside of the materials produced by Defendants in discovery are set forth

in the Amended Complaint, ECF No. 35. For example, as set forth in the Amended

Complaint, Representative Sabatini, who co-sponsored HB 233, said the survey
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would “say something along the lines of: ‘Where are you on the political spectrum?’”

FAC ¶ 74. He also made clear that the purpose of the survey was to tell people

“[what] to be honest, we already know, which is that we’ve lost these campuses to

the radical left” and to justify “defunding the radical institutions on these campuses”

and “insane professors that hate conservatives and hate this country.” Id. at ¶ 80.

Similarly, the Governor, who supported the passage of HB 233 and signed it into

law, indicated that the results of the survey would be used to cut funding from post-

secondary educational institutions that, in his view, had not done enough to foster

“intellectual freedom and viewpoint diversity.” Id. at ¶ 79. Plaintiff also refers

Defendants to the rest of the Amended Complaint including, in particular,

paragraphs 63 to 80.

      Consistent with Plaintiffs’ allegations, the most recent drafts of the survey

produced by Defendants in discovery thus far include questions such as: “Generally

speaking, you would say that you think of yourself as a … Republican, Independent,

Democrat” and “On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely

conservative, and 4 is exactly in the middle, where would you place yourself?”

Defendants_002971-002972. Defendants’ production also reveals that the survey is

based on other surveys which include similar questions, such as: “How would you

describe   your    views?     Radical    left;   liberal;   moderate;    conservative;

ultraconservative”; “How would you characterize your political views? (Mark one)

Far left – liberal – middle of the road – conservative – far right”; “On a scale from 1
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to 7, where 1 is extremely liberal, 7 is extremely conservative, and 4 is exactly in the

middle, where would you place yourself?”; “Generally speaking, would you say that

you usually think of yourself as a….? Democrat; Independent; Republican.”

Defendants_002200-002210. Accordingly, Plaintiff anticipates that any final draft

of the survey will include similar questions.

      These government inquiries into the political beliefs and associations of

citizens constitute a violation of the First Amendment. “[W]hen a State attempts to

make inquiries about a person’s beliefs or associations, its power is limited by the

First Amendment.” Baird v. State Bar of Ariz., 401 U.S. 1, 6 (1971). That limitation

exists because inquiries by the state, such as those in the survey, may “discourage

citizens from exercising rights protected by the Constitution.” Id. at 6-7. That is

precisely the case here. Plaintiff also refers Defendants to Plaintiff’s opposition to

the motion to dismiss, ECF No. 43, including but not limited to the discussions at

pages 3-4, 10-12, 15-16, 28-31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory to the extent it seeks information already within the public sphere or

Defendants’ knowledge or possession or that is otherwise obtainable from sources

that are more convenient, less burdensome, or less expensive. Plaintiff further

objects to this interrogatory to the extent that it is duplicative of other interrogatories

promulgated by Defendants.


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      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 5:

      Please identify any and all instances where HB 233 has required you to

espouse views you do not promote, including a description of the espoused

viewpoint, date, location, medium of communication, individual(s) who were

present for the espoused views, and the specific statutory basis for believing you

were required to espouse views with which you disagreed.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff does not recall any specific “instances where HB 233 has required

[him] to espouse views [he] do[es] not promote.” However, Plaintiff observes that

the plain text of HB 233, including through its vague Anti-Shielding Provisions,

threatens Plaintiff if he does not engage in speech in which he would not otherwise

engage, making him and the institution at which he teaches vulnerable to retributive

action: it prohibits limiting “students’, faculty members’, or staff members’ access

to, or observation of, ideas and opinions that they may find uncomfortable,

unwelcome, disagreeable or offensive.” Fla. Stat. §§ 1001.03(19)(a)(2),

1001.706(13)(a)(2). The result is that Plaintiff may be compelled to teach or espouse

views with which he disagrees—or perhaps even agrees, but would not otherwise
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teach or express in any given moment, absent the threats posed by HB 233. It is “a

fundamental rule of protection under the First Amendment[] that the speaker has the

autonomy to choose the content of his own message.” Hurley v. Irish-American Gay,

Lesbian and Bisexual Group of Boston, 515 U.S. 557, 573 (1995). “[T]his general

rule that the speaker has the right to tailor the speech, applies not only to expressions

of value, opinion, or endorsement, but equally to statements of fact the speaker

would rather avoid.” Id.

      As previously noted, Plaintiff teaches and publishes about the history of the

American South, the Progressive Era, the history of education, slavery, and the

origins of the Civil War, and American Conservatism. HB 233 is part of a broader

right-wing drive to push back on progressive influences in education, including

specifically to impede or even prohibit teaching, research, or writing about the

history of slavery, and instead force instructors to teach revisionist right-wing views

of history—particularly as it relates to slavery and race relations—or else be

vulnerable to retribution enabled and encouraged by HB 233. These subjects are

among some of the most often vilified by the Governor, Florida’s legislative

majority, and others within Florida’s current government.

      Plaintiff has serious concerns that he will be pressured or compelled to spend

his limited instruction time addressing ideas that he would not otherwise include in

his curriculum, including ideas that he does not agree are well-founded or even ideas

that have been widely debunked. HB 233 may effectively require Plaintiff to teach
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or espouse views about the history of slavery that the Governor himself has endorsed

and published, but which Plaintiff, like many historians, views as historically

unsound, such as the notion that the Three-Fifths Compromise “benefitted anti-

slavery states” or that the “philosophical foundations of the [unamended]

Constitution are incompatible with slavery,” despite the fact that the Constitution

specifically protected slavery until it was amended in 1865. Given the topical nature

of Plaintiff’s work, he has serious concerns that it will cause him to be specifically

targeted under HB 233, and that he will face retribution.

      Plaintiff also refers Defendants to the Amended Complaint in this matter, ECF

No. 35, and specifically paragraphs 7, 9, 23-26, 81-86, 95, 98, 119, 149-157 and

161-163.

      In addition to the General Objections set forth above, Plaintiff further objects

to this interrogatory on the grounds that it is vague and confusing. It is not clear what

it means to obtain when it asks Plaintiff to identify a “specific statutory basis for

believing you [Plaintiff] were required to espouse views with which you [Plaintiff]

disagreed.” Further, HB 233’s Anti-Shielding Provisions broadly apply to virtually

every conceivable form of “oral or written communication of ideas, including all

forms of peaceful assembly, protests, and speeches; distributing literature; carrying

signs; circulating petitions; faculty research, lectures, writings, and commentary,

whether published or unpublished; and the recording and publication, including the

Internet publication, of video or audio recorded in outdoor areas of campus.” E.g.,
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Fla. Stat. § 1004.097(3)(a). As a result, the interrogatory is impermissibly overbroad;

it would be impossible for Plaintiff to accurately identify all such instances in which

HB 233 imposes a compelled speech threat. Plaintiff further objects to this

interrogatory because it seeks information about Plaintiff’s political views and

associations which are protected by the First Amendment privilege. Requiring

Plaintiff to disclose his political associations would have a chilling effect, beyond

that created by HB 233, on his own associations and could also cause others not to

associate with him or to cease associating with him if they believed that any and all

confidential disclosures about their personal views, or communications about times

when they felt they were required to espouse views they did not believe in in order

to avoid retribution from Defendants, their institutions, trustees, or any other number

of third parties or Florida government actors, were subject to disclosure by Plaintiff

simply because of Plaintiff’s involvement in a lawsuit that (ironically) seeks to

protect these very rights.

      Plaintiff further objects to this interrogatory to the extent that it is duplicative

of other interrogatories promulgated by Defendants.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 6:

      Please identify any and all instances where you did not join an association or

resigned from an association because of HB 233, including the date and your reason
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for not joining or resigning.

RESPONSE:

       Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

       Plaintiff has not declined to join, or resigned from, any associations due to HB

233.

       In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it seeks information about Plaintiff’s political associations

which are protected by the First Amendment privilege. Requiring Plaintiff to

disclose his associations would have a chilling effect, beyond that created by HB

233, on his own associations and could also cause others not to associate with him

or to cease associating with him if they believed communications about their fears

of retribution from Defendants, their institutions, trustees, or any other number of

third parties or Florida government actors, were subject to disclosure by Plaintiff

simply because of Plaintiff’s involvement in a lawsuit that (ironically) seeks to

protect these very rights.

       Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 7:

       Please identify any and all instances where you were required by HB 233 to

disclose your associations, including the date of the request, the date of your
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disclosure, the identity of the requestor, contents of the request, and your response.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff has not yet been “required by HB 233 to disclose [his] associations.”

The survey mandated by HB 233 has not yet been distributed to students, faculty, or

staff. However, for the reasons discussed at length in the Amended Complaint, the

threat that HB 233 may be used to require students, faculty, or staff in the State’s

public post-secondary institutions to report, reveal, or “register” their political views

or associations is serious, present, and remains ongoing. The threat posed by HB 233

which gives Defendants the power to mandate from all Florida faculty lists of all of

their associations for any type of use or future disclosure, threatens Plaintiff with

forced disclosure of this association and operates to chill his protected associational

and speech activities.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it seeks information about Plaintiff’s political associations

which are protected by the First Amendment privilege. Requiring Plaintiff to

disclose his associations would have a chilling effect, beyond that created by HB

233, on his own associations and could also cause others not to associate with him

or to cease associating with him if they believed communications about their fears

of retribution from Defendants, their institutions, trustees, or any other number of
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third parties or Florida government actors, were subject to disclosure by Plaintiff

simply because of Plaintiff’s involvement in a lawsuit that (ironically) seeks to

protect these very rights.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 8:

      Please identify any and all instances where you have prohibited a student from

recording a lecture, including the date, class, circumstances surrounding the

prohibition, and reason for your prohibition.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff is not aware of any “instances where [he] . . . prohibited a student

from recording a lecture.” Indeed, Plaintiff cannot recall any instances where

students sought to record his lectures, with the exception of students who recorded

lectures pursuant to a reasonable accommodation for a disability. If students had

requested to record Plaintiff’s lectures for academic purposes, he would have granted

the request; however, if the purpose of the recording were for the purpose of

documenting his political sentiments, he would not have been comfortable granting

the request. Plaintiff also refers Defendants to Fla. Stat. § 934.03.

      In addition to the General Objections set forth above, Plaintiff objects to this
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interrogatory because it is overbroad, unduly burdensome, and disproportionate to

the needs of this case. This interrogatory is not limited in time. As phrased, the

interrogatory seeks information reaching back decades, and which has no bearing

whatsoever on this matter. Plaintiff further objects to this interrogatory to the extent

that it would require him to divulge information or documents protected by FERPA.

Plaintiff further objects to the interrogatory to the extent it seeks information relating

to reasonable accommodations made for disabled students. Such information is

protected against disclosure under federal law and by the right to privacy guaranteed

by the Art. I, § 23 of the Florida Constitution. Cf. Gomillion v. State, 267 So. 3d 502,

506 (Fla. 2d DCA 2019) (“[I]n Florida, medical records are protected as private by

our state constitution.”).

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 9:

      Please identify any and all instances where you revised your curriculum or

syllabus because of HB 233, including the date you revised your curriculum or

syllabus, how the curriculum or syllabus was revised, and the specific provision in

HB 233 that required the revision or change.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:
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      Plaintiff does not recall any “instances where [he] revised [his] curriculum or

syllabus because of HB 233.” However, for the reasons already addressed, Plaintiff

is concerned that under the threats posed to his institution by HB 233, he could

receive pressure to make revisions or changes in the future.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory to the extent it seeks information within the public sphere or within

Defendants’ knowledge or possession, or is otherwise obtainable from sources that

are more convenient, less burdensome, or less expensive. Plaintiff further objects to

this interrogatory to the extent that it is duplicative of other interrogatories

promulgated by Defendants.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 10:

      Please identify any and all instances where you previously limited students,

faculty members, or staff members from ideas which they may have found to be

uncomfortable, unwelcome, disagreeable, or offensive, but which, because of HB

233, you would no longer be permitted to limit such access.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      Plaintiff routinely “limit[s] students . . . from ideas which they may [find] to
                                           26
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be uncomfortable, unwelcome, disagreeable, or offensive.” In class, Plaintiff advises

students not to express such ideas because they are corrosive to an open and effective

learning environment, because avoiding the expression of such ideas helps them

learn to think critically, and because avoiding expression of such ideas helps them

learn to express their ideas in a scholarly and professional manner. For example,

Plaintiff has rules for class discussions which include requests that students avoid

the use of profanity or personal attacks on other students. Likewise, Plaintiff limits

the range of ideas and viewpoints acceptable in response to course assignments:

coursework must be responsive to the prompt and not be mere expressions of

personal opinions. When Plaintiff makes decisions about his syllabus, he is

necessarily limited by time and space in the topics he can cover and the readings he

can assign; accordingly, Plaintiff must make editorial decisions about what readings

or topics to include or exclude, including based in part on what ideas those readings

express. Similarly, when Plaintiff makes statements, sends e-mails, or engages in

any other communicative act, he necessarily must make similar editorial decisions

as to what to include or exclude from his communication. Accordingly, Plaintiff

reasonably does not make affirmative efforts to include views he does not believe

would be conducive to learning, fruitful classroom discussion, or civil

communication. It would be impracticable for Plaintiff to list every single instance

where Plaintiff did not make such an effort.

      In addition to the General Objections set forth above, Plaintiff objects to this
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interrogatory as overly broad, unduly burdensome, disproportionate to the needs of

the case, and seeking information not relevant to the claims and/or defenses in this

case. Plaintiff further objects to this interrogatory as vague to the extent it relies upon

the text of the Anti-Shielding Provision, which Plaintiff has alleged is vague. E.g.,

FAC ¶¶ 119, 121. Because both HB 233 and the interrogatory “leave[] undefined

[the terms] ‘uncomfortable, unwelcome, disagreeable, or offensive’ speech,”

Plaintiff must “guess at their meaning.” Id. at ¶ 121. For similar reasons, the

interrogatory is also objectionably overbroad. HB 233’s Anti-Shielding Provisions

broadly apply to virtually every conceivable form of “oral or written communication

of ideas, including all forms of peaceful assembly, protests, and speeches;

distributing literature; carrying signs; circulating petitions; faculty research, lectures,

writings, and commentary, whether published or unpublished; and the recording and

publication, including the Internet publication, of video or audio recorded in outdoor

areas of campus.” E.g., Fla. Stat. § 1004.097(3)(a). In addition, this interrogatory has

no time limitation, seeking information relating to “instances” across all years of

Plaintiff’s many years of teaching. Requiring Plaintiff to identify all such instances

would be burdensome. Plaintiff further objects to the scope of the interrogatory as

overbroad, unduly burdensome, and disproportionate to the needs of the case

because it would be impossible for Plaintiff to “identify” every single instance in

which Plaintiff excluded some viewpoint in one way or another in a forum that could

come within HB 233’s Anti-Shielding Provisions’ extraordinarily broad reach.
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Plaintiff further objects to this interrogatory to the extent that it is duplicative of

other interrogatories promulgated by Defendants.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

Dated: January 7, 2022.                    Respectfully submitted,

                                           /s/ Frederick S. Wermuth
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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 7, 2022 I served a copy of the

 foregoing via email to all counsel listed on the Service List below.

                                     /s/ Frederick S. Wermuth
                                     Frederick S. Wermuth
                                     Florida Bar No. 0184111



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Counsel for Defendants




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        VERIFICATION OF ANSWERS TO INTERROGATORIES

      I, William A. Link, believe, based on reasonable inquiry, that the foregoing

answers are true and correct to the best of my knowledge, information, and belief.

I verify as such under penalty of perjury under 28 U.S.C. § 1746.


                                                   __________________
                                                   William A. Link



                                                   __________________
                                                        1/11/2022

                                                   Date
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                        EXHIBIT Y
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

WILLIAM A. LINK et al.,
                                                         Case No. 4:21-cv-271-MW/MAF
               Plaintiffs,

       v.

RICHARD CORCORAN, et al.,

               Defendants.




     PLAINTIFF JULIE ADAMS’ RESPONSES AND OBJECTIONS TO
         DEFENDANTS’ FIRST SET OF INTERROGATORIES


       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff

Julie Adams (“Plaintiff”), by and through their attorneys, submits the following

written responses and objections to Defendants’ First Set of Interrogatories served

on November 8, 2021.1

                             PRELIMINARY STATEMENT

       Discovery is ongoing, and Plaintiff has not completed their investigation.

These responses and objections are based on the information and documents

currently available to Plaintiff, and Plaintiff reserves their rights to alter, supplement,

1The parties conferred and Defendants’ counsel agreed that this Plaintiff should have until January
14, 2022 to respond to these interrogatories and a subset of other discovery that Defendants served
on November 8, 2021.

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amend, or otherwise modify these responses and objections in light of additional

facts revealed through subsequent inquiry.

                            GENERAL OBJECTIONS

      1.     Nothing in these responses or objections can be taken as an admission

that Plaintiff agrees with Defendants’ use or interpretation of terms. These responses

and objections are based on Plaintiff’s understanding of each individual

interrogatory. To the extent Defendants assert an interpretation of any interrogatory

that is inconsistent with Plaintiff’s understanding, Plaintiff reserves the right to

supplement their responses and objections.

      2.     Plaintiff objects to Defendants’ interrogatories to the extent that they

purport to impose obligations greater than those imposed by the applicable Federal

Rules of Civil Procedure or the Local Rules of the United States District Court for

the Northern District of Florida.

      3.     Plaintiff objects to Defendants’ interrogatories to the extent that they

purport to require Plaintiff to search for and produce documents and/or information

that are not in their possession, custody, or control. An objection on this ground does

not constitute a representation or admission that such information does in fact exist.

      4.     Plaintiff objects to Defendants’ interrogatories to the extent that they

are overly broad and/or unduly burdensome, including where: (1) they seek

information or documents obtainable from other sources that are more convenient,

less burdensome, or less expensive; (2) they seek answers or information that may
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be derived or ascertained from a review, examination, audit, or inspection of

business records to be produced where the burden of deriving or ascertaining such

answers or information is substantially the same for Plaintiff as for Defendants; (3)

they are cumulative or duplicative of any other interrogatory or request for

production; (4) they are cumulative or duplicative of information or documents

already in the possession of Defendants; or (5) they require the expenditure of time

and resources that outweighs the likely benefit of such efforts.

      5.     Plaintiff objects to Defendants’ interrogatories to the extent that they

seek information that is not relevant or reasonably calculated to lead to the discovery

of evidence admissible in this action.

      6.     Plaintiff objects to Defendants’ interrogatories to the extent that they

are vague or ambiguous.

      7.     Plaintiff objects to Defendants’ interrogatories to the extent that they

call for information or documents that fall within any relevant privilege (including,

without limitation, the attorney-client privilege and the First Amendment privilege),

are within the work product doctrine, constitute trial preparation materials within the

meaning of Rule 26, constitute expert witness information that is not discoverable

under Rule 26, and/or seek or call for information protected from discovery by any

other applicable privileges, doctrines, or immunities. If any protected information is

disclosed, such disclosure is not intentional and shall not be deemed a waiver of any

privilege or protection.
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                                 INTERROGATORIES

INTERROGATORY NO. 1:

      Please identify with specificity the viewpoints you contend HB 233 targets

and the basis for your belief.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      HB 233 was enacted to target progressive and liberal views, including those

held by Plaintiff, such as their belief, consistent with scientific consensus, that

climate change is real and driven by human activity, that all persons should have

access to reproductive healthcare, and that the government must enact commonsense

legislation to address the epidemic of gun violence in this country. See FAC ¶ 35.

For example, in September 2021, Republicans in the Florida state legislature, with

the support of Governor Ron DeSantis (“Governor”), introduced legislation that

would prohibit most abortions in the state. Similarly, in May 2021, the Governor

signed legislation prohibiting gun violence prevention regulations, including

“unwritten” ones, by local and municipal governments.

      More broadly, HB 233 targets the teaching, research into, and academic

expression and exploration of views that the Governor, Defendant Commissioner

Corcoran (“Corcoran”), and others in Florida government view as “left-wing,” even

in the context of historical, philosophical, or economic instruction. HB 233 also
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targets viewpoints the Governor, Corcoran, and others in Florida government

associate with what they perceive to be “liberal college professors” and “liberal

college students” like Plaintiff.

      There have been extensive public reports about the purpose and intent of HB

233 both around the time of its enactment and since then; in addition, since its

enactment there have been numerous public reports that further evidence the intent

of Defendants and the Governor to chill and even punish speech about issues or that

espouses viewpoints with which Defendants and/or the Governor disagrees. It would

be impossible to list all of that evidence here. For a summary of much of the evidence

available at the time the Amended Complaint was filed, Plaintiff refers Defendants

to that pleading, ECF No. 35, including but not limited to ¶¶ 3, 5-9, 19, 22, 25, 27-

37, 42-45, 48-52, 55-62, 77-81, 84, 86, 90-96, 102, 104-126, 133-135, 137-142, and

the statements and facts discussed therein. Plaintiff further refers Defendants to

Plaintiff’s response in opposition to Defendants’ motion to dismiss, ECF No. 43,

including but not limited to the discussions at pages 3-5, 11-12, 20-28, 31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as unduly burdensome and overbroad. Plaintiff further objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession, or that is otherwise obtainable from

sources that are more convenient, less burdensome, or less expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this
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response at a later time as appropriate.

INTERROGATORY NO. 2:

      Please identify with specificity the viewpoints you contend HB 233 protects

and the basis for your belief.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      HB 233 protects viewpoints considered to be “uncomfortable, unwelcome,

disagreeable, or offensive.” See Matal v. Tam, 137 S.Ct. 1744, 1763 (2017) (“Giving

offense is a viewpoint.”). HB 233 does this through its Anti-Shielding Provision,

which prohibits state post-secondary educational institutions from “limit[ing]

students’, faculty members’, or staff members’ access to, or observation of, ideas

and opinions that they may find uncomfortable, unwelcome, disagreeable, or

offensive.” Fla. Stat. §§ 1001.03(19)(c), 1001.706(13)(c), 1004.097(3)(f). For

example, in Texas, similar legislation led to one school administrator directing

teachers that “if you have a book on the Holocaust, that you have one that has an

opposing—that has other perspectives.” Given HB 233’s sweeping language, it may

require professors in Florida to do the same. Plaintiff is Jewish and would indeed

find such views “uncomfortable, unwelcome, disagreeable, or offensive.”

      In addition, as part of HB 233’s protection of “uncomfortable, unwelcome,

disagreeable, or offensive” speech, HB 233 protects the ability of—and even
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encourages—students to disrupt teaching in the classes Plaintiff attends, with

comments that either do not substantively contribute to the learning environment or,

possibly, actively harm the learning environment by diverting the class discussion,

intimidating or harassing students (including Plaintiff), and effectively requiring that

Florida’s post-secondary institutions credit and give credence to even ideas and

conspiracies that are baseless and have been widely debunked—potentially

including, but not limited to, anti-Semitic conspiracy theories which would create a

hostile learning environment for Plaintiff, who is Jewish.

      Moreover,     the   special   protection    of   “uncomfortable,     unwelcome,

disagreeable, or offensive” ideas that HB 233’s Anti-Shielding Provisions require is

not limited to the classroom. Those provisions broadly apply to virtually every

conceivable form of “oral or written communication of ideas, including all forms of

peaceful assembly, protests, and speeches; distributing literature; carrying signs;

circulating petitions; faculty research, lectures, writings, and commentary, whether

published or unpublished; and the recording and publication, including the Internet

publication, of video or audio recorded in outdoor areas of campus.” E.g., Fla. Stat.

§ 1004.097(3)(a). By its terms, it would even seem to require Plaintiff to give floor

time and oxygen to theories that target their own humanity and dignity.

      HB 233 also protects – and even advances and attempts to legitimize through

governmental favoritism – the baseless narrative that post-secondary faculty are

“indoctrinating” students with viewpoints with which the Governor, the majority in
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the Legislature, and many among Defendants disagree, as discussed at length in the

Amended Complaint, ECF No. 35. Indeed, the purpose of HB 233’s Survey

Provision is explicitly to tell people “[what] to be honest, we already know, which

is that we’ve lost these campuses to the radical left” and to justify “defunding the

radical institutions on these campuses” and “insane professors that hate

conservatives and hate this country.” FAC ¶ 80.

      Plaintiff also refers Defendants to the text of the Anti-Shielding Provision of

HB 233 and to the Amended Complaint in this matter, ECF No. 35, including but

not limited to ¶¶ 3, 5-9, 19, 22, 25, 27-37, 42-45, 48-52, 55-62, 77-81, 84, 86, 90-

96, 102, 104-126, 133-135, 137-142, and the statements and facts discussed therein.

Plaintiff further refers Defendants to Plaintiff’s response in opposition to

Defendants’ motion to dismiss, ECF No. 43, including but not limited to the

discussions at pages 3-5, 11-12, 20-28, 31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as unduly burdensome and overbroad. Plaintiff further objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession, or that is otherwise obtainable from

sources that are more convenient, less burdensome, or less expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.


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INTERROGATORY NO. 3:

      Please identify any and all instances where students, faculty, or staff in the

State’s public post-secondary institutions have been required to register their

political views because of HB 233.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      The survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff, nor has the final version of the survey as it will be given (or the

procedures for its implementation) been produced yet to Plaintiffs in discovery.

However, for the reasons discussed at length in the Amended Complaint, the threat

that HB 233 may be used to require students, faculty, or staff in the State’s public

post-secondary institutions to report, reveal, or “register” their political views is

serious, present, and remains ongoing. This is true whatever form the survey that is

ultimately distributed this year contains, and whether it is initially designated as

mandatory or anonymous.

      That Defendants are now empowered—indeed, required—to conduct annual

surveys into political and ideological viewpoints on campuses that they will publish

(and may otherwise use however they wish) imposes its own First Amendment

threat. The Legislature affirmatively refused to consider amendments that would

have required that the survey be anonymous, and statements by proponents
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affirmatively indicated they anticipated they would be mandatory, and would ask

questions such as “Where are you on the political spectrum?” and “Do you believe

that Republicans are evil?” The Survey Provisions themselves require that

respondents be asked about “the extent to which . . . [they] feel free to express their

beliefs and viewpoints on campus and in the classroom.” Fla Stat. §§ 1001.03(19)(b),

1001.706(13)(b). A survey making such an inquiry in the name of “viewpoint

diversity” would logically require at least some inquiry into what those “beliefs and

viewpoints” are.

      Documents produced by Defendants in discovery thus far relating to the

development of the survey mandated by the Survey Provision indicate that the

survey will likely include questions into the political views of respondents. The most

recent draft of the survey produced includes questions such as: “Generally speaking,

you would say that you think of yourself as a … Republican, Independent,

Democrat” and “On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely

conservative, and 4 is exactly in the middle, where would you place yourself?”

Defendants_002971-002972. Defendants’ production also reveals that the survey is

based on other surveys which include similar questions, such as: “How would you

describe    your    views?    Radical    left;   liberal;   moderate;    conservative;

ultraconservative”; “How would you characterize your political views? (Mark one)

Far left – liberal – middle of the road – conservative – far right”; “On a scale from 1

to 7, where 1 is extremely liberal, 7 is extremely conservative, and 4 is exactly in the
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middle, where would you place yourself?”; “Generally speaking, would you say that

you usually think of yourself as a….? Democrat; Independent; Republican.”

Defendants_002200-002210.

      In addition, HB 233 requires that the survey be “statistically valid.” Fla. Stat.

§ 1001.03(19)(b). For the survey to be “statistically valid,” it is likely that responses

to the survey will be required, either of all potential respondents or of a statistically

representative sample of potential respondents. If the survey were entirely voluntary,

it would be impossible for the survey to be “statistically valid,” as statutorily

required, because the results would be distorted by self-selection bias.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as vague specifically in its use of the terms “register” and “political

views,” which are not defined in these interrogatories or in HB 233. Plaintiff further

objects to this interrogatory as overbroad, unduly burdensome, and disproportionate

to the needs of this case to the extent it seeks information outside of Plaintiff’s

knowledge. Plaintiff cannot be reasonably expected to know of or identify every

single such incident at every single “public post-secondary institution” in Florida.

Plaintiff further objects to this interrogatory to the extent it seeks information within

the public sphere or within Defendants’ knowledge or possession, or is otherwise

obtainable from sources that are more convenient, less burdensome, or less

expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this
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response at a later time as appropriate.

INTERROGATORY NO. 4:

      Please identify any and all facts you have concerning the contents of and the

implementation of the survey required by HB 233, including the specific questions

on the survey you contend violate your First Amendment rights.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      The survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff, nor has the final version of the survey as it will be given in this

coming year been produced yet to Plaintiff in discovery. The discovery that

Defendants have produced thus far includes what appear to be initial drafts of the

survey; however, the most recent of those drafts appear to have been prepared in or

around September 2021. Plaintiffs have specifically requested that Defendants

supplement that discovery and provide any and all additional information that it has

about this topic, but as of the date of these responses and objections, Defendants

have yet to produce to Plaintiffs the final version of the survey that Defendants

intend to implement as required by HB 233. Thus Plaintiff is not yet able to identify

“the specific questions” on that survey that threaten their First Amendment rights.

      However, as discussed at length in Plaintiff’s Amended Complaint, opposition

to the motion to dismiss, and in the response to Interrogatory Number 3, above, the
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enactment of HB 233 and its broad mandate to Defendants to impose an annual

survey that by its terms necessarily and logically must include questions that relate

to the political viewpoints held by Plaintiffs and other students, faculty, and staff in

Florida’s public post-secondary institutions imposes its own threat to Plaintiff’s First

Amendment rights. As discussed above, because the Legislature chose not to impose

any restrictions on the way in which the survey may be used, the manner in which it

inquires into these politically sensitive and personal topics, or whether or how

responses to the same may be made anonymously and/or kept from disclosure within

the government, to other third parties, or publicly, as well as whether the annual

survey that it requires made be made mandatory, the broad, unfettered empowerment

given to Defendants to inquire into these matters – indeed, the law’s mandate that

they do so annually, and failure to restrict the use of that information for any purpose,

including political retribution – imposes a severe and continuing injury to Plaintiff’s

First Amendment rights for as long as HB 233’s Survey Provisions remain

enforceable.

      The facts that Plaintiff has concerning the contents of and implementation of

the survey outside of the materials produced by Defendants in discovery are set forth

in the Amended Complaint, ECF No. 35. For example, as set forth in the Amended

Complaint, Representative Sabatini, who co-sponsored HB 233, said the survey

would “say something along the lines of: ‘Where are you on the political spectrum?’”

FAC ¶ 74. He also made clear that the purpose of the survey was to tell people
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“[what] to be honest, we already know, which is that we’ve lost these campuses to

the radical left” and to justify “defunding the radical institutions on these campuses”

and “insane professors that hate conservatives and hate this country.” Id. at ¶ 80.

Similarly, the Governor, who supported the passage of HB 233 and signed it into

law, indicated that the results of the survey would be used to cut funding from post-

secondary educational institutions that, in his view, had not done enough to foster

“intellectual freedom and viewpoint diversity.” Id. at ¶ 79. Plaintiff also refers

Defendants to the rest of the Amended Complaint including, in particular,

paragraphs 63 to 80.

      Consistent with Plaintiffs’ allegations, the drafts of the survey produced by

Defendants in discovery thus far include questions such as: “Generally speaking,

you would say that you think of yourself as a … Republican, Independent,

Democrat” and “On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely

conservative, and 4 is exactly in the middle, where would you place yourself?”

Defendants_002971-002972. Defendants’ production also reveals that the survey is

based on other surveys which include similar questions, such as: “How would you

describe    your    views?    Radical    left;   liberal;   moderate;    conservative;

ultraconservative”; “How would you characterize your political views? (Mark one)

Far left – liberal – middle of the road – conservative – far right”; “On a scale from 1

to 7, where 1 is extremely liberal, 7 is extremely conservative, and 4 is exactly in the

middle, where would you place yourself?”; “Generally speaking, would you say that
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you usually think of yourself as a….? Democrat; Independent; Republican.”

Defendants_002200-002210.

      These government inquiries into the political beliefs and associations of

citizens constitute a violation of the First Amendment. “[W]hen a State attempts to

make inquiries about a person’s beliefs or associations, its power is limited by the

First Amendment.” Baird v. State Bar of Ariz., 401 U.S. 1, 6 (1971). That limitation

exists because broad inquiries into political associations by the state, such as those

in the survey, may “discourage citizens from exercising rights protected by the

Constitution.” Id. at 6-7. That is precisely the case here. Plaintiff also refers

Defendants to Plaintiff’s opposition to the motion to dismiss, ECF No. 43, including

but not limited to the discussions at pages 3-4, 10-12, 15-16, 28-31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession or that is otherwise obtainable from

sources that are source more convenient, less burdensome, or less expensive.

Plaintiff further objects to this interrogatory to the extent it is duplicative of other

interrogatories promulgated by Defendants.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 5:

      Please identify any and all instances where HB 233 has required you to
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espouse views you do not promote, including a description of the espoused

viewpoint, date, location, medium of communication, individual(s) who were

present for the espoused views, and the specific statutory basis for believing you

were required to espouse views with which you disagreed.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff does not recall any specific “instances where HB 233 has required

[them] to espouse views [they] do not promote.” However, Plaintiff observes that

the plain text of HB 233, including through its vague Anti-Shielding Provisions,

threatens Plaintiff if they do not engage in speech in which they would not otherwise

engage, making them and the institution which they attend vulnerable to retributive

action: it prohibits limiting “students’, faculty members’, or staff members’ access

to, or observation of, ideas and opinions that they may find uncomfortable,

unwelcome, disagreeable or offensive.” Fla. Stat. §§ 1001.03(19)(a)(2),

1001.706(13)(a)(2).

      By its terms, it would seem to require Plaintiff to give floor time and oxygen

to views with which they disagree and even theories that target their own humanity

and dignity. For example, HB 233 may require Plaintiff to express viewpoints in

class discussions which Plaintiff views as “uncomfortable, unwelcome, disagreeable

or offensive” and which Plaintiff does not wish to express—such as conspiracy
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theories without basis in evidence or viewpoints contrary to Plaintiff’s own dignity.

       In addition, even outside of the classroom HB 233 may require Plaintiff to

give voice to, or invite others to give voice to, views that are “uncomfortable,

unwelcome, disagreeable or offensive” and whose views are contrary to Plaintiff’s

deeply held beliefs and which Plaintiff does not wish to promote. Furthermore, even

if Plaintiff were not required to express views with which they disagree, Plaintiff

may be required to express views with which they agree, but would not otherwise

express in any given moment, absent the threats posed by HB 233.

       It is “a fundamental rule of protection under the First Amendment[] that the

speaker has the autonomy to choose the content of his own message.” Hurley v.

Irish-American Gay, Lesbian and Bisexual Group of Boston, 515 U.S. 557, 573

(1995). “[T]his general rule that the speaker has the right to tailor the speech, applies

not only to expressions of value, opinion, or endorsement, but equally to statements

of fact the speaker would rather avoid.” Id. HB 233 sets up an impossible task,

rendering safe only those persons who somehow manage to cover all opposing

viewpoints to anything they say, or else risk injury to themselves or their institutions.

       Plaintiff also refers Defendants to the Amended Complaint in this matter, ECF

No. 35, and specifically paragraphs 7, 9, 35, 81-86, 95, 98, 119, 149-157 and 161-

163.

       In addition to the General Objections set forth above, Plaintiff further objects

to this interrogatory on the grounds that it is vague and confusing. It is not clear what
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means to obtain when it asks Plaintiff to identify a “specific statutory basis for

believing you [i.e., Plaintiff] were required to espouse views with which you

[Plaintiff] disagreed.” The interrogatory is also vague and confusing to the extent it

implicates the text of the Anti-Shielding Provision, which Plaintiff has alleged is

vague. E.g., FAC ¶¶ 119, 121. Because both HB 233 and the interrogatory “leave[]

undefined [the terms] ‘uncomfortable, unwelcome, disagreeable, or offensive’

speech,” Plaintiff must “guess at their meaning.” Id. at ¶ 121.

      Further, HB 233’s Anti-Shielding Provisions broadly apply to virtually every

conceivable form of “oral or written communication of ideas, including all forms of

peaceful assembly, protests, and speeches; distributing literature; carrying signs;

circulating petitions; faculty research, lectures, writings, and commentary, whether

published or unpublished; and the recording and publication, including the Internet

publication, of video or audio recorded in outdoor areas of campus.” E.g., Fla. Stat.

§ 1004.097(3)(a). As a result, the interrogatory is impermissibly overbroad; it would

be impossible for Plaintiff to accurately identify all such instances in which HB 233

imposes a compelled speech threat. Plaintiff further objects to this interrogatory

because it seeks information about Plaintiff’s political views and associations which

are protected by the First Amendment privilege. Requiring Plaintiff to disclose his

political associations would have a chilling effect, beyond that created by HB 233,

on their own associations and could also cause others not to associate with them or

to cease associating with them if those others believed that any and all confidential
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disclosures about their personal views, or communications about times when they

felt they were required to espouse views they did not believe in in order to avoid

retribution from Defendants, their institutions, trustees, or any other number of third

parties or Florida government actors, were subject to disclosure by Plaintiff simply

because of Plaintiff’s involvement in a lawsuit that (ironically) seeks to protect these

very rights. Plaintiff further objects to this interrogatory to the extent it is duplicative

of other interrogatories promulgated by Defendants.

       Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 6:

       Please identify any and all instances where you did not join a political or

cause-oriented club, group, activity, or event or left a club, group, activity, or event

because of HB 233, including the date, name of club, group, activity, or event, and

your reason for not joining or leaving.

RESPONSE:

       Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

       Plaintiff has not yet declined to join, or resigned from, any associations due

to HB 233.

       In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it seeks information about Plaintiff’s political associations
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which are protected by the First Amendment privilege. Requiring Plaintiff to

disclose their associations would have a chilling effect, beyond that created by HB

233, on their own associations and could also cause others not to associate with them

or to cease associating with them if those others believed communications about

their fears of retribution from Defendants, their institutions, trustees, or any other

number of third parties or Florida government actors, were subject to disclosure by

Plaintiff simply because of Plaintiff’s involvement in a lawsuit that (ironically) seeks

to protect these very rights.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 7:

      Please identify any and all instances where you were required by HB 233 to

disclose your associations, including the date of the request, the date of your

disclosure, the identity of the requestor, contents of the request, and their response.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff has not yet been “required by HB 233 to disclose [their]

associations.” As noted, the survey mandated by HB 233 has not yet been distributed

to students, faculty, or staff. However, for the reasons discussed at length in the

Amended Complaint, the threat that HB 233 may be used to require students, faculty,
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or staff in the State’s public post-secondary institutions to report, reveal, or “register”

their political views or associations is serious, present, and remains ongoing. The

threat posed by HB 233 which gives Defendants the power to mandate from all

Florida students lists of all their associations for any type of use or future disclosure

threatens Plaintiff with forced disclosure of this association and operates to chill their

protected associational and speech activities.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it seeks information about Plaintiff’s political associations

which are protected by the First Amendment privilege. Requiring Plaintiff to

disclose their associations would have a chilling effect, beyond that created by HB

233, on their own associations and could also cause others not to associate with them

or to cease associating with them if those others believed communications about

their fears of retribution from Defendants, their institutions, trustees, or any other

number of third parties or Florida government actors, were subject to disclosure by

Plaintiff simply because of Plaintiff’s involvement in a lawsuit that (ironically) seeks

to protect these very rights.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 8:

      Please identify any and all instances where you have been prohibited from

recording a lecture, including the date, class, and circumstances surrounding the
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prohibition.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff has never requested to record a lecture and is therefore not aware of

any “instances where [they] [were] prohibited from recording a lecture.” Plaintiff

also has no personal knowledge of any other student who has requested to record a

lecture. Plaintiff notes that some professors have made announcements in class, or

have included statements in the syllabus, that students should not record lectures

without permission from the lecturer. Furthermore, Plaintiff understands that it is, or

until recently was, the policy of Florida State University that students are, or until

recently were, prohibited from recording lectures without permission of the lecturer.

Plaintiff also refers Defendants to Fla. Stat. § 934.03.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it is overbroad, unduly burdensome, and disproportionate to

the needs of this case. This interrogatory is not limited in time, seeking information

reaching back decades, and which has no bearing whatsoever on this matter.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 9:

      Please identify any and all instances where course curriculum or syllabus was
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revised because of HB 233, including the date revised, how the curriculum or

syllabus was revised, and the specific provision in HB 233 that you believe required

the revision or change.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff is not personally aware of any “instances where course curriculum or

syllabus was revised because of HB 233.” As a student, Plaintiff is not privy to

decisions that their faculty or institutions may make about revising any syllabus or

curriculum, much less any of the detailed information sought by this interrogatory.

Moreover, Plaintiff has no recollection of any instructor sharing any responsive

information with them.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory to the extent it seeks information within the public sphere or within

Defendants’ knowledge or possession, or is otherwise obtainable from sources that

are more convenient, less burdensome, or less expensive. Plaintiff further objects to

this interrogatory to the extent it is duplicative of other interrogatories promulgated

by Defendants.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.


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INTERROGATORY NO. 10:

      Please identify any and all instances that occurred on a public university or

college campus where you were limited from ideas which you may have found to be

uncomfortable, unwelcome, disagreeable, or offensive, but which, because of HB

233, you would no longer be limited from.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      It would be impossible for Plaintiff to identify every instance in which they

were “limited from ideas which [they] may have found to be uncomfortable,

unwelcome, disagreeable, or offensive” at “a public university or college campus.”

In most instances, if Plaintiff were successfully “limited from” an idea, Plaintiff

would definitionally have no such knowledge.

      Plaintiff does recall two specific instances in which they were aware that they

were being “limited from ideas which [they] may have found to be uncomfortable,

unwelcome, disagreeable, or offensive.” First, in Plaintiff’s first semester at Florida

State University, Plaintiff was enrolled in a theatrical design class. Plaintiff’s

professor indicated to the class prior to the final exam that a video clip on the final

exam may be something with which the students may not be comfortable and that if

a student does feel uncomfortable with that the student could ask the professor for

an alternative video clip for the exam. On the final exam, students were asked to
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analyze a clip of the video and song Springtime for Hitler from the film The

Producers. As a Jewish person, Plaintiff did not feel comfortable discussing, for

example, the positive aspects of the Nazi costume design in the video. As a result,

Plaintiff requested from the professor the alternative video clip, which the professor

provided.

      Another instance arose in Plaintiff’s lighting design class during the Fall 2021

semester. In that course, the professor provided trigger warnings for some of the

plays for which students were going to be asked to design. For example, the

professor indicated that one script, Best Enemies, included racist language and that

the plot involved a Ku Klux Klan member and civil rights activist working together

in a small town; likewise, the professor indicated that in another script, 27 Wagons

Full of Cotton, included racial slurs and implied sexual assault and domestic abuse.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as overly broad, unduly burdensome, disproportionate to the needs of

the case, and seeking information not relevant to the claims and/or defenses in this

case. HB 233’s Anti-Shielding Provisions broadly apply to virtually every

conceivable form of “oral or written communication of ideas, including all forms of

peaceful assembly, protests, and speeches; distributing literature; carrying signs;

circulating petitions; faculty research, lectures, writings, and commentary, whether

published or unpublished; and the recording and publication, including the Internet

publication, of video or audio recorded in outdoor areas of campus.” E.g., Fla. Stat.
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§ 1004.097(3)(a). Plaintiff further objects to this interrogatory as vague to the extent

it relies upon the text of the Anti-Shielding Provision, which Plaintiff has alleged is

vague. E.g., FAC ¶¶ 119, 121. Because both HB 233 and the interrogatory “leave[]

undefined [the terms] ‘uncomfortable, unwelcome, disagreeable, or offensive’

speech,” Plaintiff must “guess at their meaning.” Id. at ¶ 121.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

Dated: January 14, 2022.                   Respectfully submitted,

                                           /s/ Frederick S. Wermuth
                                           Frederick S. Wermuth
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                                           Thomas A. Zehnder
                                           Florida Bar No. 0063274
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                                         *Admitted Pro Hac Vice



                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on January 14, 2022 I served a copy of the

foregoing via email to all counsel listed on the Service List below.

                                       /s/ Frederick S. Wermuth
                                       Frederick S. Wermuth
                                       Florida Bar No. 0184111

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Counsel for Defendants


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         VERIFICATION OF ANSWERS TO INTERROGATORIES

      I, Julie Adams, believe, based on reasonable inquiry, that the foregoing

answers are true and correct to the best of my knowledge, information, and belief. I

verify as such under penalty of perjury under 28 U.S.C. § 1746.


                                                   __________________
                                                   Julie Adams


                                                        2/7/2022
                                                   __________________
                                                   Date
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                         EXHIBIT Z
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

WILLIAM A. LINK et al.,
                                                         Case No. 4:21-cv-271-MW/MAF
               Plaintiffs,

       v.

RICHARD CORCORAN, et al.,

               Defendants.




    PLAINTIFF BLAKE SIMPSON’S RESPONSES AND OBJECTIONS TO
          DEFENDANTS’ FIRST SET OF INTERROGATORIES


       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff

Blake Simpson (“Plaintiff”), by and through his attorneys, submits the following

written responses and objections to Defendants’ First Set of Interrogatories served

on November 8, 2021.1

                             PRELIMINARY STATEMENT

       Discovery is ongoing, and Plaintiff has not completed his investigation. These

responses and objections are based on the information and documents currently

available to Plaintiff, and Plaintiff reserves his rights to alter, supplement, amend, or


1The parties conferred and Defendants’ counsel agreed that this Plaintiff should have until January
14, 2022 to respond to these interrogatories and a subset of other discovery that Defendants served
on November 8, 2021.
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otherwise modify these responses and objections in light of additional facts revealed

through subsequent inquiry.

                            GENERAL OBJECTIONS

      1.     Nothing in these responses or objections can be taken as an admission

that Plaintiff agrees with Defendants’ use or interpretation of terms. These responses

and objections are based on Plaintiff’s understanding of each individual

interrogatory. To the extent Defendants assert an interpretation of any interrogatory

that is inconsistent with Plaintiff’s understanding, Plaintiff reserves the right to

supplement his responses and objections.

      2.     Plaintiff objects to Defendants’ interrogatories to the extent that they

purport to impose obligations greater than those imposed by the applicable Federal

Rules of Civil Procedure or the Local Rules of the United States District Court for

the Northern District of Florida.

      3.     Plaintiff objects to Defendants’ interrogatories to the extent that they

purport to require Plaintiff to search for and produce documents and/or information

that are not in his possession, custody, or control. An objection on this ground does

not constitute a representation or admission that such information does in fact exist.

      4.     Plaintiff objects to Defendants’ interrogatories to the extent that they

are overly broad and/or unduly burdensome, including where: (1) they seek

information or documents obtainable from other sources that are more convenient,

less burdensome, or less expensive; (2) they seek answers or information that may
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be derived or ascertained from a review, examination, audit, or inspection of

business records to be produced where the burden of deriving or ascertaining such

answers or information is substantially the same for Plaintiff as for Defendants; (3)

they are cumulative or duplicative of any other interrogatory or request for

production; (4) they are cumulative or duplicative of information or documents

already in the possession of Defendants; or (5) they require the expenditure of time

and resources that outweighs the likely benefit of such efforts.

      5.     Plaintiff objects to Defendants’ interrogatories to the extent that they

seek information that is not relevant or reasonably calculated to lead to the discovery

of evidence admissible in this action.

      6.     Plaintiff objects to Defendants’ interrogatories to the extent that they

are vague or ambiguous.

      7.     Plaintiff objects to Defendants’ interrogatories to the extent that they

call for information or documents that fall within any relevant privilege (including,

without limitation, the attorney-client privilege and the First Amendment privilege),

are within the work product doctrine, constitute trial preparation materials within the

meaning of Rule 26, constitute expert witness information that is not discoverable

under Rule 26, and/or seek or call for information protected from discovery by any

other applicable privileges, doctrines, or immunities. If any protected information is

disclosed, such disclosure is not intentional and shall not be deemed a waiver of any

privilege or protection.
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                                 INTERROGATORIES

INTERROGATORY NO. 1:

      Please identify with specificity the viewpoints you contend HB 233 targets

and the basis for your belief.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      HB 233 was enacted to target progressive and liberal views, including those

held by Plaintiff, such as his passion for social justice and civil rights and opposition

to police brutality. See FAC ¶ 36. For example, in April 2021, Governor Ron

DeSantis (“Governor”) signed into law a statute that redefined the state’s prohibition

on rioting to target protests against police brutality.

      More broadly, HB 233 targets the teaching, research into, and academic

expression and exploration of views that the Governor, Defendant Commissioner

Corcoran (“Corcoran”), and others in Florida government view as “left-wing,” even

in the context of historical, philosophical, or economic instruction. HB 233 also

targets viewpoints the Governor, Corcoran, and others in Florida government

associate with what they perceive to be “liberal college professors” and “liberal

college students” like Plaintiff. This includes the teachings of scholars of sociology,

law, and history (as well as countless other disciplines) about the long-term and

persistent impacts of racism in America, including how that racism permeates and
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impacts the country’s institutions on every level.

      There have been extensive public reports about the purpose and intent of HB

233 both around the time of its enactment and since then; in addition, since its

enactment there have been numerous public reports that further evidence the intent

of Defendants and the Governor to chill and even punish speech that espouses

viewpoints with which Defendants and/or the Governor disagrees. It would be

impossible to list all that evidence here. For a summary of much of the evidence

available at the time the Amended Complaint was filed, Plaintiff refers Defendants

to that pleading, ECF No. 35, including but not limited to ¶¶ 3, 5-9, 19, 22, 25, 27-

37, 42-45, 48-52, 55-62, 77-81, 84, 86, 90-96, 102, 104-126, 133-135, 137-142, and

the statements and facts discussed therein. Plaintiff further refers Defendants to

Plaintiff’s response in opposition to Defendants’ motion to dismiss, ECF No. 43,

including but not limited to the discussions at pages 3-5, 11-12, 20-28, 31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as unduly burdensome and overbroad. Plaintiff further objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession, or that is otherwise obtainable from

sources that are more convenient, less burdensome, or less expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.


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INTERROGATORY NO. 2:

      Please identify with specificity the viewpoints you contend HB 233 protects

and the basis for your belief.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      HB 233 protects viewpoints considered to be “uncomfortable, unwelcome,

disagreeable, or offensive.” See Matal v. Tam, 137 S.Ct. 1744, 1763 (2017) (“Giving

offense is a viewpoint.”). HB 233 does this through its Anti-Shielding Provision,

which prohibits state post-secondary educational institutions from “limit[ing]

students’, faculty members’, or staff members’ access to, or observation of, ideas

and opinions that they may find uncomfortable, unwelcome, disagreeable, or

offensive.” Fla. Stat. §§ 1001.03(19)(c), 1001.706(13)(c), 1004.097(3)(f). HB 233

may require professors to teach as fact the Governor’s ahistorical views that the

Three-Fifths Compromise “benefited anti-slavery states” or that it is unfair to

criticize the Founding Fathers for including provisions in the Constitution that

protected slavery. Plaintiff is a student at a Historically Black College, Florida

Agricultural & Mechanical University (“FAMU”), and such viewpoints are indeed

“uncomfortable, unwelcome, disagreeable, or offensive” to him and would

contribute to a racially hostile learning environment.

      In addition, as part of HB 233’s protection of “uncomfortable, unwelcome,
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disagreeable, or offensive” speech, HB 233 protects the ability of—and even

encourages—students to disrupt teaching in the classes Plaintiff attends, with

comments that either do not substantively contribute to the learning environment or,

possibly, actively harm the learning environment by diverting the class discussion,

intimidating or harassing students (including Plaintiff), and effectively requiring that

Florida’s post-secondary institutions credit and give credence to even ideas and

conspiracies that are baseless and have been widely debunked—potentially

including, but not limited to, racist viewpoints which would create a hostile learning

environment for Plaintiff, who is Black.

      Moreover,     the   special   protection    of   “uncomfortable,     unwelcome,

disagreeable, or offensive” ideas that HB 233’s Anti-Shielding Provisions require is

not limited to the classroom. Those provisions broadly apply to virtually every

conceivable form of “oral or written communication of ideas, including all forms of

peaceful assembly, protests, and speeches; distributing literature; carrying signs;

circulating petitions; faculty research, lectures, writings, and commentary, whether

published or unpublished; and the recording and publication, including the Internet

publication, of video or audio recorded in outdoor areas of campus.” E.g., Fla. Stat.

§ 1004.097(3)(a). By its terms, it would even seem to require Plaintiff, as an activist,

to give floor time and oxygen to theories that target his own humanity and dignity.

      HB 233 also protects – and even advances and attempts to legitimize through

governmental favoritism – the baseless narrative that post-secondary faculty are
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“indoctrinating” students with viewpoints with which the Governor, the majority in

the Legislature, and many among Defendants disagree, as discussed at length in the

Amended Complaint, ECF No. 35. Indeed, the purpose of HB 233’s Survey

Provision is explicitly to tell people “[what] to be honest, we already know, which

is that we’ve lost these campuses to the radical left” and to justify “defunding the

radical institutions on these campuses” and “insane professors that hate

conservatives and hate this country.” FAC ¶ 80.

      Plaintiff also refers Defendants to the text of the Anti-Shielding Provision of

HB 233 and to the Amended Complaint in this matter, ECF No. 35, including but

not limited to ¶¶ 3, 5-9, 19, 22, 25, 27-37, 42-45, 48-52, 55-62, 77-81, 84, 86, 90-

96, 102, 104-126, 133-135, 137-142, and the statements and facts discussed therein.

Plaintiff further refers Defendants to Plaintiff’s response in opposition to

Defendants’ motion to dismiss, ECF No. 43, including but not limited to the

discussions at pages 3-5, 11-12, 20-28, 31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as unduly burdensome and overbroad. Plaintiff further objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession, or that is otherwise obtainable from

sources that are more convenient, less burdensome, or less expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.
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INTERROGATORY NO. 3:

      Please identify any and all instances where students, faculty, or staff in the

State’s public post-secondary institutions have been required to register their

political views because of HB 233.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      The survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff, nor has the final version of the survey as it will be given (or the

procedures for its implementation) been produced yet to Plaintiffs in discovery.

However, for the reasons discussed at length in the Amended Complaint, the threat

that HB 233 may be used to require students, faculty, or staff in the State’s public

post-secondary institutions to report, reveal, or “register” their political views is

serious, present, and remains ongoing. This is true whatever form the survey that is

ultimately distributed this year contains, and whether it is initially designated as

mandatory or anonymous.

      That Defendants are now empowered—indeed, required—to conduct annual

surveys into political and ideological viewpoints on campuses that they will publish

(and may otherwise use however they wish) imposes its own First Amendment

threat. The Legislature affirmatively refused to consider amendments that would

have required that the survey be anonymous, and statements by proponents
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affirmatively indicated they anticipated they would be mandatory, and would ask

questions such as “Where are you on the political spectrum?” and “Do you believe

that Republicans are evil?” The Survey Provisions themselves require that

respondents be asked about “the extent to which . . . [they] feel free to express their

beliefs and viewpoints on campus and in the classroom.” Fla Stat. §§ 1001.03(19)(b),

1001.706(13)(b). A survey making such an inquiry in the name of “viewpoint

diversity” would logically require at least some inquiry into what those “beliefs and

viewpoints” are.

      Documents produced by Defendants in discovery thus far relating to the

development of the survey mandated by the Survey Provision indicate that the

survey will likely include questions into the political views of respondents. The most

recent draft of the survey produced includes questions such as: “Generally speaking,

you would say that you think of yourself as a … Republican, Independent,

Democrat” and “On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely

conservative, and 4 is exactly in the middle, where would you place yourself?”

Defendants_002971-002972. Defendants’ production also reveals that the survey is

based on other surveys which include similar questions, such as: “How would you

describe    your    views?    Radical    left;   liberal;   moderate;    conservative;

ultraconservative”; “How would you characterize your political views? (Mark one)

Far left – liberal – middle of the road – conservative – far right”; “On a scale from 1

to 7, where 1 is extremely liberal, 7 is extremely conservative, and 4 is exactly in the
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middle, where would you place yourself?”; “Generally speaking, would you say that

you usually think of yourself as a….? Democrat; Independent; Republican.”

Defendants_002200-002210.

      In addition, HB 233 requires that the survey be “statistically valid.” Fla. Stat.

§ 1001.03(19)(b). For the survey to be “statistically valid,” it is likely that responses

to the survey will be required, either of all potential respondents or of a statistically

representative sample of potential respondents. If the survey were entirely voluntary,

it would be impossible for the survey to be “statistically valid,” as statutorily

required, because the results would be distorted by self-selection bias.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as vague specifically in its use of the terms “register” and “political

views,” which are not defined in these interrogatories or in HB 233. Plaintiff further

objects to this interrogatory as overbroad, unduly burdensome, and disproportionate

to the needs of this case to the extent it seeks information outside of Plaintiff’s

knowledge. Plaintiff cannot be reasonably expected to know of or identify every

single such incident at every single “public post-secondary institution” in Florida.

Plaintiff further objects to this interrogatory to the extent it seeks information within

the public sphere or within Defendants’ knowledge or possession, or is otherwise

obtainable from sources that are more convenient, less burdensome, or less

expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this
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response at a later time as appropriate.

INTERROGATORY NO. 4:

      Please identify any and all facts you have concerning the contents of and the

implementation of the survey required by HB 233, including the specific questions

on the survey you contend violate your First Amendment rights.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      The survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff, nor has the final version of the survey as it will be given in this

coming year been produced yet to Plaintiff in discovery. The discovery that

Defendants have produced thus far includes what appear to be initial drafts of the

survey; however, the most recent of those drafts appear to have been prepared in or

around September 2021. Plaintiffs have specifically requested that Defendants

supplement that discovery and provide any and all additional information that it has

about this topic, but as of the date of these responses and objections, Defendants

have yet to produce to Plaintiffs the final version of the survey that Defendants

intend to implement as required by HB 233. Thus Plaintiff is not yet able to identify

“the specific questions” on that survey that threaten his First Amendment rights.

      However, as discussed at length in Plaintiff’s Amended Complaint, opposition

to the motion to dismiss, and in the response to Interrogatory Number 3, above, the
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enactment of HB 233 and its broad mandate to Defendants to impose an annual

survey that by its terms necessarily and logically must include questions that relate

to the political viewpoints held by Plaintiffs and other students, faculty, and staff in

Florida’s public post-secondary institutions imposes its own threat to Plaintiff’s First

Amendment rights. As discussed above, because the Legislature chose not to impose

any restrictions on the way in which the survey may be used, the manner in which it

inquires into these politically sensitive and personal topics, or whether or how

responses to the same may be made anonymously and/or kept from disclosure within

the government, to other third parties, or publicly, as well as whether the annual

survey that it requires made be made mandatory, the broad, unfettered empowerment

given to Defendants to inquire into these matters – indeed, the law’s mandate that

they do so annually, and failure to restrict the use of that information for any purpose,

including political retribution – imposes a severe and continuing injury to Plaintiff’s

First Amendment rights for as long as HB 233’s Survey Provisions remain

enforceable.

      The facts that Plaintiff has concerning the contents of and implementation of

the survey outside of the materials produced by Defendants in discovery are set forth

in the Amended Complaint, ECF No. 35. For example, as set forth in the Amended

Complaint, Representative Sabatini, who co-sponsored HB 233, said the survey

would “say something along the lines of: ‘Where are you on the political spectrum?’”

FAC ¶ 74. He also made clear that the purpose of the survey was to tell people
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“[what] to be honest, we already know, which is that we’ve lost these campuses to

the radical left” and to justify “defunding the radical institutions on these campuses”

and “insane professors that hate conservatives and hate this country.” Id. at ¶ 80.

Similarly, the Governor, who supported the passage of HB 233 and signed it into

law, indicated that the results of the survey would be used to cut funding from post-

secondary educational institutions that, in his view, had not done enough to foster

“intellectual freedom and viewpoint diversity.” Id. at ¶ 79. Plaintiff also refers

Defendants to the rest of the Amended Complaint including, in particular,

paragraphs 63 to 80.

      Consistent with Plaintiffs’ allegations, the drafts of the survey produced by

Defendants in discovery thus far include questions such as: “Generally speaking,

you would say that you think of yourself as a … Republican, Independent,

Democrat” and “On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely

conservative, and 4 is exactly in the middle, where would you place yourself?”

Defendants_002971-002972. Defendants’ production also reveals that the survey is

based on other surveys which include similar questions, such as: “How would you

describe    your    views?    Radical    left;   liberal;   moderate;    conservative;

ultraconservative”; “How would you characterize your political views? (Mark one)

Far left – liberal – middle of the road – conservative – far right”; “On a scale from 1

to 7, where 1 is extremely liberal, 7 is extremely conservative, and 4 is exactly in the

middle, where would you place yourself?”; “Generally speaking, would you say that
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you usually think of yourself as a….? Democrat; Independent; Republican.”

Defendants_002200-002210.

      These government inquiries into the political beliefs and associations of

citizens constitute a violation of the First Amendment. “[W]hen a State attempts to

make inquiries about a person’s beliefs or associations, its power is limited by the

First Amendment.” Baird v. State Bar of Ariz., 401 U.S. 1, 6 (1971). That limitation

exists because broad inquiries into political associations by the state, such as those

in the survey, may “discourage citizens from exercising rights protected by the

Constitution.” Id. at 6-7. That is precisely the case here. Plaintiff also refers

Defendants to Plaintiff’s opposition to the motion to dismiss, ECF No. 43, including

but not limited to the discussions at pages 3-4, 10-12, 15-16, 28-31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession or that is otherwise obtainable from

sources that are source more convenient, less burdensome, or less expensive.

Plaintiff further objects to this interrogatory to the extent it is duplicative of other

interrogatories promulgated by Defendants.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 5:

      Please identify any and all instances where HB 233 has required you to
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espouse views you do not promote, including a description of the espoused

viewpoint, date, location, medium of communication, individual(s) who were

present for the espoused views, and the specific statutory basis for believing you

were required to espouse views with which you disagreed.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff does not recall any specific “instances where HB 233 has required

[him] to espouse views [he] do[es] not promote.” However, Plaintiff observes that

the plain text of HB 233, including through its vague Anti-Shielding Provisions,

threatens Plaintiff if he does not engage in speech in which he would not otherwise

engage, making him and the institution which he attends vulnerable to retributive

action: it prohibits limiting “students’, faculty members’, or staff members’ access

to, or observation of, ideas and opinions that they may find uncomfortable,

unwelcome, disagreeable or offensive.” Fla. Stat. §§ 1001.03(19)(a)(2),

1001.706(13)(a)(2).

      By its terms, it would seem to require Plaintiff, as an activist, to give floor

time and oxygen to views with which he disagrees and even theories that target his

own humanity and dignity. For example, HB 233 may require Plaintiff to express

viewpoints in class discussions which Plaintiff views as “uncomfortable,

unwelcome, disagreeable or offensive” and which Plaintiff does not wish to
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express—such as conspiracy theories without basis in evidence or viewpoints

contrary to Plaintiff’s own dignity.

       In addition, Plaintiff is volunteers and associates with various political

organizations to advance the causes in which he believes. For example, in August

2020, Plaintiff co-organized a protest against police brutality for FAMU students

and community members. If Plaintiff were to organize a similar protest now, under

HB 233’s broad and vague provisions Plaintiff may very well be required to include

in that protest viewpoints and speakers representing viewpoints in support of police

brutality. HB 233 may therefore require Plaintiff, in the course of Plaintiff’s

activism, to give voice to, or invite others to give voice to, views that are

“uncomfortable, unwelcome, disagreeable or offensive” and views that are contrary

to Plaintiff’s deeply held beliefs and which Plaintiff does not wish to promote.

Furthermore, even if Plaintiff were not required to express views with which he

disagrees, Plaintiff may be required to express views with which he agrees, but

would not otherwise express in any given moment, absent the threats posed by HB

233.

       It is “a fundamental rule of protection under the First Amendment[] that the

speaker has the autonomy to choose the content of his own message.” Hurley v.

Irish-American Gay, Lesbian and Bisexual Group of Boston, 515 U.S. 557, 573

(1995). “[T]his general rule that the speaker has the right to tailor the speech, applies

not only to expressions of value, opinion, or endorsement, but equally to statements
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of fact the speaker would rather avoid.” Id. HB 233 sets up an impossible task,

rendering safe only those persons who somehow manage to cover all opposing

viewpoints to anything they say, or else risk injury to themselves or their institutions.

       Plaintiff also refers Defendants to the Amended Complaint in this matter, ECF

No. 35, and specifically paragraphs 7, 9, 36, 81-86, 95, 98, 119, 149-157 and 161-

163.

       In addition to the General Objections set forth above, Plaintiff further objects

to this interrogatory on the grounds that it is vague and confusing. It is not clear what

means to obtain when it asks Plaintiff to identify a “specific statutory basis for

believing you [i.e., Plaintiff] were required to espouse views with which you

[Plaintiff] disagreed.” The interrogatory is also vague and confusing to the extent it

implicates the text of the Anti-Shielding Provision, which Plaintiff has alleged is

vague. E.g., FAC ¶¶ 119, 121. Because both HB 233 and the interrogatory “leave[]

undefined [the terms] ‘uncomfortable, unwelcome, disagreeable, or offensive’

speech,” Plaintiff must “guess at their meaning.” Id. at ¶ 121.

       Further, HB 233’s Anti-Shielding Provisions broadly apply to virtually every

conceivable form of “oral or written communication of ideas, including all forms of

peaceful assembly, protests, and speeches; distributing literature; carrying signs;

circulating petitions; faculty research, lectures, writings, and commentary, whether

published or unpublished; and the recording and publication, including the Internet

publication, of video or audio recorded in outdoor areas of campus.” E.g., Fla. Stat.
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§ 1004.097(3)(a). As a result, the interrogatory is impermissibly overbroad; it would

be impossible for Plaintiff to accurately identify all such instances in which HB 233

imposes a compelled speech threat. Plaintiff further objects to this interrogatory

because it seeks information about Plaintiff’s political views and associations which

are protected by the First Amendment privilege. Requiring Plaintiff to disclose his

political associations would have a chilling effect, beyond that created by HB 233,

on his own associations and could also cause others not to associate with him or to

cease associating with him if those others believed that any and all confidential

disclosures about their personal views, or communications about times when they

felt they were required to espouse views they did not believe in order to avoid

retribution from Defendants, their institutions, trustees, or any other number of third

parties or Florida government actors, were subject to disclosure by Plaintiff simply

because of Plaintiff’s involvement in a lawsuit that (ironically) seeks to protect these

very rights. Plaintiff further objects to this interrogatory to the extent it is duplicative

of other interrogatories promulgated by Defendants.

       Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 6:

       Please identify any and all instances where you did not join a political or

cause-oriented club, group, activity, or event or left a club, group, activity, or event

because of HB 233, including the date, name of club, group, activity, or event, and
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your reason for not joining or leaving.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff has not yet declined to join, or resigned from, any associations due

to HB 233.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it seeks information about Plaintiff’s political associations

which are protected by the First Amendment privilege. Requiring Plaintiff to

disclose his associations would have a chilling effect, beyond that created by HB

233, on his own associations and could also cause others not to associate with him

or to cease associating with him if those others believed communications about their

fears of retribution from Defendants, their institutions, trustees, or any other number

of third parties or Florida government actors, were subject to disclosure by Plaintiff

simply because of Plaintiff’s involvement in a lawsuit that (ironically) seeks to

protect these very rights.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 7:

      Please identify any and all instances where you were required by HB 233 to

disclose your associations, including the date of the request, the date of your
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disclosure, the identity of the requestor, contents of the request, and their response.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff has not yet been “required by HB 233 to disclose [his] associations.”

As noted, the survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff. However, for the reasons discussed at length in the Amended

Complaint, the threat that HB 233 may be used to require students, faculty, or staff

in the State’s public post-secondary institutions to report, reveal, or “register” their

political views or associations is serious, present, and remains ongoing. The threat

posed by HB 233 which gives Defendants the power to mandate from all Florida

students lists of all their associations for any type of use or future disclosure threatens

Plaintiff with forced disclosure of this association and operates to chill his protected

associational and speech activities.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it seeks information about Plaintiff’s political associations

which are protected by the First Amendment privilege. Requiring Plaintiff to

disclose his associations would have a chilling effect, beyond that created by HB

233, on his own associations and could also cause others not to associate with him

or to cease associating with him if those others believed communications about their

fears of retribution from Defendants, their institutions, trustees, or any other number
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of third parties or Florida government actors, were subject to disclosure by Plaintiff

simply because of Plaintiff’s involvement in a lawsuit that (ironically) seeks to

protect these very rights.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 8:

      Please identify any and all instances where you have been prohibited from

recording a lecture, including the date, class, and circumstances surrounding the

prohibition.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff has never requested to record a lecture and is therefore not aware of

any “instances where [he] [was] prohibited from recording a lecture.” Plaintiff also

refers Defendants to Fla. Stat. § 934.03.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it is overbroad, unduly burdensome, and disproportionate to

the needs of this case. This interrogatory is not limited in time, seeking information

reaching back decades, and which has no bearing whatsoever on this matter.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.
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INTERROGATORY NO. 9:

      Please identify any and all instances where course curriculum or syllabus was

revised because of HB 233, including the date revised, how the curriculum or

syllabus was revised, and the specific provision in HB 233 that you believe required

the revision or change.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff is not personally aware of any “instances where course curriculum or

syllabus was revised because of HB 233.” As a student, Plaintiff is not privy to

decisions that the faculty or institutions may make about revising any syllabus or

curriculum, much less any of the detailed information sought by this interrogatory.

Moreover, Plaintiff has no recollection of any instructor sharing any responsive

information with him.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory to the extent it seeks information within the public sphere or within

Defendants’ knowledge or possession, or is otherwise obtainable from sources that

are more convenient, less burdensome, or less expensive. Plaintiff further objects to

this interrogatory to the extent it is duplicative of other interrogatories promulgated

by Defendants.

      Discovery is ongoing and Plaintiff reserves the right to supplement this
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response at a later time as appropriate.

INTERROGATORY NO. 10:

      Please identify any and all instances that occurred on a public university or

college campus where you were limited from ideas which you may have found to be

uncomfortable, unwelcome, disagreeable, or offensive, but which, because of HB

233, you would no longer be limited from.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      It would be impossible for Plaintiff to identify every instance in which he was

“limited from ideas which [he] may have found to be uncomfortable, unwelcome,

disagreeable, or offensive” at “a public university or college campus.” In most

instances, if Plaintiff were successfully “limited from” an idea, Plaintiff would

definitionally have no such knowledge.

      Nonetheless, under the extraordinary breadth (and vague framing) of HB 233,

Plaintiff is likely necessarily “limited from ideas which [he] may have found to be

uncomfortable, unwelcome, disagreeable, or offensive.” For example, instructors

may ask students not to express ideas that are corrosive to an open and effective

learning environment or to express ideas only in a scholarly and professional

manner.

      In addition to the General Objections set forth above, Plaintiff objects to this
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interrogatory as overly broad, unduly burdensome, disproportionate to the needs of

the case, and seeking information not relevant to the claims and/or defenses in this

case. HB 233’s Anti-Shielding Provisions broadly apply to virtually every

conceivable form of “oral or written communication of ideas, including all forms of

peaceful assembly, protests, and speeches; distributing literature; carrying signs;

circulating petitions; faculty research, lectures, writings, and commentary, whether

published or unpublished; and the recording and publication, including the Internet

publication, of video or audio recorded in outdoor areas of campus.” E.g., Fla. Stat.

§ 1004.097(3)(a). Plaintiff further objects to this interrogatory as vague to the extent

it relies upon the text of the Anti-Shielding Provision, which Plaintiff has alleged is

vague. E.g., FAC ¶¶ 119, 121. Because both HB 233 and the interrogatory “leave[]

undefined [the terms] ‘uncomfortable, unwelcome, disagreeable, or offensive’

speech,” Plaintiff must “guess at their meaning.” Id. at ¶ 121.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

Dated: January 14, 2022.                   Respectfully submitted,

                                           /s/ Frederick S. Wermuth
                                           Frederick S. Wermuth
                                           Florida Bar No. 0184111
                                           Thomas A. Zehnder
                                           Florida Bar No. 0063274
                                           Robyn M. Kramer
                                           Florida Bar No. 0118300
                                           KING, BLACKWELL, ZEHNDER &
                                              WERMUTH, P.A.
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                                  P.O. Box 1631
                                  Orlando, FL 32802-1631
                                  Telephone: (407) 422-2472
                                  Facsimile: (407) 648-0161
                                  fwermuth@kbzwlaw.com
                                  tzehnder@kbzwlaw.com
                                  rkramer@kbzwlaw.com

                                  Marc E. Elias*
                                  Elisabeth C. Frost*
                                  Alexi M. Velez*
                                  Jyoti Jasrasaria*
                                  Spencer Klein*
                                  Joseph Posimato*
                                  Noah Baron*
                                  ELIAS LAW GROUP LLP
                                  10 G Street NE, Suite 600
                                  Washington, D.C. 20002
                                  Telephone: (202) 968-4490
                                  melias@elias.law
                                  efrost@elias.law
                                  avelez@elias.law
                                  jjasrasaria@elias.law
                                  sklein@elias.law
                                  jposimato@elias.law
                                  nbaron@elias.law

                                  *Admitted Pro Hac Vice




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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 14, 2022 I served a copy of the

 foregoing via email to all counsel listed on the Service List below.

                                     /s/ Frederick S. Wermuth
                                     Frederick S. Wermuth
                                     Florida Bar No. 0184111



                                SERVICE LIST

George T. Levesque
James Timothy Moore, Jr.
Patrick M. Hagen
GrayRobinson, P.A.
301 S. Bronough Street, Suite 600
Tallahassee, FL 32301
george.levesque@gray-robinson.com
tim.moore@gray-robinson.com
patrick.hagen@gray-robinson.com

Counsel for Defendants




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         VERIFICATION OF ANSWERS TO INTERROGATORIES

      I, Blake Simpson, believe, based on reasonable inquiry, that the foregoing

answers are true and correct to the best of my knowledge, information, and belief. I

verify as such under penalty of perjury under 28 U.S.C. § 1746.


                                                   __________________
                                                   Blake Simpson


                                                        1/26/2022
                                                   __________________
                                                   Date
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                       EXHIBIT AA
                                                                                                                           Case 4:21-cv-00271-MW-MAF Document 75-1 Filed 03/26/22 Page 415 of 552


Alexi Velez

From:                                                                                                                               George Levesque <George.Levesque@gray-robinson.com>
Sent:                                                                                                                               Friday, March 25, 2022 7:32 PM
To:                                                                                                                                 Fritz Wermuth; Tim Moore, Jr.
Cc:                                                                                                                                 Elisabeth Frost; Florida Campus Speech; Angie Price; Kimberly Healy; Robyn Kramer
Subject:                                                                                                                            RE: Link v. Corcoran -- Discovery Supplement



Fritz,
This response was delayed due to the fact that I was in an all-day hearing that ran late. I will
provide a more full throated response at a later time because we certainly disagree with many of
the characterizations of both our obligations and the descriptions contained in your last two
emails addressing these issues.

To the two most pressing questions for the crisis you have created—First, the surveys you
attached this afternoon are not the final survey. I’m told that they are the surveys that would
have been produced in our original production and are not the final survey. As I indicated just
Wednesday, the student surveys are a work in progress but were targeted for April 4. As I
indicated last week, we were expecting them to be distributed later this month. To say that you
just learned this might be the potential timeline is naive.

Second, I have raised your request with the client, but I do not have an answer.

George


                                                                                                                                                                T 850-577-9090
                                                                                                                                                                D 850-577-6969
                                                                                                                                                                F 850-577-3311
George Levesque                                                                                                                                                     To help protect
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Shareholder
                                                                                                                                                                    Mail To              Bio                  GR Twitter           GR Facebook          GR Link edIn




GrayRobinson, P.A.                                                                                                             ▪   301 South Bronough Street, Suite 600, Tallahassee, Florida 32301
     To help protect y ou r priv acy , Microsoft Office prev ented automatic download of this picture from the Internet.
     Gray Robinson Logo




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Communications Privacy Act, 18 U.S.C. section 2510-2521. If this communication was received in error we apologize for the
intrusion. Please notify us by reply e-mail and delete the original message without reading same. Nothing in this e-mail message
shall, in and of itself, create an attorney-client relationship with the sender.


From: Fritz Wermuth <FWermuth@kbzwlaw.com>
Sent: Friday, March 25, 2022 2:50 PM
To: George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: efrost@elias.law; Florida Campus Speech <floridacampusspeech@elias.law>; Angie Price <APrice@kbzwlaw.com>;
                                                                                                                                                                                                              1
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Kimberly Healy <khealy@kbzwlaw.com>; Robyn Kramer <rkramer@kbzwlaw.com>
Subject: RE: Link v. Corcoran ‐‐ Discovery Supplement

This message originated outside of GrayRobinson.


George,

We have two important issues on which we need responses from you right away. First, we identified the two
attached surveys – one to faculty and one to students – in a production received from FAU earlier this
week. Metadata in the files indicate that they are final. We request that you confirm whether these documents
are final forms (except for insertion of particular university names) or that they reflect the final substance of the
survey questions.

Second, given the imminent survey schedule set forth below, which came as a surprise to us yesterday, we plan
to pursue injunctive relief on an emergency basis, unless you can provide credible assurance that the final
surveys are not going to be distributed on or before the schedule set forth below and the surveys will be
distributed on a later, non-imminent schedule that would permit sufficient time to brief and argue a preliminary
injunction motion on a standard briefing schedule.

Given the apparent need for immediate injunctive relief arising from the attached survey documents and
referenced schedule, and absent credible assurance otherwise, we consider it necessary to seek a temporary
restraining order on an emergency basis. Please provide responses to the forgoing two matters before close of
business today, and confirm whether you oppose the injunctive relief we plan to seek. If we do not have your
response by 5pm, we will seek emergency relief based on the forgoing information and assumption that you
oppose such relief.


Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.

From: Fritz Wermuth
Sent: Thursday, March 24, 2022 8:02 PM
To: George Levesque <George.Levesque@gray‐robinson.com>; Tim Moore, Jr. <tim.moore@gray‐robinson.com>
Cc: efrost@elias.law; Florida Campus Speech <floridacampusspeech@elias.law>; Angie Price <APrice@kbzwlaw.com>;
Kimberly Healy <khealy@kbzwlaw.com>; Robyn Kramer <rkramer@kbzwlaw.com>
Subject: Link v. Corcoran ‐‐ Discovery Supplement

George,

We received information this afternoon that faculty are being told that the surveys of students, faculty, and staff
will be administered on the following timeline:

   ‐   Mar. 31, 2022 – Institutions send pre-survey notifications to students and employees
   ‐   Apr. 4, 2022 – Invitations to students and employees are sent to take the surveys.
   ‐   Apr. 7, 2022 – Survey reminders are sent to students and employees.
   ‐   April 8, 2022 – Survey collection closes.

As you know, we have been asking that Defendants supplement your discovery responses as it relates to the
survey, including any draft surveys, documents, and communications related to the same, for months. We made
this request in correspondence dated December 16, 2021, January 4, 2022, January 13, 2022, February 18, 2022,
                                                          2
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March 3, 2022, March 8, 2022, March 11, 2022 and most recently March 17, 2022. As we have noted, the most
recent materials we have from Defendants relating to the survey are dated October 2021 – about 5 months
ago.

Repeatedly, you have told us that more material would be coming, and repeatedly nothing has come. In the
meantime, we have continued to pursue every option for obtaining these materials and have received – and even
produced to you – substantial materials through public records requests that make it clear that over the course of
all of these months, when Defendants have produced nothing new related to the survey, the drafting and plan for
its implementation have been significant, substantive, and ongoing.

Given what we have received – including over the past few days from third parties, and the information we now
have about the timeline for the administration of the survey – it must have been obvious to your clients, who
you presumably informed of their discovery obligations, that there are significant additional materials
responsive to our discovery requests related to the surveys and that they are (and have been, for months) under a
clear obligation to produce. With the imminent survey rollout that we just learned about, it is also incredible to
think that the surveys are not at this point finalized. And it is clear that there are now in fact (and have been for
some while) plans for the survey’s implementation—another topic that we specifically asked about in our
interrogatories directed to Defendants, yet at no point have Defendants supplemented their responses to provide
any new information on that, either.

Of course, during the months since Defendants produced survey drafts and months that we have sent repeated
requests for supplementation, Defendants have been under a continuing obligation under Fed. R. Civ. P.
26(e)(1) to supplement their responses to our RFPs and interrogatories in a timely manner when they learn that
in some material respect the disclosure or response is incomplete or incorrect. We are well past timely at this
point. I am reiterating my request that Defendants promptly supplement their responses to our discovery
requests, including specifically as it relates to the following requests and interrogatories. While Defendants’
obligation to supplement incomplete or incorrect discovery responses is ongoing and applies to all requests, we
are specifically asking that Defendants supplement their responses to the RFPs and interrogatories listed below
by no later than March 29, 2022. If Defendants refuse to do so, we will be filing a motion to compel with the
Court. Please advise when we can discuss this very serious issue at your earliest convenience.

First Requests for Production to Board of Governors, Board of Education, and Commissioner Corcoran:

      REQUEST NO. 2: All documents and communications related the Survey Provisions and the Survey
       that it requires. This includes any documents or communications related to any state interests that you
       believe the Survey Provisions or the Survey furthers.

First Set of Interrogatories to Board of Governors, Board of Education, and (in substantively similar
form to) Commissioner Corcoran:

      INTERROGATORY NO. 2: State and describe your involvement in, and all plans you have related to
       the creation, drafting, implementation, enforcement, or use of the Survey. Your response should include
       a detailed description of any involvement you had in the development or passage of legislation involving
       the Survey; your understanding of the intended or potential use of the Survey, including specifically by
       you, the Florida Board of Governors, the Governor, the Legislature, or Florida's post-secondary schools;
       any plans for enforcement of HB 233 's Survey Provisions, including specifically in the event that
       schools, students, or faculty decline, resist, or refuse to take part in the Survey; and any timeline (even
       rough or preliminary) for developing any of the foregoing. Your answer should include the identities of
       those individuals and/or entities that have been or you anticipate will be involved at each stage of the
       Survey's creation, drafting, implementation, or use, and the scope or anticipated scope of their
       involvement and responsibilities.
                                                          3
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       INTERROGATORY NO. 8: State and describe your intentions for handling information collected
        through the Survey, including but not limited to, the collecting, storing, sharing, security, deleting, and
        evaluation of the same.


Fritz Wermuth | Shareholder
fwermuth@kbzwlaw.com
KING, BLACKWELL, ZEHNDER & WERMUTH, P.A.
25 East Pine St | P.O. Box 1631 | Orlando, FL 32801
Tel: 407-422-2472 | Fax: 407-648-0161
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                       EXHIBIT CC
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                           Florida Board of Governors
        Intellectual Freedom and Viewpoint Diversity Assessment Project
                                   Staff Survey
Opening Message for Survey
In spring 2021, the Florida Legislature passed HB233 to promote Intellectual
Freedom and Viewpoint Diversity within the State of Florida’s State University
System. The Florida Board of Governors (FLBOG) was asked to create “an
objective, nonpartisan, and statistically valid survey to be used by each institution
which considers the extent to which competing ideas and perspectives are
presented and members of the college community, including students, faculty,
and staff, feel free to express their beliefs and viewpoints on campus and in the
classroom.”
This anonymous survey is intended to obtain opinions on intellectual freedom and
viewpoint diversity at [university name], drawing on your experiences as a staff
member there. You will be asked questions about these topics and about yourself.
Your participation is voluntary. You are free not to answer any question or to
withdraw from the study at any time. This survey should take approximately 5
minutes to complete.
Responses will be analyzed for the institution and only grouped responses will be
reported. Any data or results that might compromise a respondent’s identity will
not be published.
Intellectual Freedom and Viewpoint Diversity on My Campus
In your experience, how often are students encouraged to consider a wide variety
of viewpoints and perspectives in the classroom?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Never
      Don’t Know
      Prefer Not to Answer



                                                                                    1



                                                                                        FSU000205
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In your experience, how often are there opportunities for students to consider a
wide variety of viewpoints and perspectives outside of the campus classroom
(such as in clubs, student organizations, and at campus events)?
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Very Rarely
      Never
      Prefer Not to Answer
In your experience how often do instructors create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Never
      Don’t Know
      Prefer Not to Answer
In your experience, how often do students create an environment that is
supportive of a range of viewpoints?
      Always
      Very Frequently
      Frequently
      Occasionally
      Rarely
      Never
      Don’t Know
      Prefer Not to Answer




                                                                                   2



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Freedom of Expression on Campus
Think about a time within your workplace in which a non-controversial issue was
being discussed. How comfortable or reluctant would you feel about contributing
to the discussion on this topic?
      I would be very comfortable contributing to this discussion
      I would be somewhat comfortable contributing to this discussion
      Neutral
      I would be somewhat reluctant contributing to this discussion
      I would be very reluctant contribute to this discussion
      Prefer Not to Answer
Think about a time within your workplace in which a controversial issue was being
discussed. How comfortable or reluctant would you feel about contributing to the
discussion on this topic?
      I would be very comfortable contributing to this discussion
      I would be somewhat comfortable contributing to this discussion
      Neutral
      I would be somewhat reluctant contributing to this discussion
      I would be very reluctant contribute to this discussion
      Prefer Not to Answer
As you think about contributing to a discussion on one of these controversial
issues, how concerned would you be that the following would occur?
Colleagues would criticize my views as offensive.
    Not at all concerned
    Slightly concerned
    Somewhat concerned
    Very concerned
    Extremely concerned
    Prefer Not to Answer
Someone would post critical comments about my views on social media.
   Not at all concerned
   Slightly concerned
   Somewhat concerned


                                                                                3



                                                                                    FSU000207
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  Very concerned
  Extremely concerned
  Prefer Not to Answer




                                                                         4



                                                                             FSU000208
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Are you more likely or less likely to share your views on a controversial issue in the following settings?
                           Much More         Somewhat          Somewhat          Much Less         Prefer Not
    Setting                  Likely          More Likely       Less Likely        Likely           to Answer
    In the workplace
    with colleagues

    At a meal with
    friends

    At a family
    gathering

    On social media
    (e.g. Twitter,
    Instagram, or
     Facebook)




                                                                                                                5



                                                                                                                    FSU000209
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Information About You
Where would you place yourself on the following scale?
      Conservative
      Moderate
      Liberal
      None of the Above
      Prefer Not to Answer
Which of the following describes your race? You can select as many as apply.
      American Indian or Alaskan Native
      Asian or Asian-American
      Black or African American
      Caucasian or White
      Pacific Islander
      Mixed
      Other
      Prefer Not to Answer
Are you of Hispanic, Latino/a/x, or Spanish origin?
    Yes
    No
    Prefer Not to Answer
With which sex or gender identity do you most identify?
      Female
      Male
      Neither best describes me
      Prefer Not to Answer




                                                                               6



                                                                                   FSU000210
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                       EXHIBIT DD
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Alexi Velez

From:                      Alexi Velez
Sent:                      Thursday, February 10, 2022 5:42 PM
To:                        George.levesque@gray-robinson.com; tim.moore@gray-robbinson.com; patrick.hagen@gray-
                           robinson.com
Cc:                        Fritz Wermuth; Thomas Zehnder; Elisabeth Frost; Jyoti Jasrasaria; Joseph Posimato; Spencer Klein;
                           Noah Baron; Raisa Cramer; Angie Price; Melissa Hill; Kimberly Healy; Robyn Kramer; Elizabeth Poston;
                           Spencer McCandless; Grieb, Garrett (Perkins Coie)
Subject:                   Link et al. v. Corcoran et al., Case No. 4:21-cv-00271-MW-MAF, Pls' Prod. Vol. VI.


Counsel:

You should have just received a secure file transfer link from my colleague Garret Grieb directing you to Plaintiffs’ sixth
production of documents, which is Bates stamped FSU000001‐FSU000237.

Subject to and without waiving Plaintiffs’ prior written objections, this production is responsive to Request Number 3 of
Defendants’ Second Request for Production of Documents to Plaintiffs.

The password to extract the files from the .zip is f e p 9 K 7 i ! W w i r q n %

Sincerely,
Alexi M. Velez
Elias Law Group LLP
10 G St NE Ste 600
Washington DC 20002
202-968-4654

(pronouns: she/her/hers)

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_____________________________________________
From: Alexi Velez
Sent: Wednesday, February 2, 2022 4:31 PM
To: George.levesque@gray‐robinson.com; tim.moore@gray‐robbinson.com; patrick.hagen@gray‐robinson.com
Cc: Fritz Wermuth <FWermuth@kbzwlaw.com>; Thomas Zehnder <TZehnder@kbzwlaw.com>; Elisabeth Frost
<efrost@elias.law>; Jyoti Jasrasaria <jjasrasaria@elias.law>; Joseph Posimato <jposimato@elias.law>; Spencer Klein
<sklein@elias.law>; Noah Baron <nbaron@elias.law>; Raisa Cramer <rcramer@elias.law>; Angie Price
<APrice@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Kimberly Healy <khealy@kbzwlaw.com>; Robyn Kramer
<rkramer@kbzwlaw.com>; Elizabeth Poston <eposton@elias.law>; Spencer McCandless <smccandless@elias.law>;
Grieb, Garrett (Perkins Coie) <GGrieb@perkinscoie.com>
Subject: RE: Link et al. v. Corcoran et al., Case No. 4:21‐cv‐00271‐MW‐MAF


Counsel:

You should have just received a secure file transfer link from my colleague Garret Grieb directing you to Plaintiffs’ fourth
production of documents, which is Bates stamped FL_SEN000001 ‐ FL_SEN001258.

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Subject to and without waiting Plaintiffs’ prior written objections, this production is responsive to Request Number 3 of
Defendants’ Second Request for Production of Documents to Plaintiffs.

Sincerely,
Alexi M. Velez
Elias Law Group LLP
10 G St NE Ste 600
Washington DC 20002
202-968-4654

(pronouns: she/her/hers)

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use or disclosure of this communication is prohibited. If you believe that you have received this email in error, please notify the sender immediately
and delete it from your system.



_____________________________________________
From: Alexi Velez
Sent: Tuesday, January 11, 2022 2:09 PM
To: George.levesque@gray‐robinson.com; tim.moore@gray‐robbinson.com; patrick.hagen@gray‐robinson.com
Cc: Fritz Wermuth <FWermuth@kbzwlaw.com>; Thomas Zehnder <TZehnder@kbzwlaw.com>; Elisabeth Frost
<efrost@elias.law>; Jyoti Jasrasaria <jjasrasaria@elias.law>; Joseph Posimato <jposimato@elias.law>; Spencer Klein
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<APrice@kbzwlaw.com>; Melissa Hill <mhill@kbzwlaw.com>; Kimberly Healy <khealy@kbzwlaw.com>; Robyn Kramer
<rkramer@kbzwlaw.com>
Subject: Link et al. v. Corcoran et al., Case No. 4:21‐cv‐00271‐MW‐MAF


Counsel:

Attached is a cover letter regarding the Plaintiffs’ initial production of documents numbered PL000001‐PL000501, which
I will be sending momentarily via the V‐Sync secure file transfer platform. The cover letter includes instructions for
accessing the production via V‐Sync.

Regards,
Alexi M. Velez
Elias Law Group LLP << File: 2022.01.11 Production Cover Letter_RE Link et al. v. Corcoran et al. .pdf >>
10 G St NE Ste 600
Washington DC 20002
202-968-4654

(pronouns: she/her/hers)

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                                                                                Page 7
   l     survey is not designed to solicit a certain opinion or
    2    produce a certain result .              And we want to make sure
    3    t ha t it ' s objective , nonpartisan , and statistically
    4    valid; and if it ' s not, we ' ll c h allenge the survey .
    5                   REPRESENTATIVE BELL:            Okay .   Thank you.
    6                   CHAIR MARIANO :        Thank you .
    7                   Representative Tant for a question .                You're
    8    recognized .
    9                   REPRESENTATIVE TANT :           Thank you , Madam Chair .
  10                    Representa t ive Roach , how will the survey

  11     results be used?           And like , how are they evaluated?
  12     How are they used?           Are professors going to lose their
  13      jobs?     Like , what is the purpose of -- what are the

  14     results of the survey?
  15                    CHA IR MARIANO :       You ' re recognized .
  16                    REPRESENTATIVE ROACH :            Thank you ,
  17     Representative Tant , for that very good question.                       So
  18     we are not putting a prescription in this bill on any
  19     actions or any policy decisions t o be made as a result
  20     of t his survey.
  21                    And for those o f you who may be on the fence
  22     about being up or down on this bill; I want to make it
  23     very clear that I am not as king you and this bill is
  24     not asking you to make a policy decision here t oday .
  25     But wh at I am asking you to do is to evaluate whether



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                                                                             Page 8
    1    we have a problem on our college campuses.                   Before we
    2    attempt to propose any legislative fix, we want to
    3    ascertain, one, is there a problem, and what is the
    4    nature of the problem.             And this survey seeks simply to
    5    gather empirical data rather than anecdotal data to
    6    make that determination.
    7                   So members of this legislature now will not
    8    be making any policy decisions if this bill were to
    9    become law.        Again, the first published results will be
  10     released, if this becomes law, in September of 2022.
  11     And so there will be a new legislature convening then
  12     in new districts, which will make any decisions about
  13     what policies should or could be done.
  14                    And I might also add as a side remark, if you
  15     want to be a part of that legislature, a great way to
  16     start would be to vote for this good bill.
  17                    CHAIR MARIANO:         For a follow-up, you're
  18     recognized.
  19                    REPRESENTATIVE TANT:            Yes, ma'am.    Thank you.
  20                    The other question that I have goes to the
  21     filming of the lectures.              Are students allowed to film
  22     other students?          I know we're talking about filming the
  23     lecture for the purposes of educational reasons,
  24     according to your bill.              But if a student --
  25                    CHAIR MARIANO:         Representative Tant, if we



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                                                                                   Page 17
   l     university presidents and the chair of the Florida

    2    College System Council of Presidents signed resolutions

    3    affirming their commitment to providing free speech on

    4    campus .

    5                   So despite those declarations, and despite

    6    t he commitment of our adminis t rators to free speech on

    7    campus , there have been some national and some

    8    individual state surveys , not in Florida , that have

    9    identified that other universities are falling far

  10     short of that ideal expression and commitment to the

  11     First Amendment .

  12                    And we simply don ' t        know if we ' re doing that

  13     in t he state of Florida .            And I ' m not alleging that we

  14     are.     I ' m asking this body to allow us to ask that

  15     question and gather empirical data to see if we have a

  16     problem, and if we ' re keeping that marke t place of ideas

  17     open on our college campuses , and if there ' s anything

  18     that we need to do to , to ensure that that we are doing

  19     t ha t or any policies we need t o do .                  But I ' m not asking

  20     you to make a policy decision .                I ' m asking you to ask a

  21     question and allow for the gathering of empirical data

  22     to ask that question on our campuses .                     I hope that

  23     addressed your question , Ranking Member .

  24                    RANKING MEMBER THOMPSON;                 It does .      Thank

  25     you .



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                                                                         Page 37
   l     objective , nonpartisan , statistically valid piece o f
    2    this.
    3                   And look , t here are paid statisticians that
    4    do these things .          And if you had a survey that was
    5    filled out by only 10 percent of the student population
    6    -- and look, I will acknowledge that probably t he
    7    people that are most inclined to fill out a survey of
    8    this type are someone who feels like they ' re aggrieved
    9    or the super- politically active groups on campus .
  10                    And I think that , you know , when we look a t

  11     some of the be t ter surveys , the one at University o f
  12     North Carolina, was just conducted in March of 2020 ,
  13     just barel y a year ago , they did in - depth focus group

  14     interviews wit h member.s of the three most politically
  15     active student organizations .                So that was a little bit
  16     more i n depth t han what we ' re proposing here .
  17                    But -- I ' m going to caveat my answer by
  18     saying I ' m not an expert .            But I would suspect if you
  19     had only 10 percent of a s t udent body fill out the
  20     survey , and that 10 percent of students did not
  21     represent a cross section of that university , it
  22     probably would not be statistically valid and would be
  23     subject to challenge .
  24                    And again , I ' m going to come back to the
  25     university presidents , university themselves , have the



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                                                                             Page 96
   1                           C E R T I F I C A T I O N
    2

    3                   I , Alicia Jarret t ,       court- approved
    4    transcriber , hereby certify that the foregoing is a
    5    correct transcript from the electronic sound recording
    6    provided f or transcription and prepared to t he best of
    7    my ability.
    8

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  24     AL I CIA JARRETT , AAERT NO . 428                 DATE :   March 21 , 2022
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          FixGov

          Views among college students regarding the First
          Amendment: Results from a new survey
          John Villasenor Monday, September 18, 2017




          C            ollege students’ views of the First Amendment are of profound importance for
                       multiple reasons. First, colleges and universities are places where intellectual
                       debate should �ourish. That can only occur if campuses are places where
          viewpoint diversity is celebrated, and where the First Amendment is honored in practice
          and not only in theory. Second, what happens on campuses often foreshadows broader
          societal trends. Today’s college students are tomorrow’s attorneys, teachers, professors,
          policymakers, legislators, and judges. If, for example, a large fraction of college
          students believe, however incorrectly, that offensive speech is unprotected by the First
          Amendment, that view will inform the decisions they make as they move into positions
          of increasing authority later in their careers.

          College students’ views on the First Amendment are important for another reason as
          well: Students act as de facto arbiters of free expression on campus. The Supreme Court
          justices are not standing by at the entrances to public university lecture halls ready to
          step in if First Amendment rights are curtailed. If a signi�cant percentage of students
          believe that views they �nd offensive should be silenced, those views will in fact be
          silenced.

          To explore the critical issue of the First Amendment on college campuses, during the
          second half of August I conducted a national survey of 1,500 current undergraduate
          students at U.S. four-year colleges and universities. The survey population was
          geographically diverse, with respondents from 49 states and the District of Columbia.




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          A surprisingly large fraction of students believe it is
          acceptable to act—including resorting to violence—to shut
          down expression they consider offensive.



          I plan to publish a detailed analysis of the results in an academic paper, but given the
          long time delays associated with academic publishing, and the timeliness of the topic, I
          believe it is important to get some of the key results out into the public sphere
          immediately.

          The survey results establish with data what has been clear anecdotally to anyone who
          has been observing campus dynamics in recent years: Freedom of expression is deeply
          imperiled on U.S. campuses. In fact, despite protestations to the contrary (often with
          statements like “we fully support the First Amendment, but…), freedom of expression is
          clearly not, in practice, available on many campuses, including many public campuses
          that have First Amendment obligations.

          Before getting to the speci�cs of the results, it is helpful to include some brief
          reminders regarding the scope of the First Amendment in light of some key Supreme
          Court precedents. The First Amendment is very broad. There are, however, some
          exceptions. Under the 1969 Brandenburg v. Ohio decision, speech that “is directed to
          inciting or producing imminent lawless action and is likely to incite or produce such
          action” is outside First Amendment protection. “True threats” are also unprotected (see
          the 1969 Watts v. United States decision; see also the 2003 ruling in Virginia v. Black).
          There are other exceptions as well; for example, obscenity can fall outside the scope of
          First Amendment protection.

          With that as background, here are some of the key survey results:

          “Hate speech”


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          While “hate speech” is odious, as long as it steers clear of well-established exceptions
          to the First Amendment such as those noted above, it is constitutionally protected. The
          survey results, however, indicate that many college students believe that hate speech is
          unprotected.

          Here is the question asked in the survey, with results presented in both aggregate form
          (in the column labeled “all”), as well as by political af�liation, college/university
          category (public vs. private), and gender.

          Does the First Amendment protect “hate speech”?


                                           Political Affiliation              Type of College               Gender

                                  All      Dem          Rep         Ind       Public        Private         Female          Male

           Yes                    39       39           44          40        38            43              31              51

           No                     44       41           39          44        44            44              49              38

           Don’t know             16       15           17          17        17            13              21              11


               (The values in the table identify the responses by percent, weighted for gender.
               Percentages are rounded to two digits, so in some cases the total will not be exactly
               100. For more details regarding the survey see the explanation at the end of this
               article.)

          One of the noteworthy observations from this data is that across all three political
          af�liations listed in the table, fewer than half of the respondents indicated a belief that
          hate speech is constitutionally protected. The very signi�cant gender variation in the
          responses is also noteworthy.

          Controversial speakers

          One way to examine tolerance to offensive speech is to explore views on what actions
          students deem permissible to prevent it from occurring. The next two questions are
          based on the following scenario:


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          A public university invites a very controversial speaker to an
          on-campus event. The speaker is known for making
          offensive and hurtful statements.



          The survey included a set of questions considering student views regarding actions
          aimed at disrupting the speech:




          A student group opposed to the speaker disrupts the speech
          by loudly and repeatedly shouting so that the audience
          cannot hear the speaker. Do you agree or disagree that the
          student group’s actions are acceptable?



                                        Political Affiliation               Type of College                Gender

                               All      Dem          Rep          Ind       Public        Private          Female           Male

           Agree               51       62           39           45        51            51               47               57

           Disagree            49       38           61           55        49            49               53               43


          The responses to the above question show a very distinct variation across political
          af�liation, with 62 percent of Democrats but “only” 39 percent of Republicans agreeing
          that it was acceptable to shout down the speaker. More generally, I �nd the numbers in
          the above table to be highly concerning, because they show that a very signi�cant
          fraction of students, across all categories, believe it is acceptable to silence (by
          shouting) a speaker they �nd offensive. And, it gets worse:



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          A student group opposed to the speaker uses violence to
          prevent the speaker from speaking. Do you agree or
          disagree that the student group’s actions are acceptable?



                                        Political Affiliation               Type of College                Gender

                               All      Dem          Rep          Ind       Public        Private          Female           Male

           Agree               19       20           22           16        18            21               10               30

           Disagree            81       80           78           84        82            79               90               70


          These results are notable for several reasons. First, the fraction of students who view
          the use of violence as acceptable is extremely high. While percentages in the high teens
          and 20s are “low” relative to what they could be, it’s important to remember that this
          question is asking about the acceptability of committing violence in order to silence
          speech. Any number signi�cantly above zero is concerning. The gender difference in the
          responses is also notable.

          Does the First Amendment require presentation of counterpoints?

          Of course, it does not. But, as the responses to a question on this topic illustrate, many
          students nonetheless believe that, under the First Amendment, presentation of
          counterpoints to offensive views is legally required in on-campus events. Here is the
          question and the breakdown of responses:




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          Consider an event, hosted at a public U.S. university by an
          on-campus organization, featuring a speaker known for
          making statements that many students consider to be
          offensive and hurtful. A student group opposed to the
          speaker issues a statement saying that, under the First
          Amendment, the on-campus organization hosting the event
          is legally required to ensure that the event includes not only
          the offensive speaker but also a speaker who presents an
          opposing view. What is your view on the student group’s
          statement?



                                        Political Affiliation               Type of College                Gender

                               All      Dem          Rep          Ind       Public        Private          Female           Male

           Agree               62       65           62           58        63            60               60               66

           Disagree            38       35           38           42        37            40               40               34


          Across all of the categories in the table, a majority of students expressed agreement
          with the assertion that in the scenario presented, compliance with the First
          Amendment requires offering a counterpoint. This shows an important
          misunderstanding, since the First Amendment of course involves no such requirement.
          Many of the respondents appear to be confusing good event design—which under some
          circumstances can indeed bene�t from the presentation of counterpoints—with the
          completely different issue of what compliance with the First Amendment requires.

          What kind of learning environment should colleges foster?

          One of the questions in the survey asked students to choose between two types of


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          learning environments (note: this question was also asked in a 2016 survey by Gallup
          and the Knight Foundation):

                    If you had to choose one of the options below, which do you think it is more
                    important for colleges to do?

                    Option 1: create a positive learning environment for all students by prohibiting
                    certain speech or expression of viewpoints that are offensive or biased against
                    certain groups of people

                    Option 2: create an open learning environment where students are exposed to all
                    types of speech and viewpoints, even if it means allowing speech that is offensive or
                    biased against certain groups of people?


                                       Political Affiliation               Type of College                 Gender

                              All      Dem           Rep         Ind       Public         Private          Female          Male

           Option 1           53       61            47          45        53             54               52              55

           Option 2           47       39            53          55        47             46               48              45


          Interestingly (and in my view, discouragingly), across most categories, and in the
          aggregate, the majority of students appear to prefer an environment in which their
          institution is expected to create an environment that shelters them from offensive
          views. The exceptions are among Republicans and Independents, though even in those
          categories nearly half of the students still expressed a preference for the more sheltered
          environment.

          Some takeaways

          As the above results make clear, among many current college students there is a
          signi�cant divergence between the actual and perceived scope of First Amendment
          freedoms. More speci�cally, with respect to the questions explored above, many
          students have an overly narrow view of the extent of freedom of expression. For



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          example, a very signi�cant percentage of students hold the view that hate speech is
          unprotected. In addition, a surprisingly large fraction of students believe it is acceptable
          to act—including resorting to violence—to shut down expression they consider
          offensive. And a majority of students appear to want an environment that shields them
          from being exposed to views they might �nd offensive.

          Given these results, what should be done? First, I think that college faculty and
          administrators have a heightened responsibility to do a better job at fostering freedom
          of expression on their campuses. Getting this to occur will be challenging. I expect that
          if college faculty and administrators were asked the questions in this survey, the results
          would, at least in broad terms, be similar to the student results presented above. That
          said, I would hope that results such as these can help spur faculty members and
          university administrators to think about the importance of creating a campus
          environment in which students are exposed to a broad range of views, including some
          that students may �nd disagreeable.

          More fundamentally, I think that there is insuf�cient attention given to the First
          Amendment, and to constitutional principles generally, in pre-college education. Most
          middle and high school students are taught, for example, that there is a Bill of Rights.
          But very few of them receive signi�cant instruction on how key Supreme Court rulings
          have shaped contemporary interpretations of the First (or other) Amendments.

          We don’t need to turn middle and high school students into experts on constitutional
          law. But we can do a better job of giving them a fuller explanation of the scope of the
          First Amendment, and the fact that it protects the expression of offensive views. And, I
          would hope that we can do a better job at convincing current and future college
          students that the best way to respond to offensive speech is with vigorous debate, or
          peaceful protest—and not, as many seem to believe, with violence.


          Here is some more detailed information regarding the survey: This web survey of 1,500
          undergraduate students at U.S. four-year colleges and universities was conducted
          between August 17 and August 31, 2017. Financial support for the survey was provided



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          by the Charles Koch Foundation to UCLA. I designed the survey questions and then
          requested that UCLA contract with a vendor for the data collection. I then performed
          the data analysis, including weighting. The survey results presented here have been
          weighted with respect to gender to adjust for the reported 57 percent/43 percent gender
          split among college students; by contrast, 70 percent (1,040 of the 1,500) of the survey
          respondents identi�ed as female. The percentages in the tables in this article, with the
          exception of the percentages in the gender-speci�c (rightmost two) columns of the
          tables, have been subject to weighting in relation to gender.

          Of the 1,500 respondents, 697 identi�ed a Democrats, 261 as Republicans, and 431 as
          Independents. Another 111 respondents stated “Don’t Know” when asked to state their
          political af�liation. Of the 1,500 respondents, 1,116 are students at public institutions,
          and 384 are students at private institutions. This public/private split of 74 percent/36
          percent among respondents approximately mirrors the split in the broader
          undergraduate population.

          To the extent that the demographics of the survey respondents (after weighting for
          gender) are probabilistically representative of the broader U.S. college undergraduate
          population, it is possible to estimate the margin of error in the tables above. For a
          con�dence level of 95 percent, the margin of error is between approximately 2 percent
          and 6 percent—the margin of error is smaller for the categories with larger numbers of
          respondents (such as “All” category in the tables, which has 1,500 respondents), and
          larger for the categories with smaller numbers of respondents (such as “Republicans”).

          The survey was limited to students who indicated that they are U.S. citizens (this is
          relevant because non-citizens, particularly those who have very recently arrived in the
          U.S., cannot be expected to have as full an understanding of the First Amendment as
          U.S. citizens). I would like to thank Kelsey Naughton of the Foundation for Individual
          Rights in Education (FIRE) for helpful discussions as I was designing this survey.




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'Junk science': experts cast doubt on widely
cited college free speech survey

Lois Beckett


Polling experts are raising concerns about a new survey that found nearly 20% of
American college students believe it’s appropriate to use violence to silence
offensive speech.

The results of the survey have been widely cited in conservative media outlets,
including by the editorial board of the Wall Street Journal, and were written up by
an opinion columnist for the Washington Post.

The way the survey results have been presented are “malpractice” and “junk
science” and “it should never have appeared in the press”, according to Cliff Zukin,
a former president of the American Association of Public Opinion Polling, which
sets ethical and transparency standards for polling.

John Villasenor, a professor of electrical engineering at the University of California
Los Angeles, defended his survey as an important window into what he had called a
troubling atmosphere on American campuses in which “freedom of expression is
deeply imperiled”. Villasenor, a cybersecurity expert, said this was the first public
opinion survey he had conducted.

However, his survey was not administered to a randomly selected group of college
students nationwide, what statisticians call a “probability sample”. Instead, it was
given to an opt-in online panel of people who identified as current college students.

“If it’s not a probability sample, it’s not a sample of anyone, it’s just 1,500 college
students who happen to respond,” Zukin said, calling it “junk science”.

“It’s an interesting piece of data,” Michael Traugott, a polling expert at the
University of Michigan’s Center for Political Studies, said. “Whether it represents
the proportion of all college students who believe this is unknown.”

Villasenor said his survey had been inspired by the “increasing trend towards
censorship on college campuses in recent years”, which included outright
censorship and “self-censorship”.

Like many other academics, Villasenor has remained concerned that university
campuses are not sufficiently open to “reasonable perspectives”.He secured funding
from the conservative Charles Koch Foundation to survey students this August
about their views on free speech. Rather than write an academic paper, he posted
some of his results online this week, arguing that given “the timeliness of the topic,
I believe it is important to get some of the key results out into the public sphere
immediately”.

“A surprisingly large fraction of students believe it is acceptable to act – including
resorting to violence – to shut down expression they consider offensive,” he wrote.
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His survey also found that college students had deep misunderstandings about the
scope of the first amendment’s free speech protections.

Some journalists and activists greeted his findings with shock, labeling them
“chilling” and a call to arms. “Faculty have failed them,” a Yale professor tweeted of
America’s “illiberal” college students.

Villasenor’s results had gone through no peer review process. The methodology
section of his online post was vague, prompting several polling experts to question
how reliable the survey’s conclusions might be.

Villasenor wrote in an email that he was reluctant to give a yes or no “sound bite”
answer to the question of whether the students he surveyed were nationally
representative of college students or not.

By some measures, Villasenor wrote, the 1,500 respondents to his survey had
seemed to reflect the rough demographic makeup of American college students. By
others, they might not.

Villasenor had calculated a margin of error for his survey results and included it in
the public writeup of his report, even though the sample of students he had
surveyed was not random. Public polling experts said this was inappropriate and a
basic error. Zukin called it “very misleading” and “malpractice”.

By including a margin of error, the author appears to be “trying to overstate the
quality of his survey”, said Chris Jackson, the vice-president of Ipsos Public Affairs,
a public opinion firm.

Timothy Johnson, the current president of the American Association for Public
Opinion Research, called it “really not appropriate”.

Villasenor said he disagreed that including a margin of error was any kind of
“malpractice”, noting that he had included a caveat in his online post, warning that
a margin of error was relevant “to the extent” that his survey respondents were
actually representative of US college undergraduates.

Some journalists writing up his results, including at the Washington Post, made no
mention of his caveat, Villasenor noted. He said they should have: “The caveat was
there.”

His results “do say something useful about the national on-campus climate in
relation to free expression,” he said, noting that the survey included respondents
from 49 states.

His survey had posed the question about violence and speech to students in late
August, in the days immediately after neo-Nazis and white supremacists marched
through the university town of Charlottesville, Virginia, leading to the murder of
one young woman.

This was “purely coincidental”, he said. “It wasn’t planned that way.”

Jackson, the Ipsos Public Affairs vice-president, said the post-Charlottesville
moment would certainly have affected students’ responses to a question about
whether it was appropriate for a student group to use violence to prevent the speech
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of a “very controversial speaker” who is “known for making offensive and hurtful
statements”.

“If someone asks you that two days after Charlottesville, who do you think of
immediately? You think of neo-Nazis,” Jackson said.

If the survey question had explicitly asked college students about neo-Nazis, and
“19% of college students said it’s okay to use violence against neo-Nazis on campus
... I think people would find that more palatable.”

Last year, a different, more nationally representative survey of American college
student opinions on free speech on campus found strikingly different results from
Villasenor’s survey.

Villasenor’s survey asked students if it was more important for colleges to create an
“open learning environment where students are exposed to all types of speech and
viewpoints, even if it means allowing speech that is offensive or biased against
certain groups of people” or “a positive learning environment for all students by
prohibiting certain speech or expression of viewpoints that are offensive or biased
against certain groups of people”.

He found that 53% of his respondents said they supported the “positive learning
environment” that required “prohibiting certain speech”, a result Villasenor called
proof that “students appear to prefer an environment in which their institution is
expected to create an environment that shelters them from offensive views”.

The 2016 Gallup survey of more than 3,000 college students, who had been selected
in a carefully randomized process from a nationally representative group of
colleges, had asked students the same question. It found that 78% of students said
colleges should create an “open learning environment”.
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

WILLIAM A. LINK et al.,
                                                         Case No. 4:21-cv-271-MW/MAF
               Plaintiffs,

       v.

RICHARD CORCORAN, et al.,

               Defendants.




     PLAINTIFF DAVID PRICE’S RESPONSES AND OBJECTIONS TO
          DEFENDANTS’ FIRST SET OF INTERROGATORIES


       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff

David Price (“Plaintiff”), by and through his attorneys, submits the following written

responses and objections to Defendants’ First Set of Interrogatories served on

November 8, 2021.1

                             PRELIMINARY STATEMENT

       Discovery is ongoing, and Plaintiff has not completed his investigation. These

responses and objections are based on the information and documents currently

available to Plaintiff, and Plaintiff reserves his rights to alter, supplement, amend, or


1The parties conferred and Defendants’ counsel agreed that this Plaintiff should have until January
14, 2022 to respond to these interrogatories and a subset of other discovery that Defendants served
on November 8, 2021.
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otherwise modify these responses and objections in light of additional facts revealed

through subsequent inquiry.

                            GENERAL OBJECTIONS

      1.     Nothing in these responses or objections can be taken as an admission

that Plaintiff agrees with Defendants’ use or interpretation of terms. These responses

and objections are based on Plaintiff’s understanding of each individual

interrogatory. To the extent Defendants assert an interpretation of any interrogatory

that is inconsistent with Plaintiff’s understanding, Plaintiff reserves the right to

supplement his responses and objections.

      2.     Plaintiff objects to Defendants’ interrogatories to the extent that they

purport to impose obligations greater than those imposed by the applicable Federal

Rules of Civil Procedure or the Local Rules of the United States District Court for

the Northern District of Florida.

      3.     Plaintiff objects to Defendants’ interrogatories to the extent that they

purport to require Plaintiff to search for and produce documents and/or information

that are not in his possession, custody, or control. An objection on this ground does

not constitute a representation or admission that such information does in fact exist.

      4.     Plaintiff objects to Defendants’ interrogatories to the extent that they

are overly broad and/or unduly burdensome, including where: (1) they seek

information or documents obtainable from other sources that are more convenient,

less burdensome, or less expensive; (2) they seek answers or information that may
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be derived or ascertained from a review, examination, audit, or inspection of

business records to be produced where the burden of deriving or ascertaining such

answers or information is substantially the same for Plaintiff as for Defendants; (3)

they are cumulative or duplicative of any other interrogatory or request for

production; (4) they are cumulative or duplicative of information or documents

already in the possession of Defendants; or (5) they require the expenditure of time

and resources that outweighs the likely benefit of such efforts.

      5.     Plaintiff objects to Defendants’ interrogatories to the extent that they

seek information that is not relevant or reasonably calculated to lead to the discovery

of evidence admissible in this action.

      6.     Plaintiff objects to Defendants’ interrogatories to the extent that they

are vague or ambiguous.

      7.     Plaintiff objects to Defendants’ interrogatories to the extent that they

call for information or documents that fall within any relevant privilege (including,

without limitation, the attorney-client privilege and the First Amendment privilege),

are within the work product doctrine, constitute trial preparation materials within the

meaning of Rule 26, constitute expert witness information that is not discoverable

under Rule 26, and/or seek or call for information protected from discovery by any

other applicable privileges, doctrines, or immunities. If any protected information is

disclosed, such disclosure is not intentional and shall not be deemed a waiver of any

privilege or protection.
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      8.     Plaintiff objects to this interrogatory to the extent that it would require

him to divulge information or documents protected by the Family Educational

Rights and Privacy Act (“FERPA”), 20 U.S.C. § 1232g, which guarantees the

privacy of the “education records” of students at post-secondary educational

institutions. Under FERPA, “education records” has a broad definition,

encompassing all documents “directly related to a student” and “maintained by . . .

a person acting for [an educational] agency or institution.” 20 U.S.C. § 1232g(a)(4).

As a professor, Plaintiff is such a person. Plaintiff cannot produce covered

information or documents unless four requirements are met. First, the disclosure

must be “in compliance with [a] judicial order, or pursuant to any lawfully issued

subpoena.” Id. at 1232g(b)(2)(B). Second, “parents and the students” must be

“notified of all such orders or subpoenas in advance of the compliance” with that

order or subpoena. Id. Third, a protective order must be in place to “restrict[]

disclosure of the information to the purposes of the litigation.” C.T. v. Liberal Sch.

Dist., No. 06-2093-JWL, 2008 WL 394217, at *4 (D. Kan. Feb. 11, 2008). Fourth,

“the party seeking disclosure” must “demonstrate a genuine need for the information

that outweighs the privacy interest of the students.” Rios v. Read, 73 F.R.D. 589, 599

(E.D.N.Y. 1977); accord Daywalker v. Univ. of Texas Med. Branch at Galveston,

No. 3:20-CV-00099, 2021 WL 4099827, at *3 (S.D. Tex. Sept. 9, 2021). None of

these requirements are met: Defendants’ First Set of Interrogatories to David Price

are neither a court order nor a subpoena; Defendants have produced no evidence that
                                          4
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they have notified parents or students of these interrogatories; there is no protective

order in place relating to student records; and Defendants have not demonstrated a

“genuine need” for the information. Accordingly, Plaintiff cannot comply with any

interrogatory that seeks disclosure of information or documents encompassed by

FERPA.

                                 INTERROGATORIES

INTERROGATORY NO. 1:

      Please identify with specificity the viewpoints you contend HB 233 targets

and the basis for your belief.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      HB 233 was enacted to target viewpoints with which Governor Ron DeSantis

(“Governor”), Defendant Commissioner Corcoran (“Corcoran”), and others in

Florida government disagree, including specifically viewpoints they deem to be

progressive or liberal viewpoints. To achieve these aims, HB 233 broadly targets the

teaching, research into, and academic expression and exploration of viewpoints the

Governor, Corcoran, and others in Florida government view as “left-wing,” even in

the context of historical, philosophical, or economic instruction. HB 233 also targets

viewpoints the Governor, Corcoran, and others in Florida government associate with


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what they perceive to be “liberal college professors” like Plaintiff, regardless of

whether—or perhaps because—those viewpoints are supported by overwhelming

data and/or have broad academic or historical support.

      These include viewpoints regularly taught by Plaintiff. Plaintiff teaches

courses in history and political science in which he instructs his students on a variety

of perspectives through which to view the material—including Critical Race Theory.

FAC ¶ 34. For example, in Plaintiff’s courses on American government and history,

he has “noted that some scholars contend that the Second Amendment was passed

for the purpose of legitimizing and empowering slave patrols and other militias

which had the primary purpose of stomping out slave revolts.”

      This is a subject strongly disfavored by Governor’s party (also the majority

party in the current Legislature). Defendants, including Corcoran, have specifically

maligned these viewpoints, which fall under the umbrella of critical race theory, as

‘crazy liberal stuff,’ and Corcoran has made clear Defendants’ intent to censor these

viewpoints in Florida’s public institutions. Id. The Governor has described Critical

Race Theory as a “Marxist” ideology, has directed Defendant Florida Board of

Education to ban Critical Race Theory in public schools (which it did), and has

supported legislation to codify that ban on Critical Race Theory. HB 233 specifically

is part of a broader right-wing drive to push back on what they view as progressive

influences in education, including to impede or even prohibit teaching the subjects

and viewpoints that Plaintiff actively teaches.
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       There have been extensive public reports about the purpose and intent of HB

233 both around the time of its enactment and since then; in addition, since its

enactment there have been numerous public reports that further evidence the intent

of Defendants and the Governor to chill and even punish speech that espouses

viewpoints with which Defendants and/or the Governor disagrees. It would be

impossible to list all of that evidence here. For a summary of much of the evidence

available at the time the Amended Complaint was filed, Plaintiff refers Defendants

to that pleading, ECF No. 35, including but not limited to ¶¶ 3, 5-9, 19, 22, 25, 27-

37, 42-45, 48-52, 55-62, 77-81, 84, 86, 90-96, 102, 104-126, 133-135, 137-142, and

the statements and facts discussed therein. Plaintiff further refers Defendants to

Plaintiff’s response in opposition to Defendants’ motion to dismiss, ECF No. 43,

including but not limited to the discussions at pages 3-5, 11-12, 20-28, 31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as unduly burdensome and overbroad. Plaintiff further objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession, or that is otherwise obtainable from

sources that are more convenient, less burdensome, or less expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 2:

      Please identify with specificity the viewpoints you contend HB 233 protects
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and the basis for your belief.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      HB 233 protects viewpoints considered to be “uncomfortable, unwelcome,

disagreeable, or offensive.” See Matal v. Tam, 137 S.Ct. 1744, 1763 (2017) (“Giving

offense is a viewpoint.”). HB 233 does this through its Anti-Shielding Provision,

which prohibits state post-secondary educational institutions from “limit[ing]

students’, faculty members’, or staff members’ access to, or observation of, ideas

and opinions that they may find uncomfortable, unwelcome, disagreeable, or

offensive.” Fla. Stat. §§ 1001.03(19)(c), 1001.706(13)(c), 1004.097(3)(f). In Texas,

similar legislation led to one school administrator directing teachers that “if you have

a book on the Holocaust, that you have one that has an opposing—that has other

perspectives.” HB 233 also protects—and even advances and attempts to legitimize

through governmental favoritism—the baseless narrative that post-secondary faculty

are “indoctrinating” students with progressive beliefs and political viewpoints with

which the Governor, the majority in the Legislature, and many among the

Defendants disagree, as discussed at length in the Amended Complaint, ECF No. 35.

      As part of HB 233’s special protection of “uncomfortable, unwelcome,

disagreeable, or offensive” speech, HB 233 protects the ability of—and even

encourages—students to disrupt Plaintiff’s teaching and the education experience
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with comments that either do not substantively contribute to the learning

environment or, possibly, actively harm the learning environment by diverting the

class discussion, intimidating or harassing students or Plaintiff, or forcing Plaintiff

to spend his limited instruction time addressing ideas that would not otherwise

include in his curriculum, including ideas with which he does not agree, does not

believe are well-founded, or even ideas that have been widely debunked.

      HB 233 puts Plaintiff in an impossible situation, threatening him and his

institution with retribution if his teaching is perceived as not including

“uncomfortable, unwelcome, disagreeable, or offensive” viewpoints, whatever those

may be, inducing Plaintiff to include such ideas in his curriculum when he otherwise

would not. Indeed, it is not always clear whether HB 233’s requirements apply,

requiring Plaintiff to discern whether a given statement is a viewpoint—and

therefore covered by HB 233—or merely a misstatement of fact. For example, a

student recently suggested in Plaintiff’s class that the most recent Democratic

presidential candidate to prevail in the popular vote was Bill Clinton, in 1996. This

is not a statement based in fact, but it could be a “viewpoint” based on some

conspiracy theory. It can be quite difficult to tell the difference when these types of

statements are made. Though Plaintiff has no objection to correcting misinformed

or mistaken students, Plaintiff is concerned that he may need to treat as legitimate,

or teach as equally valid, that or similar “viewpoints” as a result of HB 233.

      Nor is it confined to just Plaintiff’s teaching (which alone would be unlawful).
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HB 233’s Anti-Shielding Provisions broadly apply to virtually every conceivable

form of “oral or written communication of ideas, including all forms of peaceful

assembly, protests, and speeches; distributing literature; carrying signs; circulating

petitions; faculty research, lectures, writings, and commentary, whether published

or unpublished; and the recording and publication, including the Internet publication,

of video or audio recorded in outdoor areas of campus.” E.g., Fla. Stat.

§ 1004.097(3)(a).

      Plaintiff also refers Defendants to the text of the Anti-Shielding Provision of

HB 233 and to the Amended Complaint in this matter, ECF No. 35, including but

not limited to ¶¶ 3, 5-9, 19, 22, 25, 27-37, 42-45, 48-52, 55-62, 77-81, 84, 86, 90-

96, 102, 104-126, 133-135, 137-142, and the statements and facts discussed therein.

Plaintiff further refers Defendants to Plaintiff’s response in opposition to

Defendants’ motion to dismiss, ECF No. 43, including but not limited to the

discussions at pages 3-5, 11-12, 20-28, 31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as unduly burdensome and overbroad. Plaintiff further objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession, or that is otherwise obtainable from

sources that are more convenient, less burdensome, or less expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.
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INTERROGATORY NO. 3:

      Please identify any and all instances where students, faculty, or staff in the

State’s public post-secondary institutions have been required to register their

political views because of HB 233.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      The survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff, nor has the final version of the survey as it will be given (or the

procedures for its implementation) been produced yet to Plaintiffs in discovery.

However, for the reasons discussed at length in the Amended Complaint, the threat

that HB 233 may be used to require students, faculty, or staff in the State’s public

post-secondary institutions to report, reveal, or “register” their political views is

serious, present, and remains ongoing. This is true whatever form the survey that is

ultimately distributed this year contains, and whether it is initially designated as

mandatory or anonymous.

      That Defendants are now empowered—indeed, required—to conduct annual

surveys into political and ideological viewpoints on campuses that they will publish

(and may otherwise use however they wish) imposes its own First Amendment

threat. The Legislature affirmatively refused to consider amendments that would

have required that the survey be anonymous, and statements by proponents
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affirmatively indicated they anticipated they would be mandatory, and would ask

questions such as “Where are you on the political spectrum?” and “Do you believe

that Republicans are evil?” The Survey Provisions themselves require that

respondents be asked about “the extent to which . . . [they] feel free to express their

beliefs and viewpoints on campus and in the classroom.” Fla Stat. §§ 1001.03(19)(b),

1001.706(13)(b). A survey making such an inquiry in the name of “viewpoint

diversity” would logically require at least some inquiry into what those “beliefs and

viewpoints” are.

      Documents produced by Defendants in discovery thus far relating to the

development of the survey mandated by the Survey Provision indicate that the

survey will likely include questions into the political views of respondents. The most

recent draft of the survey produced includes questions such as: “Generally speaking,

you would say that you think of yourself as a … Republican, Independent,

Democrat” and “On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely

conservative, and 4 is exactly in the middle, where would you place yourself?”

Defendants_002971-002972. Defendants’ production also reveals that the survey is

based on other surveys which include similar questions, such as: “How would you

describe    your    views?    Radical    left;   liberal;   moderate;    conservative;

ultraconservative”; “How would you characterize your political views? (Mark one)

Far left – liberal – middle of the road – conservative – far right”; “On a scale from 1

to 7, where 1 is extremely liberal, 7 is extremely conservative, and 4 is exactly in the
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middle, where would you place yourself?”; “Generally speaking, would you say that

you usually think of yourself as a….? Democrat; Independent; Republican.”

Defendants_002200-002210.

      In addition, HB 233 requires that the survey be “statistically valid.” Fla. Stat.

§ 1001.03(19)(b). For the survey to be “statistically valid,” it seems likely that

responses to the survey will be required, either of all potential respondents or of a

statistically representative sample of potential respondents. If the survey were

entirely voluntary, it would be impossible for the survey to be “statistically valid,”

as statutorily required, because the results would be distorted by self-selection bias.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as vague specifically in its use of the terms “register” and “political

views,” which are not defined in these interrogatories or in HB 233. Plaintiff further

objects to this interrogatory as overbroad, unduly burdensome, and disproportionate

to the needs of this case to the extent it seeks information outside of Plaintiff’s

knowledge. Plaintiff cannot be reasonably expected to know of or identify every

single such incident at every single “public post-secondary institution” in Florida.

Plaintiff further objects to this interrogatory to the extent it seeks information within

the public sphere or within Defendants’ knowledge or possession, or is otherwise

obtainable from sources that are more convenient, less burdensome, or less

expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this
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response at a later time as appropriate.

INTERROGATORY NO. 4:

      Please identify any and all facts you have concerning the contents of and the

implementation of the survey required by HB 233, including the specific questions

on the survey you contend violate your First Amendment rights.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      The survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff, nor has the final version of the survey as it will be given in this

coming year been produced yet to Plaintiff in discovery. The discovery that

Defendants have produced thus far includes what appear to be initial drafts of the

survey; however, the most recent of those drafts appears to have been prepared in or

around September 2021. Plaintiffs have specifically requested that Defendants

supplement that discovery and provide any and all additional information that they

have about this topic, but as of the date of these responses and objections, Defendants

have yet to produce to Plaintiffs the final version of the survey that Defendants

intend to implement as required by HB 233. Thus Plaintiff is not yet able to identify

“the specific questions” on that survey that threaten their First Amendment rights.

      However, as discussed at length in Plaintiff’s Amended Complaint, opposition

to the motion to dismiss, and in the response to Interrogatory Number 3, above, the
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enactment of HB 233 and its broad mandate to Defendants to impose an annual

survey that by its terms necessarily and logically must include questions that relate

to the political viewpoints held by Plaintiffs and other students, faculty, and staff in

Florida’s public post-secondary institutions imposes its own threat to Plaintiff’s First

Amendment rights. As discussed above, because the Legislature chose not to impose

any restrictions on the way in which the survey may be used, the manner in which it

inquires into these politically sensitive and personal topics, or whether or how

responses to the same may be made anonymously and/or kept from disclosure within

the government, to other third parties, or publicly, as well as whether the annual

survey that it requires made be made mandatory, the broad, unfettered empowerment

given to Defendants to inquire into these matters – indeed, the law’s mandate that

they do so annually, and failure to restrict the use of that information for any purpose,

including political retribution – imposes a severe and continuing injury to Plaintiff’s

First Amendment rights for as long as HB 233’s Survey Provisions remain

enforceable.

      The facts that Plaintiff has concerning the contents of and implementation of

the survey outside of the materials produced by Defendants in discovery are set forth

in the Amended Complaint, ECF No. 35. For example, as set forth in the Amended

Complaint, Representative Sabatini, who co-sponsored HB 233, said the survey

would “say something along the lines of: ‘Where are you on the political spectrum?’”

FAC ¶ 74. He also made clear that the purpose of the survey was to tell people
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“[what] to be honest, we already know, which is that we’ve lost these campuses to

the radical left” and to justify “defunding the radical institutions on these campuses”

and “insane professors that hate conservatives and hate this country.” Id. at ¶ 80.

Similarly, the Governor, who supported the passage of HB 233 and signed it into

law, indicated that the results of the survey would be used to cut funding from post-

secondary educational institutions that, in his view, had not done enough to foster

“intellectual freedom and viewpoint diversity.” Id. at ¶ 79. Plaintiff also refers

Defendants to the rest of the Amended Complaint including, in particular,

paragraphs 63 to 80.

      Consistent with Plaintiffs’ allegations, the drafts of the survey produced by

Defendants in discovery thus far include questions such as: “Generally speaking,

you would say that you think of yourself as a … Republican, Independent,

Democrat” and “On a scale from 1 to 7, where 1 is extremely liberal, 7 is extremely

conservative, and 4 is exactly in the middle, where would you place yourself?”

Defendants_002971-002972. Defendants’ production also reveals that the survey is

based on other surveys which include similar questions, such as: “How would you

describe    your    views?    Radical    left;   liberal;   moderate;    conservative;

ultraconservative”; “How would you characterize your political views? (Mark one)

Far left – liberal – middle of the road – conservative – far right”; “On a scale from 1

to 7, where 1 is extremely liberal, 7 is extremely conservative, and 4 is exactly in the

middle, where would you place yourself?”; “Generally speaking, would you say that
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you usually think of yourself as a….? Democrat; Independent; Republican.”

Defendants_002200-002210.

      These government inquiries into the political beliefs and associations of

citizens constitute a violation of the First Amendment. “[W]hen a State attempts to

make inquiries about a person’s beliefs or associations, its power is limited by the

First Amendment.” Baird v. State Bar of Ariz., 401 U.S. 1, 6 (1971). That limitation

exists because inquiries by the state, such as those in the survey, may “discourage

citizens from exercising rights protected by the Constitution.” Id. at 6-7. That is

precisely the case here. Plaintiff also refers Defendants to Plaintiff’s opposition to

the motion to dismiss, ECF No. 43, including but not limited to the discussions at

pages 3-4, 10-12, 15-16, 28-31.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory to the extent it seeks information already within the public sphere or

within Defendants’ knowledge or possession or that is otherwise obtainable from

sources that are source more convenient, less burdensome, or less expensive.

Plaintiff further objects to this interrogatory to the extent that it is duplicative of

other interrogatories promulgated by Defendants.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 5:

      Please identify any and all instances where HB 233 has required you to
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espouse views you do not promote, including a description of the espoused

viewpoint, date, location, medium of communication, individual(s) who were

present for the espoused views, and the specific statutory basis for believing you

were required to espouse views with which you disagreed.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff does not recall any specific “instances where HB 233 has required

[him] to espouse views [he] do[es] not promote.” However, the plain text of HB 233

threatens Plaintiff if he does not engage in speech in which he would not otherwise

engage, making him and the institution where he teaches vulnerable to retributive

action: it prohibits limiting “students’, faculty members’, or staff members’ access

to, or observation of, ideas and opinions that they may find uncomfortable,

unwelcome, disagreeable or offensive.” Fla. Stat. §§ 1001.03(19)(a)(2),

1001.706(13)(a)(2). The result is that Plaintiff may be compelled to teach or espouse

views with which he disagrees—or perhaps even agrees, but would not otherwise

teach or express in a given moment, absent the threats posed by HB 233. It is “a

fundamental rule of protection under the First Amendment[] that the speaker has the

autonomy to choose the content of his own message.” Hurley v. Irish-American Gay,

Lesbian and Bisexual Group of Boston, 515 U.S. 557, 573 (1995). “[T]his general

rule that the speaker has the right to tailor the speech, applies not only to expressions
                                           18
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of value, opinion, or endorsement, but equally to statements of fact the speaker

would rather avoid.” Id. HB 233 sets up an impossible task, rendering safe only those

persons who somehow manage to anticipate all possible criticism that they are not

teaching or discussing or covering “all sides,” or else risk injury to themselves or

their institutions. In Texas, similar legislation led to one school administrator

directing teachers that “if you have a book on the Holocaust, that you have one that

has an opposing—that has other perspectives.” Given the topical nature of Plaintiff’s

work, he has serious concerns that it will cause him to be specifically targeted under

HB 233.

       Plaintiff also refers Defendants to the Amended Complaint in this matter, ECF

No. 35, and specifically paragraphs 7, 9, 34, 81-86, 95, 98, 119, 149-157 and 161-

163.

       In addition to the General Objections set forth above, Plaintiff further objects

to this interrogatory on the grounds that it is vague and confusing. It is not clear what

means to obtain when it asks Plaintiff to identify a “specific statutory basis for

believing you [i.e., Plaintiff] were required to espouse views with which you

[Plaintiff] disagreed.” Further, HB 233’s Anti-Shielding Provisions broadly apply to

virtually every conceivable form of “oral or written communication of ideas,

including all forms of peaceful assembly, protests, and speeches; distributing

literature; carrying signs; circulating petitions; faculty research, lectures, writings,

and commentary, whether published or unpublished; and the recording and
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publication, including the Internet publication, of video or audio recorded in outdoor

areas of campus.” E.g., Fla. Stat. § 1004.097(3)(a). As a result, the interrogatory is

impermissibly overbroad; it would be impossible for Plaintiff to accurately identify

all such instances in which HB 233 imposes a compelled speech threat. Plaintiff

further objects to this interrogatory because it seeks information about Plaintiff’s

political views and associations which are protected by the First Amendment

privilege. Requiring Plaintiff to disclose his political associations would have a

chilling effect, beyond that created by HB 233, on his own associations and could

also cause others not to associate with him or to cease associating with him if they

believed that any and all confidential disclosures about their personal views, or

communications about times when they felt they were required to espouse views

they did not believe in in order to avoid retribution from Defendants, their

institutions, trustees, or any other number of third parties or Florida government

actors, were subject to disclosure by Plaintiff simply because of Plaintiff’s

involvement in a lawsuit that (ironically) seeks to protect these very rights.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 6:

      Please identify any and all instances where you did not join an association or

resigned from an association because of HB 233, including the date and your reason

for not joining or resigning.
                                           20
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RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff has not yet declined to join, or resigned from, any associations due

to HB 233.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it seeks information about Plaintiff’s political associations

which are protected by the First Amendment privilege. Requiring Plaintiff to

disclose his associations would have a chilling effect, beyond that created by HB

233, on his own associations and could also cause others not to associate with him

or to cease associating with him if they believed communications about their fears

of retribution from Defendants, their institutions, trustees, or any other number of

third parties or Florida government actors, were subject to disclosure by Plaintiff

simply because of Plaintiff’s involvement in a lawsuit that (ironically) seeks to

protect these very rights.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 7:

      Please identify any and all instances where you were required by HB 233 to

disclose your associations, including the date of the request, the date of your

disclosure, the identity of the requestor, contents of the request, and your response.
                                           21
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RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff has not yet been “required by HB 233 to disclose [his] associations.”

As noted, the survey mandated by HB 233 has not yet been distributed to students,

faculty, or staff. However, for the reasons discussed at length in the Amended

Complaint, the threat that HB 233 may be used to require students, faculty, or staff

in the State’s public post-secondary institutions to report, reveal, or “register” their

political views or associations is serious, present, and remains ongoing. The threat

posed by HB 233 which gives Defendants the power to mandate from all Florida

faculty lists of all of their associations for any type of use or future disclosure

threatens Plaintiff with forced disclosure of this association and operates to chill his

protected associational and speech activities.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it seeks information about Plaintiff’s political associations

which are protected by the First Amendment privilege. Requiring Plaintiff to

disclose his associations would have a chilling effect, beyond that created by HB

233, on his own associations and could also cause others not to associate with him

or to cease associating with him if they believed communications about their fears

of retribution from Defendants, their institutions, trustees, or any other number of

third parties or Florida government actors, were subject to disclosure by Plaintiff
                                          22
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simply because of Plaintiff’s involvement in a lawsuit that (ironically) seeks to

protect these very rights.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 8:

      Please identify any and all instances where you have prohibited a student from

recording a lecture, including the date, class, circumstances surrounding the

prohibition, and reason for your prohibition.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff is not aware of any “instances where [he] . . . prohibited a student

from recording a lecture.” On the contrary, it is Plaintiff’s understanding that his

institution makes available recordings of his lectures to students with a reasonable

accommodation for a disability. Plaintiff also refers Defendants to Fla. Stat.

§ 934.03.

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory because it is overbroad, unduly burdensome, and disproportionate to

the needs of this case. This interrogatory is not limited in time. As phrased, the

interrogatory seeks information reaching back decades, and which has no bearing

whatsoever on this matter. Plaintiff further objects to this interrogatory to the extent
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that it would require him to divulge information or documents protected by FERPA.

Plaintiff further objects to the interrogatory to the extent it seeks information relating

to reasonable accommodations made for disabled students. Such information is

protected against disclosure under federal law and by the right to privacy guaranteed

by the Art. I, § 23 of the Florida Constitution. Cf. Gomillion v. State, 267 So. 3d 502,

506 (Fla. 2d DCA 2019) (“[I]n Florida, medical records are protected as private by

our state constitution.”).

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

INTERROGATORY NO. 9:

      Please identify any and all instances where you revised your curriculum or

syllabus because of HB 233, including the date you revised your curriculum or

syllabus, how the curriculum or syllabus was revised, and the specific provision in

HB 233 that required the revision or change.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds to this interrogatory as follows:

      Plaintiff has not yet “revised [his] curriculum or syllabus because of HB 233.”

However, Plaintiff may still be forced to do so. The survey mandated by HB 233 has

not yet been distributed to students, faculty, or staff. As discussed in the Amended

Complaint and in Plaintiff’s responses to Interrogatory Numbers 1, 2, 3, and 4, the
                                           24
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purpose of the survey is explicitly political. Its proponents intend to use the results

of the survey to “defund[] the radical institutions on these campuses” and the “insane

professors that hate conservatives and this country.” Nor is it clear that the responses

to the survey will be confidential or anonymous. Similarly, HB 233’s Anti-Shielding

Provision threatens Plaintiff and his institution with retribution if his teaching or

other speech is perceived as not including “uncomfortable, unwelcome,

disagreeable, or offensive” viewpoints. Given the vagueness of that provision,

Plaintiff is not yet able to anticipate what viewpoints he must include in his

curriculum or syllabus—but if he is sued, or threatened with litigation, under the

cause of action HB 233 provides, Plaintiff may indeed “revise[] [his] curriculum or

syllabus because of HB 233.” Furthermore, as a result of HB 233, Plaintiff’s

institution may pressure or require him to alter his curriculum or syllabus, as other

institutions in Florida have already done to other professors who teach Critical Race

Theory. As a result, Plaintiff reasonably expects that he may in the future be forced

to “revise[] [his] curriculum because of HB 233.”

      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory to the extent it seeks information within the public sphere or within

Defendants’ knowledge or possession, or is otherwise obtainable from sources that

are more convenient, less burdensome, or less expensive.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.
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INTERROGATORY NO. 10:

      Please identify any and all instances where you previously limited students,

faculty members, or staff members from ideas which they may have found to be

uncomfortable, unwelcome, disagreeable, or offensive, but which, because of HB

233, you would no longer be permitted to limit such access.

RESPONSE:

      Subject to, expressly reserving, and without waiving the below objections and

General Objections above, Plaintiff responds as follows:

      Plaintiff has “limited students . . . from ideas which they may have found to

be uncomfortable, unwelcome, disagreeable, or offensive.” Because of the breadth

of HB 233, it would be impossible for Plaintiff to enumerate every such instance.

However, Plaintiff recalls two specific examples of “shielding.” In one instance,

because he was concerned it would be “uncomfortable, unwelcome, disagreeable, or

offensive,” Plaintiff declined to include in his curriculum about the Vietnam War a

graphic description of American soldiers sexually abusing Vietnamese women.

Similarly, after a student expressed concern to him, Plaintiff stopped showing

students a video of the South Vietnamese brigadier general Nguyễn Ngọc Loan

summarily executing Nguyễn Văn Lém, a member of the Viet Cong. Under the

extraordinarily broad, and vague, terms of HB 233, Plaintiff may be required to add

these “uncomfortable, unwelcome, disagreeable, or offensive” graphic depictions of

violence to his curriculum, which he does not wish to do.
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      Furthermore, as a professor, Plaintiff necessarily “limit[s] students . . . from

ideas which they may [find] to be uncomfortable, unwelcome, disagreeable, or

offensive.” In class, Plaintiff advises students not to express such ideas because they

are corrosive to an open and effective learning environment, because avoiding the

expression of such ideas helps them learn to think critically, and because avoiding

expression of such ideas helps them learn to express their ideas in a scholarly and

professional manner. For example, Plaintiff has rules for class discussions which

include requests that students avoid the use of profanity or personal attacks on other

students. Likewise, Plaintiff limits the range of ideas and viewpoints acceptable in

response to course assignments: coursework must be responsive to the prompt and

not be mere expressions of personal opinions. When Plaintiff makes decisions about

his syllabus, he is necessarily limited by time and space in the topics he can cover

and the readings he can assign; accordingly, Plaintiff must make editorial decisions

about what readings or topics to include or exclude, including based in part on what

ideas those readings express. Similarly, when Plaintiff makes statements, sends e-

mails, or engages in any other communicative act, he necessarily must make similar

editorial decisions as to what to include or exclude from his communication.

Accordingly, Plaintiff reasonably does not make affirmative efforts to include views

he does not believe would be conducive to learning, fruitful classroom discussion,

or civil communication. It would be impracticable for Plaintiff to list every single

instance where Plaintiff did not make such an effort.
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      In addition to the General Objections set forth above, Plaintiff objects to this

interrogatory as overly broad, unduly burdensome, disproportionate to the needs of

the case, and seeking information not relevant to the claims and/or defenses in this

case. Plaintiff further objects to this interrogatory as vague to the extent it relies upon

the text of the Anti-Shielding Provision, which Plaintiff has alleged is vague. E.g.,

FAC ¶¶ 119, 121. Because both HB 233 and the interrogatory “leave[] undefined

[the terms] ‘uncomfortable, unwelcome, disagreeable, or offensive’ speech,”

Plaintiff must “guess at their meaning.” Id. at ¶ 121. For similar reasons, the

interrogatory is also objectionably overbroad. HB 233’s Anti-Shielding Provisions

broadly apply to virtually every conceivable form of “oral or written communication

of ideas, including all forms of peaceful assembly, protests, and speeches;

distributing literature; carrying signs; circulating petitions; faculty research, lectures,

writings, and commentary, whether published or unpublished; and the recording and

publication, including the Internet publication, of video or audio recorded in outdoor

areas of campus.” E.g., Fla. Stat. § 1004.097(3)(a). In addition, this interrogatory has

no time limitation, seeking information relating to “instances” across all years of

Plaintiff’s many years of teaching. Requiring Plaintiff to identify all such instances

would be burdensome. Plaintiff further objects to the scope of the interrogatory as

overbroad, unduly burdensome, and disproportionate to the needs of the case

because it would be impossible for Plaintiff to “identify” every single instance in

which Plaintiff excluded some viewpoint in one way or another in a forum that could
                                            28
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come within HB 233’s extraordinarily broad reach.

      Discovery is ongoing and Plaintiff reserves the right to supplement this

response at a later time as appropriate.

Dated: January 14, 2022.                   Respectfully submitted,

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                         CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on January 14, 2022 I served a copy of the

 foregoing via email to all counsel listed on the Service List below.

                                     /s/ Frederick S. Wermuth
                                     Frederick S. Wermuth
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                                       30
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         VERIFICATION OF ANSWERS TO INTERROGATORIES

      I, David Price, believe, based on reasonable inquiry, that the foregoing

answers are true and correct to the best of my knowledge, information, and belief. I

verify as such under penalty of perjury under 28 U.S.C. § 1746.


                                                   __________________
                                                   David Price


                                                        2/8/2022
                                                   __________________
                                                   Date
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                        EXHIBIT JJ
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Indoctrination U.? Faculty Ideology and Changes in Student Political
Orientation

Article in Political Science and Politics · October 2008
DOI: 10.1017/S1049096508081031




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Indoctrination U.? Faculty Ideology and Changes
in Student Political Orientation
Mack D. Mariani, Xavier University
Gordon J. Hewitt, Hamilton College



Iradical
   n the provocatively titled Indoctrina-
   tion U., David Horowitz argues that
         members of college faculties have
                                                 ern 2005; Jaschik 2005b; Klein and Stern
                                                 2005a; 2005b; 2006; Rothman, Lichter,
                                                 and Nevitte 2005! there has been very
                                                                                               studies ~some of which were sponsored
                                                                                               by the CSPC!, which suggest that col-
                                                                                               lege faculties are ideologically and politi-
“intruded a political agenda into the aca-       little systematic research on whether fac-    cally out-of-step with the general public.
demic curriculum,” engaging in propa-            ulty members’ political leanings actually     In 2002, American Enterprise magazine
ganda rather than scholarship and                affect the ideological views of the stu-      highlighted the results of 18 studies of
indoctrinating students rather than teach-       dents they teach. If students’ political      faculty party registration patterns on
ing them ~Horowitz 2007, xi!. Although           views are being changed by a left-            American college campuses ~American
allegations of liberal bias in academia          leaning professoriate, we should be able      Enterprise 2002!. The data from these
are nothing new, the issue has gained            to see evidence of that influence; indeed,    studies indicated that faculty members
increased attention as the result of efforts     we would expect that changes in political     affiliated with “parties of the right” ~i.e.,
by Horowitz and the Center for the               orientation would be most dramatic            Republican, Conservative, or Libertarian!
Study of the Popular Culture ~CSPC! to           among students at more ideologically          were vastly outnumbered by those affili-
promote the Academic Bill of Rights for          liberal institutions.                         ated with “parties of the left” ~i.e., Dem-
American colleges and universities.1                 This study utilizes empirical evidence    ocrat, Green, or Working Families!.
   According to Horowitz, the goal of the        from the CIRP Freshman Survey, the            According to two of the studies cited in
Academic Bill of Rights is to inspire            College Student Survey, and the Higher        the report, for example, professors on the
college officials “to enforce the rules that     Education Research Institute ~HERI!           right were outnumbered 166 to 6 at Cor-
were meant to ensure the fairness and            Faculty Survey to assess the effect of        nell, and 72 to 1 at University of Califor-
objectivity of the college classroom”            faculty ideology on the political attitudes   nia, Santa Barbara ~American Enterprise
~Horowitz 2007, 2!.2 Supporters argue            of undergraduate students over the course     2002, 19–23!. The editor-in-chief of
that an Academic Bill of Rights is               of a four-year college career ~2001–          American Enterprise, Karl Zinsmeister,
needed to “protect students from one-            2005!. Our analysis of 38 private col-        argued that the study results indicate that
sided liberal propaganda . . . @and# to          leges and 6,807 student respondents           colleges and universities are “virtual one-
safeguard a student’s right to get an edu-       indicates that, consistent with a number      party states, ideological monopolies,
cation rather than an indoctrination.” 3         of previous studies, faculty members are      badly unbalanced ecosystems. They are
Opponents of the initiative, including the       predominately liberal and Democratic.         utterly flightless birds with only one
American Association of University Pro-          We find little evidence, however, that        wing to flap. They do not, when it comes
fessors, have characterized the Academic         faculty ideology is associated with           to political and cultural ideas, look like
Bill of Rights as an assault on academic         changes in students’ ideological orienta-     America” ~2005, 18!.
freedom ~Jacoby 2005; Schrecker 2006!            tion. The students at colleges with more         The American Enterprise report also
that is based on exaggerated claims of           liberal faculties were not statistically      included results from a 2001 survey of
anti-conservative bias ~Ehrlich and Colby        more likely to move to the left than stu-     151 Ivy League faculty members. The
2004; Wiener 2005; Jacobson 2006a;               dents at other institutions.                  survey, which was sponsored by the
2006e; Jaschik 2006c!.4                                                                        CSPC and administered by Republican
   Although a growing body of social             Is the Academy Liberal?                       pollster Frank Luntz, found that 64% of
science research indicates that college                                                        survey respondents described themselves
faculties are disproportionately liberal            The argument that liberal faculty          as “liberal” or “somewhat liberal,” while
and Democratic, at least when compared           members are indoctrinating students goes      only 6% of respondents described them-
with the population in general ~Brook-           back to the very beginnings of the mod-       selves as “conservative” or “somewhat
ings 2001; HERI 2002; Klein and West-            ern conservative movement and publica-        conservative” ~Luntz 2001!. In addition,
                                                 tion of William F. Buckley’s God and          only 3% of Ivy League faculty members
                                                 Man at Yale: The Superstitions of “Ac-        surveyed identified themselves as Repub-
                                                 ademic Freedom” ~Buckley 1951!. In-           licans compared with 57% that identified
Gordon Hewitt is assistant dean of the           deed, the subject has been periodically       themselves as Democrats.5 Likewise,
faculty for institutional research at Hamilton   revisited by a number of right-leaning        another CSPC study examined party
College in Clinton, New York. He holds a         authors who have criticized the academy       registration data for faculty at 32 elite
Ph.D. in higher education administration         for “moral relativism,” “political correct-   colleges and found that Democrats out-
from the University of Wisconsin–Madison.        ness,” and “liberal orthodoxy” ~see for       numbered Republicans by a ratio of
                                                 example Bloom 1987; Kimball 1990;             more than 10 to 1 ~Horowitz and Lehrer
Mack Mariani is an assistant professor
of political science at Xavier University in     D’Souza 1991; Bennett 1992; Bork              2003!.6
Cincinnati, Ohio. He holds a Ph.D. in po-        1996!.                                           In October 2006, the Institute for Jew-
litical science from the Maxwell School of          Faculty ideology has become a subject      ish and Community Research ~IJCR!
Citizenship and Public Affairs at Syracuse       of considerable debate in recent years as     announced the results of a broad national
University.                                      the result of publication of a number of      survey of 1,259 college professors. The

                                  PSOnline www.apsanet.org                      doi:10.1017/S1049096508081031                         773
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IJCR survey, which was administered          publicans. Though liberal and Demo-           ful measure of political diversity on cam-
online, found that respondents were three    cratic majorities were most pronounced        pus is political ideology rather than party
times more likely to describe themselves     among the humanities and social sci-          membership or voting history. Zipp and
as liberal than conservative and 72%         ences, a liberal orientation was also         Fenwick also point out that larger and
reported voting for John Kerry in the        found in business and economic depart-        more representative studies of faculty
2004 presidential election ~Wilson 2006!.    ments, albeit to a somewhat lesser ex-        ideology indicate that faculty divisions
Likewise, a review of political donations    tent.11 Rothman, Lichter, and Nevitte         are more narrow than conservative critics
by the Center for Responsive Politics        compared their results with those from a      suggest, citing Ladd and Lipset’s ~1975!
indicated that faculty members and           1985 Carnegie study and concluded that        finding of a 2 to 1 liberal to conservative
educational employees were far more          faculty ideology has veered sharply to        ratio in their analysis of 1969 data,
likely to contribute to Democratic candi-    the left:                                     HERI’s finding of 2.6 to 1 ~2002! and
dates and PACs than Republican ones                                                        Hamilton and Hargens ~1993! finding of
during the 2004 and 2006 election cycles       Over the course of 15 years, self-          1.2 to 1.
~Smith 2006!. Similar studies have also        described liberals grew from a slight          Although Zipp and Fenwick conclude
found that law school professors donate        plurality to a 5 to 1 majority on college   that “it is misleading to claim that fac-
disproportionately to Democratic candi-        faculties. By comparison, among the         ulty at American colleges and universi-
dates ~McGinnis and Schwartz 2003;             general population in 1999, 18% viewed      ties are overwhelmingly and increasingly
McGinnis, Schwartz, and Tisdell 2005;          themselves as liberal and 37% conserva-     liberal” they also note that “there are
Liptak 2005!.                                  tive. In 2004 the figures were almost       relatively few conservatives in the acad-
   In addition to the many studies spon-       unchanged—18% liberal and 33% con-          emy” ~2006, 316!.12 Indeed, the Carnegie
sored by ideologically oriented groups, a      servative. Thus, according to these self-   Foundation data the authors rely on indi-
growing body of social science research        descriptions, college faculty are about     cates that left-of-center faculty members
lends additional support to the argument       four times as liberal as the general pub-   far outnumber those on the right. Nearly
that American college faculties are dis-       lic. ~Rothman, Lichter, and Nevitte         56% of faculty members are liberal or
proportionately liberal and Democratic.7       2005, 4–5!                                  moderately liberal, compared with just
Several large-scale faculty surveys, for                                                   24% that are conservative or moderately
instance, have identified a leftward tilt       In addition to survey-based research,      conservative. The difference is particu-
within specific academic disciplines, in-    several methodologically sophisticated        larly stark at the farthest points of the
cluding the social sciences ~Klein and       studies of voter registration patterns sug-   ideological spectrum, with more than
Stern 2005a; 2005b; Klein and Western        gest that faculty members’ liberal ideo-      three times as many faculty members
2005! 8 and sociology ~Klein and Stern       logical preferences are likely to translate   describing themselves as “liberal” as
2006!.9                                      into partisan preferences that favor the      “conservative” ~23% versus 7%!. In ad-
   Similarly, in a survey of 550 profes-     Democrats. A study by Klein and West-         dition, though Zipp and Fenwick do find
sors in economics, history, political sci-   ern ~2005! looked at the party identifi-      evidence of ideological variation across
ence, and sociology sponsored by the         cation of faculty members across 23           institutions and disciplines, their figures
Brookings Institution—a center-left think    academic departments at University of         ~collapsed and re-presented here in
tank—only 8% of respondents described        California, Berkeley, and Stanford found      Table 1! actually show a decidedly left-
themselves as conservative or very con-      ratios of Democrats to Republicans of         wing orientation for all types of four-
servative, compared with 31% who de-         9.9 to 1 and 7.6 to 1, respectively.          year colleges, with the ratio of liberals to
scribed themselves as liberal or very        Cardiff and Klein ~2005! expanded on          conservatives particularly high in top-tier
liberal. In that same survey, 77% of re-     this study by examining the partisan          liberal arts colleges ~8 to 1 liberal to
spondents identified themselves as Dem-      affiliations of tenured and tenure-track      conservative! and elite research universi-
ocrat or lean Democrat compared with         faculty at 11 California colleges and         ties ~a 5 to 1 ratio!. Though conserva-
13% who were Republican or lean Re-          universities. The authors found that          tives fare better at two-year colleges,
publican ~Brookings 2001!.                   Democrats outnumbered Republicans by          comprehensive colleges, and lower-tiered
   Other studies have reached across         a 5 to 1 ratio and, though there was          liberal arts and research institutions, the
multiple disciplines to examine the ideo-    variation across disciplines, Democrats       Carnegie data presented by Zipp and
logical and political orientations of a      outnumbered Republicans in all fields.        Fenwick indicate that college faculties do
broad cross section of faculty members.      The ratio of Democrats to Republicans         lean to the left, though perhaps not as far
A 2001–2002 survey of more than              was highest within the liberal arts ~8 to     out as conservative critics allege.
55,000 faculty and administrators at 416     1 Democrat to Republican! and lowest
colleges by the nonpartisan Higher Edu-      in the field of business ~1.3 to 1!.          Causes and Consequences
cation Research Institute found that            To be certain, many in the academy
47.6% of faculty members were on the         and elsewhere have taken issue with the          The debate over faculty ideology has
left, compared with just 18% on the right    methodology employed and conclusions          shifted away from whether college facul-
~Jaschik 2005b; HERI 2002!.10 Similar        drawn by the ~mostly! conservative            ties are liberal ~the evidence from most
results were also reported by Rothman,       groups and right-leaning scholars who         studies suggests that they are! towards an
Lichter, and Nevitte ~2005! in their anal-   have addressed the issue of faculty ideol-    examination of the causes and conse-
ysis of a national survey of more than       ogy and politics ~Jacoby 2005; Berube         quences of a left-leaning professoriate.
1,600 randomly selected faculty members      2006!. Zipp and Fenwick ~2006!, for ex-       Arguments about the causes of the ideo-
from 183 four-year colleges and universi-    ample, argue that many of the studies         logical imbalance often center on
ties. In their study, Rothman, Lichter,      that purport to show liberal dominance        whether the liberal makeup of the acad-
and Nevitte found that 72% of faculty        are unrepresentative, focusing on a small     emy is due to ideological bias and dis-
self-identified as liberal and just 15% as   number of elite colleges and a small          crimination against conservatives, or
conservative. In addition, 50% of faculty    range of academic disciplines. They also      merely the result of the self-selection of
members self-identified as Democrats,        criticize the decision to focus on party      conservatives into other professions ~see
compared with just 11% who were Re-          identification, arguing that the most use-    Jacoby 2005, or the exchange between

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                                                                                             not surprising that conservative faculty
  Table 1                                                                                    members are less supportive of tenure
  Percent of Faculty Identifying as Liberal versus Conservative,                             and more supportive of “value-based”
  by Institutional Type                                                                      education than their more liberal col-
                                                                                             leagues. Likewise, if liberal indoctrina-
                          Liberal/Moderately       Conservative/Moderately                   tion is as commonplace in the academy
  Institutional Type            Liberal                 Conservative              Ratio      as has been alleged, liberal professors
  Research I                     68.1                        13.8                 4.9:1      may be less likely to recognize it and
  Research II                    59.7                        22.4                 2.7:1      conservatives more likely to push back.
  Doctorate I                    52.4                        25.0                 2.0:1         Kelly-Woessner and Woessner ~2006!
  Doctorate II                   57.7                        21.3                 2.7:1      examined faculty ideology more directly
  Comprehensive I                61.3                        20.5                 3.0:1      by assessing the impact of faculty mem-
  Comprehensive II               51.3                        30.4                 1.7:1      bers’ political dispositions on nearly
  Liberal Arts I                 78.2                         9.6                 8.0:1      1,400 students taking introductory politi-
  Liberal Arts II                52.5                        23.6                 2.2:1      cal science courses at 29 colleges and
  Two-Year                       44.3                        35.0                 1.3:1      universities. Although this study found
                                                                                             that students perceive most faculty mem-
  Source: 1989 Carnegie survey data presented by Zipp and Fenwick (2006)                     bers to be liberal, it also concluded that
  Table 3, 312. Categories were collapsed to provide comparable categories of                students give less credence to the state-
  liberal/moderately liberal and conservative/moderately conservative.                       ments of faculty members who did not
                                                                                             share the students’ own political views
                                                                                             ~Kelly-Woessner and Woessner 2006;
                                                                                             Jaschik 2006b!.17 Thus, even if faculty
Rothman, Lichter, and Nevitte 2005 and         doubt on previous studies that found that     members are disproportionately liberal,
Ames et al. 2005!.13                           liberal faculty members in some disci-        this study suggests that faculty ideology
   The debate over consequences re-            plines grade conservative students more       is unlikely to have much of an impact on
volves around the allegations made by          harshly than liberals. The study, which       student views.18 The main benefit of this
conservative groups like the CSPC that         included 3,890 students, found that con-      approach is that it provides insight into
ideological imbalance in the academy           servative students received grades equal      the way ideology shapes student and fac-
has led to discrimination against conser-      to or higher than more liberal students;      ulty assessments of one another. The
vative students and faculty ~Wilson            in fact, conservatives actually scored        study is limited, however, in that it ex-
2005; Jacobson 2004a; 2004b; Braunlich         higher grades than liberals in the fields     amines the impact of faculty ideology on
2004!, a one-sided approach to scholar-        of business and economics and there           students taking a single course. Addi-
ship and political debate ~Pilger 2004;        was no difference between the grades          tional research is needed to take into ac-
Bauerlein 2004; 2005!, and the indoctri-       received by liberals and conservatives        count the effect of faculty ideology on
nation of college students to liberal          in sociology, African American studies,       student ideology across multiple classes
viewpoints ~Salerno 2003, 12; Horowitz         and other more liberal fields of study        or over the duration of a college career.
2005; 2007; Neal, French, and Siegel           ~Kemmelmeier, Danielson, and Basten              The indoctrination argument is funda-
2005!.14 Allegations of discrimination in      2005!.16                                      mentally an argument about change, the
hiring and promotion, for instance, are           Only a handful of studies have at-         main point being that liberal professors
the subject of a vigorous but as yet in-       tempted to assess whether faculty liberal-    indoctrinate students to become more
conclusive debate. A 2005 study by             ism actually affects the political beliefs    liberal over the course of their college
Rothman, Lichter, and Nevitte concluded        of college students. Zipp and Fenwick         careers. Thus, in order to assess whether
that conservative scholars are discrimi-       ~2006! used faculty responses to ques-        there is evidence of indoctrination, addi-
nated against in hiring and promotion.         tions about the goals of undergraduate        tional empirical research is needed that
The Rothman study has been criticized          education, intellectual freedom, and stan-    takes into account both faculty ideology
by some members of the academy, how-           dards of scholarship as a means to assess     and changes in student political orienta-
ever, who argue that the sample is un-         the willingness of faculty members to         tion that occurs between the time that
representative; these critics point to         impose their views on students and their      students start and finish college.
self-selection, not discrimination, as the     commitment to intellectual and academic
key factor that accounts for varying lev-      freedom. Zipp and Fenwick concluded           Research Question
els of professional success for liberals       that, compared to conservatives, more
and conservatives in academia ~Ames            liberal faculty members were more sup-           Our primary research question is
et al. 2005; Berube 2006, 68–70!.15            portive of tenure and other protections of    whether there is a significant relationship
   Both liberals and conservatives have        academic freedom and less likely to           between the liberalism of faculty at an
presented examples and counterexamples         agree that “shaping students’ values” is      institution and changes in the political
of student-faculty interactions that sup-      as an important goal of undergraduate         orientation of students over the course of
port their opposing positions on the intel-    education. Unfortunately, for our pur-        their college careers. Simply put: is there
lectual climate of the academy ~see            poses the Zipp and Fenwick study is           evidence that students shift their political
Horowitz 2007; Berube 2006!. Thus far          more useful as an indicator of how ideol-     orientations to correspond more closely
there is no definitive empirical evidence      ogy shapes faculty perceptions about          to the political dispositions of the faculty
of widespread or systematic ideology-          professional norms and their place in the     at their college or university? In addition
based bias on the part of faculty. Indeed,     profession than as a measure of indoctri-     to faculty ideology, we are also inter-
Kemmelmeier, Danielson, and Basten’s           nation. Conservatives have long alleged       ested in assessing the effect of other
recent study ~2005! of the relationship        that the academy has embraced liberal         potentially relevant factors that may
between ideology and grading patterns at       ideals and rejected Western values in         contribute to student ideological change,
a single large public university casts         favor of postmodern relativism; thus, it is   including institutional type ~religious or

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  Table 2
  Institutional Profile
  Type                           Institution N        Institution %       Student N            Student %        Faculty N         Faculty %
  Control:
    Religious                         19                 50.0%              1,742                25.6%            1,067              37.0%
    Non-religious                     19                 50.0%              4,963                74.4%            1,816              63.0%
  Selectivity:
    Highly selective                  23                 60.5%              5,153                75.7%            1,694              58.8%
    Not highly selective              15                 39.5%              1,552                24.3%            1,189              41.2%
  Carnegie classification:
    Doctoral/research                  4                 10.5%              1,787                26.3%              641              22.2%
    Masters                           16                 42.1%              2,247                33.0%            1,248              43.3%
    Baccalaureate                     18                 47.4%              2,773                40.7%              994              34.5%
  Total                               38                100.0%              6,807               100.0%            2,883            100.0%




nonsectarian!, institutional selectivity,        tutions included in this study represent          When considered together, CSS and
and peer orientation. It should be empha-        the four-year institutions that adminis-          CIRP datasets enable researchers to mea-
sized, however, that we are not attempt-         tered all three of the surveys in the same        sure changes in student responses over
ing to study the behavior of college             years. In order to maintain the anonymity         time for a number of key attitudinal mea-
professors or to argue that the ideological      of institutions, a masked dummy variable          sures, including political orientation
makeup of the professoriate is a good or         was created by HERI that allowed for
bad thing. Our focus is limited to one of        the matching of students and faculty by
impact: is there evidence that faculty           institution. For each institution, HERI           HERI Faculty Survey
ideology affects student ideology over           also provided a unique identifier and a              The HERI faculty survey was designed
the course of students’ four years in            stratification code indicating control and        to provide information about the attitudes,
college?                                         selectivity for each institution.                 experiences, concerns, job satisfaction,
                                                                                                   workload, teaching practices, and profes-
                                                 Freshman Survey                                   sional activities of college and university
Sample and Variables                                                                               faculty ~HERI 2007!. As in the freshman
   Data for this study came from the                This study utilized data from the ~fall!       survey and the CSS, faculty members
Cooperative Institutional Research               1999 CIRP freshman survey. The CIRP               were asked to identify their political ori-
Program’s ~CIRP! 1999 Freshman Sur-              freshman survey consists of a variety of          entation on the same five-point scale. As
vey, the 2003 College Student Survey             items aimed at measuring the characteris-         shown in Table 3, the orientation of the
~CSS!, and the 2003–2004 Faculty Sur-            tics, attitudes, values, and aspirations of       faculty is predominately liberal. Of all
vey, all sponsored by the HERI at the            students ~HERI 2007!. To preserve ano-            faculty respondents, 53% identified them-
University of California, Los Angeles.           nymity, masked unique identifiers were            selves as “liberal” or “far left” compared
The overall student sample consisted of          assigned by HERI so that student and              with 16% of respondents who identified
7,999 students attending 47 different pri-       faculty data could be matched. A CIRP             themselves as “conservative” or “far
vate institutions, both nonsectarian and         stratification code indicating institution        right.” For comparative purposes, a
religiously affiliated. Students completed       type ~religious0non-religious! and Carne-         2004 American National Election Study
the freshman survey upon entering col-           gie classification were also provided for         ~ANES! survey found that approximately
lege in the fall of 1999 and the CSS in          each respondent. Political orientation is a       25% of the general population identified
their fourth year of college, in 2003. The       standard item on the freshman survey              themselves as left-of-center and 41% to
CSS results included only students who           instrument every year, as students are            the right ~ANES 2004!.
were still at the same institution in 2003       asked to identify their political orienta-
that they entered in 1999. After taking          tion on a five-point scale from far right
                                                 to far left.                                      Variables
out CSS non-completers, nine institutions
had an unacceptably low number of re-                                                                 Our first step was to develop an
spondents remaining, and those schools           College Student Survey (CSS)                      institutional faculty political orientation
were taken out of the sample. The final                                                            variable using responses to the political
sample consisted of 38 institutions with            The College Student Survey ~CSS!               orientation item on the faculty survey.
6,807 student respondents ~see Table 2!.         was developed to measure students’ cog-           The average responses for each institu-
   The faculty sample consisted of 2,883         nitive and affective growth during col-           tion were calculated and used to populate
useable responses from faculty members           lege as well as their post-college plans          this variable. The averages for institu-
participating in the 2003–2004 HERI              ~HERI 2007!. It is administered to stu-           tions range from 2.61 to 4.53, with the
faculty survey. Faculty members came             dents in their final ~senior! year of col-        lower averages representing more con-
from the same set of institutions as those       lege and many of the items on the CSS             servative faculty and the higher averages
examined in the CSS0CIRP studies and             are similar to, or the same as, items on          representing more liberal faculty ~a
respondents represented a broad array of         the CIRP freshman survey. This study              list of faculty political orientation by in-
discipline areas ~see Table 3!. The insti-       utilized data from the ~spring! 2003 CSS.         stitution is provided in Appendix 1!.19

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  Table 3
  Faculty Political Orientation by Institutional Types and Disciplines
                                                                            Middle                                               Ratio
                                     N          Far Left     Liberal     of the Road        Conservative       Far Right     Left to Right
  Institution control:
    Religious                      1,067          4.4%       39.3%          32.9%               23.1%            0.4%            1.9:1
    Non-religious                  1,816          7.7%       50.7%          29.2%               12.1%            0.3%            4.7:1
  Selectivity:
    Highly selective               1,694          7.6%       48.3%          28.9%               14.9%            0.4%            3.7:1
    Not highly selective           1,189          5.0%       43.8%          33.1%               17.9%            0.3%            2.7:1
  Carnegie classification:
   Doctoral/research                 641          6.1%       49.3%          30.4%               13.7%            0.5%            3.9:1
   Masters                         1,248          4.5%       38.9%          34.6%               21.9%            0.2%            2.0:1
   Baccalaureate                     994          9.3%       54.2%          25.7%               10.5%            0.4%            5.8:1
  Discipline:
    Agriculture or forestry            5         0.0%         0.0%          60.0%               40.0%            0.0%            0.0:1
    Biological sciences              157         2.5%        45.9%          39.5%               12.1%            0.0%            4.0:1
    Business                         221         1.8%        26.7%          37.6%               32.1%            1.8%            0.8:1
    Education                        175         4.6%        39.4%          30.9%               25.1%            0.0%            1.8:1
    Engineering                       45         0.0%        33.3%          44.4%               22.2%            0.0%            1.5:1
    English                          219        12.8%        58.4%          19.2%                9.1%            0.5%            7.4:1
    Health sciences                  115         0.0%        27.8%          43.5%               28.7%            0.0%            1.0:1
    History/political science        234        10.7%        57.7%          20.5%               11.1%            0.0%            6.2:1
    Humanities                       440         8.4%        49.1%          31.8%               10.7%            0.0%            5.4:1
    Fine arts                        258         5.4%        57.0%          23.3%               14.0%            0.4%            4.3:1
    Math/statistics                  131         2.3%        43.5%          30.5%               22.9%            0.8%            1.9:1
    Physical sciences                199         3.5%        47.7%          36.2%               12.6%            0.0%            4.1:1
    Social sciences                  390        10.0%        52.3%          26.9%               10.5%            0.3%            5.8:1
    Other technical                   47         2.1%        36.2%          31.9%               27.7%            2.1%            1.3:1
    Other                            108         5.6%        28.7%          42.6%               23.1%            0.0%            1.5:1
    Unknown                          139         7.9%        45.3%          30.2%               16.5%            0.0%            3.2:1
  Total                            2,883          6.4%       46.5%          30.6%               16.1%            0.3%            3.2:1




Second, we measured the degree of                 Results and Analysis                            there as a net shift of 10% toward the
change in students’ political orientation                                                         left in our sample, the students were
from their first year to their fourth year           We first took a descriptive look at the      actually moving towards the population
by subtracting the CSS political orienta-         students’ political orientation as identi-      norm, not away from it.
tion scale response from the freshman             fied in their freshman and senior years.           Table 5 shows the degree to which
political orientation scale response. Stu-        As shown in Table 4, there were slightly        student political orientation changed
dents who completed the freshman sur-             more students who identify as conserva-         from freshman to senior year. Almost
vey but did not complete the CSS were             tive or Far Right than liberal or Far Left      57% of the students identified the same
dropped from the analysis. Third, we              when entering college, with almost one-         orientation as seniors as they did as
developed an institutional peer-                  half identifying as middle of the road.         freshmen. Another 23% reported a
orientation variable by averaging the stu-        By the time these students graduated,           change of one scale placement to the
dent responses on political orientation           their orientation had moved to the left         left, and another 4% reported a change
from the freshman survey. This will tell          and liberal0Far Left students outnum-           of two or more to the left. To the right,
us, in relative terms, the political orienta-     bered conservative0Far Right students           14% reported a change of one scale
tion of the students as they arrived at           by more than 8%. While the net change           placement and a little more than 2% re-
college.                                          of more than 10% toward the left seems          ported movement of two or three place-
   We then ran a multiple regression              like a significant swing, this can be put       ments. In all, 27% moved to the left and
analysis to assess the relationship be-           in the context of the more left-of-center       16% moved to the right.
tween the independent institution-wide            political orientation of 18–24-year-olds
variables of faculty political orientation,       in the general population. Indeed, an           Regression
peer ~student! political orientation, con-        examination of the self-identified politi-
trol type, and selectivity level, and the         cal ideology of 18–24-year-olds who                Our analysis focused on the change
dependent variable, change in student             participated in the ANES ~also presented        in political orientation at the institu-
orientation. We also ran a regression             in Table 4! indicates that the senior-year      tional level and, using change in student
analysis with those same institution-wide         students in our sample identify as being        political orientation as the dependent
characteristics combined with the per-            left or right of center at the same general     variable, we ran a regression model
sonal student characteristics of gender,          rates as members of this age group in           with the following institutional
race0ethnicity, and family income.                the voting population. Thus, even though        characteristics:

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  Table 4
  Self-Identified Political Orientation
                                   Political Orientation of Student Sample, Freshman and Senior Years
                                                                                   Middle
                                  Far Left               Liberal                of the Road                  Conservative                 Far Right
  First-Year (1999)                1.6%                   23.3%                    47.8%                         26.0%                      1.3%
  Senior (2003)                    3.6%                   29.1%                    42.8%                         23.6%                      0.9%
  N = 6,807

                                                    Political Orientation of Population, 2004
                               Extremely          Liberal/Slightly             Moderate,                 Conservative/Slightly          Extremely
                                Liberal               Liberal              Middle of the Road               Conservative               Conservative
  Population at Large*            3.0%                22.0%                      33.5%                          37.4%                     4.0%
  18–24 Years Old**               5.3%                28.7%                      38.3%                          23.4%                     2.1%
  *N = 907 **N = 94
  Source: 2004 American National Election Study




  Table 5
  Change in Political Orientation by Degree of Movement on Orientation Scale, All Students
                                                           Moved Left                         No Change                     Moved Right
  First-Year Orientation                     −4         −3            −2           −1                0                1            2             3
  Far Right (N = 87)                       1.1%        3.4%          14.9%       58.6%             21.8%
  Conservative (N = 1772)                              1.1%          10.3%       32.0%             54.9%            1.6%
  Middle of the Road (N = 3254)                                       1.5%       25.1%             58.6%           14.5%          0.3%
  Liberal (N = 1586)                                                              8.4%             58.8%           25.7%          6.8%        0.3%
  Far Left (N = 108)                                                                               38.9%           42.6%         15.7%        2.8%
  Total (N = 6807)                         0.1%        0.3%          3.6%        23.0%             56.9%           14.0%          2.0%        0.1%




  • average faculty political orientation,        cause the literature and rhetoric on fac-              than men, and that as a student’s family
  • average freshman political                    ulty bias specifically identifies elite insti-         income becomes higher, change in politi-
    orientation,                                  tutions as being some of the worst                     cal orientation moves to the right. In nei-
  • institutional control ~religious0non-         offenders ~Horowitz and Light 2006!.                   ther of these regression models did
    religious!, and                                  Table 6 shows the results of the re-                faculty orientation have a significant re-
  • selectivity ~highly selective0not             gression model using the institutional                 lationship with the independent variable.
    highly selective!.                            characteristics noted above. Institutional                Finally, we categorized the 38 institu-
                                                  control was the only variable to reach a               tions into relative faculty orientation
    Understanding and controlling for the         level of significance ~p ⬍ .05!, where                 groups; the third with the lowest average
interaction between faculty orientation           students at non-religious schools moved                faculty orientation scores were labeled
and other characteristics is important            farther to the left than their counterparts            more conservative, the middle third were
because these characteristics allow us to         at religiously affiliated schools.                     labeled moderate, and the top third were
take into account other factors related to           We also ran a second regression model               labeled more liberal. Students in the
institutional culture. The political orienta-     to assess the impact of individual student             more conservative third of the institu-
tion of a freshman is important because           characteristics as well as institutional               tions ~in terms of faculty orientation! had
it tells us the orientation of the student        characteristics. In addition to the institu-           a mean orientation of 2.81, compared
prior to attending college and if students        tional factors included in the original                with 2.93 for students in the moderate
of a certain orientation self-select into         model, the second model also considered                group and 3.12 for students in the more
specific schools. Institutional control           gender, race ~white0non-white!, and esti-              liberal third ~see Table 8!. An analysis of
based on religion can certainly affect the        mated family income. As shown in                       variance ~ANOVA! finds that the differ-
political culture of a college or university      Table 7, both gender and family income                 ence in freshman political orientation
as well as the type of students who self-         reach levels of significance. Based on                 between these groups is statistically sig-
select into those institutions. Institutional     these findings we can tell that women                  nificant. Students entering the institutions
selectivity is particularly relevant be-          move more to the left while in college                 with more conservative faculty tended to

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                                                                                                    between the groups is very small and
  Table 6                                                                                           not statistically significant.
  Regression Analysis of Institution-Wide Variables on Student
  Change in Political Orientation
                                                                                                    Discussion
  Model                                           B      SE         b          t     Sig.
                                                                                                       The goal of this study is to assess
  Average faculty political orientation          −.064   .039     −.026     −1.627   .104           whether faculty political orientation is
    by institution                                                                                  associated with changes in student polit-
  Average freshman orientation by                 .086   .051      .025      1.675   .094           ical orientation. The findings presented
    institution                                                                                     here suggest that faculty political orien-
  Control (religious/non-religious)              −.053   .024     −.030     −2.212   .027           tation at the institutional level does not
  Selectivity (highly selective/not highly        .012   .023      .006       .517   .605           significantly influence student political
    selective)                                                                                      orientation. The descriptive data also
  F(4,6,802) = 3.343, R = .044, R 2 = .002                                                          indicate that while faculty orientation is
                                                                                                    overwhelmingly liberal, student orienta-
                                                                                                    tion when leaving college is not signifi-
                                                                                                    cantly different than the population at
                                                                                                    large. Our analysis did find that other
                                                                                                    institutional and personal characteristics,
  Table 7                                                                                           including institutional control, gender,
  Regression Analysis of Institution-Wide and Student                                               and socio-economic status, have an ef-
  Demographic Variables on Student Change in Political                                              fect on changes in student political ide-
  Orientation                                                                                       ology. It should be noted that neither
                                                                                                    of the regression models had a high
  Model                                           B      SE         b          t     Sig.           level of predictive value ~R 2 ⫽ .002,
  Average faculty political orientation          −.064   .041     −.027     −1.574   .115           R 2 ⫽ .006!, but they did show which
    by institution                                                                                  key variables were significantly corre-
  Average freshman orientation by                 .100   .055      .029      1.820   .069           lated with change in student political
    institution                                                                                     orientation.
  Control (religious/non-religious)              −.079   .026     −.044     −3.088   .002              The finding that institutional control is
  Selectivity (highly selective/not highly        .034   .024      .018      1.395   .163           correlated with change in political orien-
    selective)                                                                                      tation is not surprising. Students at reli-
  Gender                                         −.081   .021     −.050     −3.895   .000           giously controlled institutions were less
  Race/ethnicity (white/non-white)               −.024   .031     −.010      −.779   .436           likely to move to the left during their
  Estimated parental income                       .009   .004      .031      2.338   .019           college career and we believe that this is
                                                                                                    most likely due to self-selection. Stu-
  F(7, 6185) = 5.295, R = .077, R 2 = .006.                                                         dents with strong religious beliefs are
                                                                                                    probably more likely to attend religiously
                                                                                                    controlled institutions. Institutional cul-
                                                                                                    ture may also play a part, as both the
be more conservative, students entering            from freshman to senior year for the             freshman and faculty surveys indicate
the liberal institutions were more liberal,        students in each of the three groups.            higher levels of conservatism among
and the students entering the moderate             As Table 8 also shows, all three groups          peers and faculty members at religious
institutions fell between the two other            moved slightly to the left. Though the           institutions.
groups.                                            conservative group shifted to the left              Our results show that female college
   We also examined the differences in             to a lesser degree than the other two            students are more likely than men to
the mean change in political orientation           groups, the differences in mean change           move to the left during the course of



  Table 8
  Mean Freshman and Senior Political Orientation by Relative Faculty Institutional Orientation
                                                                 Freshman                           Senior
                                                           Political Orientation             Political Orientation
  Relative Faculty Orientation               N           Mean               SD               Mean               SD             Mean Change
  More Conservative                     1,149             2.81             0.738             2.91              .758                 .10
  Moderate                              3,161             2.93             0.758             3.06              .828                 .13
  More Liberal                          2,497             3.12             0.802             3.26              .852                 .14
  Total                                 6,807             2.98             0.779             3.11              .835                 .13
  Differences across faculty orientation groups were statistically significant at both the freshman and senior levels, F(2, 6807) =
  72.93, 77.14, p < .000. The differences in mean change were not significant, F(2, 6807) = 1.09, p = .333. Institutions were
  ranked from liberal to conservative and divided into thirds for the purpose of this analysis. Political orientation scale is as fol-
  lows: 1 = Far Right, 2 = conservative, 3 = middle of the road, 4 = liberal, 5 = Far Left.


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their college careers. It is well estab-             adopting the political positions of their          shock—the September 11 terrorist at-
lished that in the general population                liberal professors.                                tacks. The college students in our sample
women are more liberal than men and                      Another limitation of this paper is that       began college in the fall of 1999 and
according to Dey ~1997! and data from                it focuses on institutions and, in doing so,       finished in the spring of 2003. For the
the ANES that is also the case for                   it does not tell us much of anything about         students in this sample, the terrorist at-
college-aged women.20 Our results also               a student’s individual experiences or the          tacks of September 11, 2001, took place
indicate that higher socioeconomic status            ideological views of the particular profes-        at the start of their junior year in college,
~as measured by estimated parental in-               sors a student interacted with during their        roughly midway through their college
come! is associated with changes in po-              college career. While it would be prefera-         careers. Clearly, the September 11 at-
litical orientation toward the right. The            ble to take into account the ideology of           tacks have the potential to impact this
finding that more wealthy students are               the faculty members who actually taught            cohort of students’ political viewpoints.
more likely to move to the right during              each particular student, privacy laws              For this reason, further research is
the course of their college careers ~and             make it very difficult to gather the data          needed to assess whether similar changes
vice versa! may reflect increasing student           without running into considerable prob-            occur for other groups of students whose
awareness about political parties and ide-           lems with regard to sample size and rep-           college careers occurred under different
ologies and where they stand on issues               resentativeness. In addition there are             historical circumstances.
related to wealth, taxes, and government             some advantages to our approach of look-               To summarize, there are four impor-
assistance for lower-income Americans                ing at overall faculty ideology. Part of the       tant findings here related to questions
~see for instance Stonecash, Brewer, and             argument is that students are being indoc-         about faculty ideology and fears that lib-
Mariani 2002!.                                       trinated not just in class, but from the           eral faculty members are indoctrinating
    Though we are hopeful that this study            general climate created by faculty mem-            students to adopt a liberal ideology. First,
contributes to ongoing debates about                 bers that pervades their teaching, scholar-        it is very clear that faculty members tend
faculty ideology and indoctrination,                 ship, and outside of the classroom                 to be liberal and are much more liberal
there are some limitations to this study             activities. The indoctrination argument is,        than the general population. Second,
that should be taken into account by                 in large part, about what goes on in the           there is evidence that there is a degree of
other researchers. We are mindful, for               classroom. But what goes on in the class-          self-selection going on among students
instance, that our finding that students             room is affected by the broader campus             when they choose a college. Students
move leftward during college is not, by              culture and vice versa. Thus, the overall          tend to enroll at institutions that have a
itself, evidence of indoctrination. Stu-             faculty ideology of the institution is likely      faculty orientation make up more similar
dents may move to the left as a result               to influence all students in some way.             to their own. This area is ripe for further
of other factors, such as shared cultural                Though the number of students exam-            research, for there may be other institu-
influences, a common stage in personal               ined here is considerable ~6,807!, the             tional factors at play, such as campus
development, or as a reaction to peer                number of institutions remains relatively          culture or history. Third, students whose
pressure, current events, or political de-           small ~38!. We were limited by the fact            ideology changes while in college tend
velopments. We have tried to deal with               that relatively few institutions participate       to change to the left, but that movement
this problem by controlling for faculty              in all three of the surveys needed to ac-          is within the normal orientation range of
ideology; if faculty ideology has an im-             count for faculty ideology and changes             18–24-year-olds in the general popula-
pact on student ideology then changes in             in student ideology over time. There are           tion. Fourth, and most important, there is
student ideology should be more pro-                 no public universities in the sample, and          no evidence that faculty ideology at an
nounced at institutions with more liberal            large percentages are selective liberal            institutional level has an impact on stu-
faculty members and vice versa. We                   arts colleges. Though this is a limitation,        dent political ideology. Student political
find little evidence that this is the case.          many of the conservative critiques focus           orientation does not change for a major-
Of course, this finding does not neces-              in particular on elite and private col-            ity of students while in college, and for
sarily mean that professors act fairly or            leges, so it is not entirely without merit         those that do change there is evidence
without ideological bias in their teach-             to use this sample as a test of the indoc-         that other factors have an effect on that
ing, subject matter, or selection of read-           trination argument. It should also be              change, such as gender and socioeco-
ing materials. Professors could, after all,          noted that students at these institutions          nomic status. Based on the data pre-
be failing to indoctrinate students de-              who take longer than four years to com-            sented in this study, college students
spite their concerted efforts to do so!              plete their programs are unlikely to be            appear to be more firm in their political
Regardless of any biases ~intentional or             included in the senior year surveys used           beliefs than conventional wisdom sug-
unintentional! that professors bring to              in this study ~and were therefore likely to        gests. Though students’ political ideology
their teaching, the findings presented               be dropped from the dataset!.                      is not set in stone, it does not appear to
here may help alleviate the concern that                 A final limitation of this study relates       change as a result of faculty ideology, at
students, on a widespread basis, are                 to the potential impact of an exogenous            least at an institutional level.




Notes
    * We wish to thank John Pryor of the             author is conservative and has worked exten-       www.horowitzfreedomcenter.org0FlexPage.aspx?
Higher Education Research Institute at UCLA,         sively for Republican candidates and officehold-   area⫽aboutus ~June 8, 2007!.
Daniel Klein at GMU, and our colleagues at           ers, while the other is liberal and active in           2. The full text of the Academic Bill of
Hamilton College and Xavier University for           Democratic politics at the local level.            Rights is available at www.studentsforacademic-
their support and assistance on this project.             1. The Center for the Study of Popular        freedom.org. A print version can be found in
Given that this is a study of faculty ideology, it   Culture was launched by Horowitz in 1988.          Horowitz ~2007, 129–132!. See also Horowitz
seems reasonable to be open about our own            In 2006, the center was renamed the David          2004, Hebel 2004, and Klein 2004.
ideological dispositions. We come from diver-        Horowitz Freedom Center. See David                      3. Rep. Jack Kingston ~R-GA!, as cited in
gent political and ideological perspectives. One     Horowitz Freedom Center, “About Us.”               Alyson Klein ~2004!. See also Horowitz 2004.

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Note too that there are those on the right who        wing” ~46!. Similarly, a study of sociologists at     fices rather than as assistant professors in En-
have voiced their opposition to the Academic          Berkeley and Stanford ~Klein and Western 2005!        glish departments. Does an ‘overrepresentation’
Bill of Rights; see for instance Beck 2005.           found 27 registered Democrats and zero regis-         of Democratic anthropologists mean Republican
      4. In 2005 and 2006, the Academic Bill of       tered Republicans ~60!. Rothman, Lichter, and         anthropologists have been shunted aside?” For
Rights was introduced in Congress and at least        Nevitte’s ~2005! study, which utilized 1999 sur-      additional examples of this argument, see Jaschik
21 state legislatures. It resulted in a series of     vey data, found 59 Democrats and zero Republi-        2005b, Fogg 2005, and Knepp 2006.
highly contentious state legislative hearings         cans among sociology professors examined in               14. For its part, the public seems to have
~Schrecker 2006; Jacobson 2006a! but little           their sample.                                         accepted the argument that college faculties are
concrete legislative action. See, for instance,           10. These findings include data from com-         liberal but remains unclear as to the conse-
Jacobson 2005, 2006a, 2006c, 2006d, 2006e,            munity college faculty, who were more evenly          quences. This is evident from the results of a
and Jaschik 2006a. For a state by state roundup       split ideologically than their colleagues at four-    2004 survey of 1,000 adults by The Chronicle of
on the status of legislation related to the           year institutions; as a result, HERI’s findings       Higher Education, which found that although
Academic Bill of Rights, see the Free                 likely understate the liberalism of faculty mem-      half of all respondents agree that “colleges im-
Exchange Coalition’s “Legislative Tracker”            bers at four-year institutions. Note that one         properly introduce a liberal bias into what they
at www.freeexchangeoncampus.org0index.php?            prominent opponent of the Academic Bill of            teach,” the overall level of public trust in col-
option⫽com_content&task⫽section&id⫽5&                 Rights, Michael Berube, views the HERI data as        leges remains quite high ~Selingo 2004!.
Itemid⫽61 ~September 24, 2007!. Note that the         particularly definitive. Berube concludes that            15. Rothman’s sample of 1,643 faculty mem-
AAUP, which strongly opposes the Academic             “there’s really no question, then, that campuses      bers at 183 colleges was dismissed by Michael
Bill of Rights, is a member of the Free Ex-           are teeming with liberal faculty, especially when     Berube, for instance, because the study is “based
change Coalition.                                     campuses are compared with the rest of the            on an astonishingly smaller data sample than that
      5. The CSPC has also criticized the lack of     country. That 48–18 differential is pretty signifi-   of the Higher Education Research Institute”
ideological balance among commencement                cant” ~Berube 2006, 41!. Berube argues that con-      ~Berube 2006, 68!.
speakers. See Horowitz 2003.                          servatives’ studies, however, magnify the ratio of        16. See also Jaschik 2006b and Jacobson
      6. Similar efforts to detail disparities in     liberals to conservatives by “cherry-picking,”        2006b. Note that George Leef ~2006! and Ste-
party identification among the faculty at specific    “cooking data,” and making up “new numbers            phen Balch ~2006! at NRO’s Phi Beta Cons raise
college campuses were also launched by local          more to their liking” ~41–2!.                         concerns that the study does not refute grading
chapters of a CPSC spinoff organization known             11. In business, the breakdown was 49 to 39       bias since it does not take into account changes
as Students for Academic Freedom ~SAF!. See,          liberal to conservative, 26 to 26 Democrat to         in student ideology or student efforts to accom-
for instance, the report compiled by students         Republican. In economics, the breakdown was           modate liberal professors’ views in their own
affiliated with the SAF chapter at the University     55 to 39 liberal to conservative and 36 to 17         coursework.
of Nevada Las Vegas ~Jawel et al. 2004!.              Democrat to Republican. Note too that Rothman,            17. See, for instance, the results of a survey
      7. Conservative critics have pointed to these   Lichter, and Nevitte ~2005! concluded that con-       of students at the top 50 colleges and universi-
studies as final confirmation that the professori-    servatives, women, and Christians were more           ties that was sponsored by the American Council
ate is disproportionately left-wing in political      likely to work at lower-tier institutions, even       of Trustees and Alumni ~ACTA!—an organiza-
orientation. See, for instance, Zinsmeister 2005.     when controlling for qualifications.                  tion launched with the help of former NEH chair
      8. Klein and Stern’s ~2005a! survey of aca-         12. Zipp and Fenwick ~2006! appear to be          Lynn Cheney, former Colorado governor Richard
demics in six social science disciplines ~anthro-     referring to faculty who label themselves as          Lamm, and Senator Joe Lieberman ~American
pology, sociology, political science, political and   “conservative” as opposed to the somewhat             Council of Trustees and Alumni 2004!. Accord-
legal philosophy, economics, and history! found       larger group of faculty members who consider          ing to the ACTA survey, 48% of students re-
that respondents voted overwhelmingly Demo-           themselves “moderately conservative.” Indeed,         ported that campus presentations on political
cratic and that the support for Democratic candi-     the percentage of faculty members who identify        issues “seem totally one-sided” and 46% agreed
dates among academics has increased since the         as strictly “conservative” is so small ~just 6.6%     that professors “use the classroom to present
1970s. In their survey, 80% of respondents were       of the sample! that Zipp and Fenwick collapse         their personal political views” ~American Coun-
identified as Democrats and only 8% Republi-          the two conservative categories into one while        cil of Trustees and Alumni 2004!. See also Neal,
cans. Based on this data, the authors estimate        retaining two separate categories for liberal and     French, and Siegel ~2005!.
that a 7 to 1 Democrat to Republican ratio is a       moderately liberal faculty members.                       18. In the words of one of the authors of the
“safe lower bound estimate” for the ideological           13. UCLA historian Russell Jacoby ~2005!          study: “student’s aren’t simply sponges” ~Jaschik
tilt of faculty in the disciplines that they exam-    argues that “More leftists undoubtedly inhabit        2006b!.
ined ~47!. In another study based on the same         institutions of higher education than they do the         19. The following values were assigned: 1 ⫽
data, Klein and Stern also found few conserva-        FBI or the Pentagon or local police and fire de-      Far Right, 2 ⫽ conservative, 3 ⫽ middle of the
tives and libertarians in those six disciplines       partments, about which conservatives seem little      road, 4 ⫽ liberal, 5 ⫽ Far Left.
~Klein and Stern 2005b!.                              concerned, but who or what says every corner of           20. According to the American National
      9. Klein and Stern’s survey of members of       society should reflect the composition of the na-     Election Study of 2004, 29.6% of females of all
the American Sociology Association found an           tion at large? Nothing has shown that higher ed-      ages self-identified as left-of-center ~slightly lib-
almost complete absence of classical liberals and     ucation discriminates against conservatives, who      eral, liberal, or extremely liberal!, compared to
a 28 to 1 Democrat to Republican vote tendency        probably apply in smaller numbers than liberals.      20.7% of males. Among 18–24-year-olds, 38.9%
~Klein and Stern 2006: 44!. The authors con-          Conservatives who pursue higher degrees may           of females identified themselves as left of center,
clude that sociologists are “predominantly left-      prefer to slog away as junior partners in law of-     compared to 33.3% of males ~ANES 2004!.




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                                                                       40               28      4.21     .686
                                                                       41              135      4.53     .845
                                                                       42              121      3.66     .737
                                                                       43               54      3.31     .843
                                                                       45               50      3.80     .700
                                                                       46               66      3.35     .903
                                                                       47               38      3.42     .889
                                                                       Total         2,883      3.43     .846
                                                                       Scale: 1 = Far Right, 2 = conservative,
                                                                       3 = middle of the road, 4 = liberal,
                                                                       5 = Far Left




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Politics
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Why College Students Drift Left: The
Stability of Political Identity and Relative
Malleability of Issue Positions among
College Students
Matthew Woessner, The United States Army War College
April Kelly-Woessner, Elizabethtown College


  ABSTRACT In considering the liberalizing effect of college on students’ political values, we
argue that political identities—in the form of self-identified ideology or partisanship—are
components of social identity and are resistant to change. Using data from the Higher
Education Research Institute’s student surveys, we show that what movement in identity
does occur is mostly a regression to the mean effect. On several issue positions, however,
students move in a more uniform leftward direction. We find that liberal drift on issues is
most common among students majoring in the arts and humanities. Self-reported ideology
does drift left at liberal arts colleges, but this is explained by a peer effect: students at liberal
arts colleges drift more to the left because they have more liberal peers. The results have
implications for future research on college student political development, suggesting that
attitudinal change can be more easily identified by examining shifts in policy preferences
rather than changes in political identity.




I
        n the past decade, scholars have used rigorous empirical                                                                  motivated such that scholars find no evidence of attitude change
        studies to advance our understanding of how the college                                                                   when change is defined as “indoctrination” yet do find evidence of
        experience influences students’ political attitudes. Studies                                                              change when it is framed as positive social growth. We offer an
        in political science and sociology conclude that concerns                                                                 alternative explanation, based on different measures of attitude
        about political indoctrination in college are overstated                                                                  change.
because students show little change in their social and political                                                                     Studies that address the indoctrination claim tend to measure
attitudes over the course of their undergraduate education (Mariani                                                               shifts in college students’ political party identification and ideo-
and Hewitt 20081; Rothman, Kelly-Woessner, and Woessner 2011).                                                                    logical self-identification, whereas studies that focus on college
    However, studies in student development have found that                                                                       student social and political development as a measure of educa-
college leads to more liberal views on issues of abortion (Astin                                                                  tional success tend to find evidence of change in students’ issue
1993; Bolzendahl and Myers 2004); civil liberties (Bobo and Licari                                                                positions. We argue that the two sets of findings are not incon-
1989; Campbell and Horowitz 2016); and gender roles (Astin 1993;                                                                  gruent. Rather, political party and ideology are forms of social
Bolzendahl and Myers 2004; Campbell and Horowitz 2016; Pas-                                                                       identity, making them more resistant to change than issue posi-
carella and Terenzini 2005). One possible explanation for these                                                                   tions. Therefore, it is reasonable and predictable that college
differences is that interpretation of research findings has been                                                                  students would move more on specific issues than on party
                                                                                                                                  affiliation or ideological identification.
Matthew Woessner is professor of institutional research at The United States Army War
College. He can be reached at matthew.woessner@armywarcollege.edu. The views                                                      THE RESILIENCE OF POLITICAL IDENTITY AND IDEOLOGICAL
expressed are those of the author and do not reflect the official policy or position of the
                                                                                                                                  SELF-IDENTIFICATION
Department of the Army, Department of Defense or the US Government.
April Kelly-Woessner is professor of political science at Elizabethtown College. She can                                          Political scientists tend to fall into two primary schools of thought
be reached at kellya@etown.edu.                                                                                                   on the nature of party identification. Scholars from the first group,

doi:10.1017/S1049096520000396                                                                 © American Political Science Association 2020                                                                           PS • October 2020 657
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often referred to as the Michigan model, argue that party affili-                                                                 influence on left–right self-placement….[t]he resulting identifica-
ation is a psychological attachment to a political party and is                                                                   tions tend to persist as long as one’s relational context does not
relatively stable over time (Campbell et al. 1960; Miller 1976; 1991;                                                             change markedly.”
Miller, Shanks, and Shapiro 1996). For example, in The American                                                                       We argue, therefore, that students’ ideological identities are
Voter, Campbell et al. (1960, 146) concluded that party attachments                                                               resistant to change, whereas their issue positions are more malle-
are formed early, often as the result of parental influence, and                                                                  able. If this is the case, any “liberalizing” effect of college would
are characterized by a “persistent adherence and a resistance to                                                                  appear first in students’ issue positions.
contrary influences.”
    The second school of thought, the revisionist school, emerged                                                                 DATA AND METHODS
from Fiorina’s (1981) work, which argued that party identification                                                                Our analysis was based on student surveys from the Higher
is a retrospective analysis of political events and candidates that is                                                            Education Research Institute (HERI) at the University of Califor-
subject to change over time (see also Brody and Rothenberg 1988;                                                                  nia, Los Angeles, including the 2009 CIRP Freshman Survey (TFS)
Franklin and Jackson 1983; Jennings and Markus 1984).                                                                             and the 2013 CIRP College Senior Survey (CSS). The combined
    More recently, researchers have returned to the original school                                                               TFS-CSS data include 17,667 students at 156 campuses who com-
of thought, arguing that party affiliation is an enduring psycho-                                                                 pleted both the freshman and senior surveys at the same institution.
logical attachment, formed early in the socialization process.                                                                       Both the TFS and CSS ask students about their demographic



Rather, political party and ideology are forms of social identity, making them more
resistant to change than issue positions.

Bartels (2002), for example, found that party identification is a                                                                 background, political attitudes, and college experiences (HERI
“pervasive dynamic force” consistent with the Michigan-model                                                                      2018a; 2018b). Because the two surveys ask certain identical
view that “partisan loyalties are formed early in life, remain per-                                                               questions, we could measure shifts in students’ political attitudes
fectly stable throughout adulthood, and serve as the unmoved                                                                      over time on both specific issues and self-placement using a
movers of more specific political attitudes and behavior.” Green                                                                  symbolic five-point ideological scale (i.e., “far left,” “liberal,”
and colleagues argued that revisionist interpretations are the result                                                             “centrist,” “conservative,” and “far right”). This ideology variable
of measurement error and that accounting for such error eliminates                                                                also allowed us to measure the mean student ideology for students
the effects of short-term forces on party identification (Green and                                                               at a particular campus. Finally, the data include institutional
Palmquist 1990; 1994; Schickler and Green 1997). These findings                                                                   variables such as college ranking and Carnegie classification.
support the conceptualization of party identification as a form of
social identity (Green, Palmquist, and Schickler 2002; Mason 2015).                                                               RESULTS
    Compared to party identification, ideology is a more amorph-                                                                  The results of the 2009–2013 panel study (figure 1; table 1) reveal
ous concept. Although scholars debate the meaning, definition,                                                                    that, consistent with previous studies (Mariani and Hewitt 2008;
and measurement of ideology, most of the debate centers on what                                                                   Rothman, Kelly-Woessner, and Woessner 2011; Woessner and
Ellis and Stimson (2012) classified as “operational” ideology.                                                                    Kelly-Woessner 2009), students’ ideological self-placement is
Operational ideology is a measure of actual issue positions, mak-                                                                 relatively stable, with changes tending to regress toward the mean.
ing ideological placement dependent on how we define political                                                                    Most respondents reported exactly the same ideological identifi-
dimensions. “Symbolic” ideology, conversely, is a measure of self-                                                                cation in their first and fourth year of college. Ideological shifts, to
identification or social identity.                                                                                                the extent that they occur, typically are a single-unit change
    In fact, Mason (2015) found that increased political polariza-                                                                (e.g., moving from far left to liberal or from centrist to conserva-
tion in recent years has created greater alignment between party                                                                  tive). We also see evidence of a regression toward the mean.
identification and ideological identification, with people showing                                                                Students who identified as right-of-center (i.e., conservative or
stronger attachments to both. Thus, party affiliation and ideo-                                                                   far right) moved to the left. However, figure 1 shows that among
logical self-identification work together as a bias to shape political                                                            left-leaning students (i.e., liberal or far left) whose ideological
behaviors and interpretation of information.                                                                                      views changed, a majority moved right rather than farther left.
    The argument that symbolic ideology and operational ideology                                                                      Although both sides regress toward the mean, the net effect is a
are separate constructs is supported by the fact that self-reported                                                               slight overall shift to the left. Conservative students are more likely
ideologies often are at odds with issue positions (Stimson 2004).                                                                 than liberal students to regress toward the mean. Students who
This also is true in studies specifically of college students, who                                                                start out as centrist are twice as likely to move left than right. The
tend to express greater support for progressive policy positions                                                                  net impact of these shifts is shown in the bar chart to the right of the
than their self-reported ideological identifications would predict                                                                table in figure 1. Here and in the remaining bar charts in the article, a
(Bailey and Williams 2016).                                                                                                       negative number shows the mean shift to the left over four years
    Self-reported ideology, as used on surveys of college students’                                                               whereas a positive number shows the mean shift to the right. On
political attitudes, is therefore similar to party affiliation in that it                                                         ideological self-identification, a typical left-of-center student moves,
has strong affective components, is a form of social identity, and is                                                             on average, 0.27 units to the right in four years. A typical centrist
resistant to change. According to Jost, Federico, and Napier (2009),                                                              student drifts 0.13 units to the left in four years. A typical right-
“peer and reference groups also exert a reasonably strong                                                                         leaning student moves 0.48 units to the left in four years.


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    Figure 1
    Shift in Ideological Self-Placement* from the First to the Fourth Year




                                                                                                                                  than one unit on the ideological scale, 9% moved more than one unit
    Table 1                                                                                                                       on racism and 11% moved more than one unit on affirmative action.
    Shift in Ideological Self-Placement* from                                                                                     What movement did occur was overwhelmingly to the left.
                                                                                                                                      Figures 4 and 5 and tables 4 and 5 are overalls breakdowns of
    the First to the Fourth Year                                                                                                  students’ agreement with the two statements: “same-sex couples
                                  1st Year Ideological Self-Placement                                                             should have the right to legal marital status” and “abortion should
                                                                                                                                  be legal.” As in figure 2, about half of the students did not change
     Shift in Ideology                  Left           Middle            Right           Percent                n
                                                                                                                                  their view on gay marriage or abortion over time. Among students
    >1 units Left                       0%               1%               8%                3%                397                 who altered their position, respondents tended to move consist-
    1 unit Left                         5%              24%              33%              20%               3,323                 ently leftward, regardless of their initial ideological identification.
    Same                               66%              63%              57%               62%             10,245                 On same-sex marriage, 40% of students moved to the left, with 14%
    1 unit Right                       24%              12%               2%               13%               2,191                moving more than one unit. On abortion, 35% of students moved
    >1 unit Right                       4%               0%               0%                1%                222                 to the left, with 11% moving more than one unit. Right-leaning
    Total                             100%             100%             100%              100%                                    students moved the most, shifting an average of 0.84 units left on
                                                                                                                                  same-sex marriage and 0.39 units left on abortion.
    n                                 5,392            6,514            4,520                              16,426
                                                                                                                                      The shifts in student views of gay marriage from 2009 to 2013 are
    * Note Pew Shows from 2007 to 2010 the public's PID shifted slightly to the                                                   hardly surprising; the public was undergoing a similar turnabout.
      Republicans (http://www.people-press.org/2018/03/20/party-identification-
      trends-1992-2017/).                                                                                                         The Pew Center polling shows a 5% shift in overall support for gay
                                                                                                                                  marriage in roughly the same period. However, the public’s overall
                                                                                                                                  views on abortion changed hardly at all.2 Yet, we saw students
   Whereas ideology tends to be stable over time, issue positions                                                                 moving left on abortion far more often than they drifted right. Thus,
are more fluid. Figures 2 and 3 and tables 2 and 3 are overall                                                                    attitudes toward abortion are at least one example of how the
breakdowns of two issue positions measured in both the first and                                                                  college experience contributes to a substantive shift in political
second waves of the panel study. The top table shows the shift in                                                                 views over a relatively short period. This movement on abortion is
students’ support for affirmative action—or “preferential treatment                                                               consistent with Astin’s (1993) analysis 27 years earlier, which found
in college admissions”—over four years. The bottom table shows                                                                    abortion to be the issue on which students’ views changed the most.
shifts in students’ assessment of whether “racism is a serious                                                                        In addition to issue positions, we examined change in student
problem.” Whereas approximately 60% of students had consistent                                                                    attitudes on the question of whether “dissent is a critical component of


Thus, attitudes toward abortion are at least one example of how the college experience
contributes to a substantive shift in political views over a relatively short period.

ideological self-identification from the first to the second wave of                                                              the political process.” On this question (figure 6, table 6), students
the panel study, slightly less than 50% had consistent answers to                                                                 across all ideological groups gained in their appreciation for dissent,
questions about race. Overall, students across the ideological spec-                                                              countering popular claims that colleges and universities make students
trum moved to the left on the issue of affirmative action. They                                                                   less tolerant of opposing viewpoints. At least in principle, students
showed little net movement on the question of whether racism is a                                                                 appeared to gain an appreciation for the value of dissenting voices.
serious problem. Yet, on both questions, more than twice as many                                                                      To access the factors that might contribute to leftward issue
students reported significant changes in attitudes than on the                                                                    drift, we created a series of regression models (table 7) predicting
question of ideology. Whereas only 4% of students moved more                                                                      students’ ideological change, issue-position change on the four


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    Figure 2
    Shift in Student Views First to the Fourth Year by First Year Ideological Self-Placement:
    Affirmative Action




    Figure 3
    Shift in Student Views First to the Fourth Year by First Year Ideological Self-Placement: Racism




    Table 2                                                                                                                           Table 3
    Shift in Student Views on Affirmative                                                                                             Shift in Student View on Racism by First to
    Action by First to Fourth Year by First-Year                                                                                      Fourth Year by First-Year Ideological
    Ideological Self Placement                                                                                                        Self-placement
                                               Shift in View Affirmative Action*                                                                        Shift in View that “Racism is a Serious Problem”
                                              1st Year Ideological Self-Placement                                                                                             1st Year Ideological Self-Placement
    Shift 1st to 4th Year                    Left          Middle           Right          Percent               n                    Shift 1st to 4th Year                   Left          Middle           Right         Percent               n
    >1 units Left                            8%              6%              8%               8%               599                    >1 units Left                            4%             4%              5%              4%               391
    1 unit Left                             28%             25%              23%             26%             2,254                    1 unit Left                             23%            22%             24%             22%             2,400
    Same                                    43%             44%             48%              45%             3,943                    Same                                    49%            47%             45%             48%              5,113
    1 unit Right                             17%            20%              18%              18%             1,554                   1 unit Right                            20%            22%             20%              21%             2,241
    >1 unit Right                            3%              4%              4%               3%               257                    >1 unit Right                            4%             5%              5%              5%               424
    Total                                  100%             100%            100%                             100%                     Total                                  100%           100%            100%            100%

    n                                      4,699            5,684           4,025                            8,724                    n                                      4,819          5,887           4,129                            10,706
    * Note Pew Shows from 2007 to 2010 the public's views on Affirmative Action &                                                     * Note Pew Shows from 2007 to 2010 the public's views on Affirmative Action &
      Racism was static. http://www.people-press.org/2012/06/04/section-8-values-                                                       Racism was static. http://www.people-press.org/2012/06/04/section-8-values-
      about-immigration-and-race/#affirmative-action.                                                                                   about-immigration-and-race/#affirmative-action.




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    Figure 4
    Net Ideological Shift in Gay Marriage by First Year Ideology




    Figure 5
    Net Ideological Shift in Abortion by 1st Year Ideology




    Table 4                                                                                                                           Table 5
    Shift in Student Views of Gay Marriage by                                                                                         Shift in Student Views on Abortion by First
    First to Fourth Year-Ideological Self-                                                                                            to Fourth Year by First-Year Ideological
    Placement                                                                                                                         Self-Placement
                                                   Shift in View Gay Marriage*                                                                                                Shift in View on Abortion**
                                             1st Year Ideological Self-Placement                                                                                         1st Year Ideological Self-Placement
    Shift 1st to 4th Year                    Left          Middle           Right          Percent               n                    Shift 1st to 4th                   Left          Middle          Right          Percent              n
                                                                                                                                      Year
    >1 units Left                            5%             13%             27%              14%              2,131
    1 unit Left                             16%             31%             31%              26%             3,867                    >1 units Left                      7%             12%             14%             11%             1,617

    Same                                    74%             48%             36%              53%             7,844                    1 unit Left                       21%             29%            23%              24%            3,600

    1 unit Right                             4%              6%              5%               5%               752                    Same                              61%             44%            53%              52%             7,710

    >1 unit Right                            1%              2%              2%               1%               205                    1 unit Right                       9%             12%             7%              10%             1,407

    Total                                  100%            100%            100%                              100%                     >1 unit Right                      2%              3%             3%               3%              407
                                                                                                                                      Total                            100%            100%           100%                             100%
    n                                      4,699           5,684           4,025                            14,799
                                                                                                                                      n                                4,792           5,832           4,117                           14,741
    * Note Pew Shows from 2007 to 2010 the public's PID shifted about 5% in favor of Gay
      Marriage (http://www.pewforum.org/fact-sheet/changing-attitudes-on-gay-                                                         ** Note Pew Shows from 2007 to 2010 the public's views on abortion did not
      marriage/)                                                                                                                         meaningfully change. (See: http://www.pewforum.org/fact-sheet/public-opinion-
                                                                                                                                         on-abortion/)




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    Figure 6
    Shift in “Dissent Is a Critical Component of the Political Process” First to Fourth Year




                                                                                                                                  programs. Second, the greatest concentration of left-leaning
    Table 6                                                                                                                       faculty are in the humanities and social sciences (Rothman, Kelly-
    Shift in “Dissent Is a Critical Component of                                                                                  Woessner, and Woessner 2011). The positive coefficients on ideo-
    the Political Process” First to Fourth Year                                                                                   logical drift, abortion position, affirmative action, and racism point
                                                                                                                                  toward what we expected. Students in the arts and humanities
                                             1st Year Ideological Self-Placement                                                  drifted left more so than other students. Yet, they also showed
    Shift in Ideology                       Left          Middle           Right          Percent                n                greater gains than other students in appreciation for dissent.
                                                                                                                                      Almost across the board, being at a highly ranked school was
    >1 units pro dissent                    5%              5%              6%               5%                615
                                                                                                                                  associated with more leftward movement of students over four years.
    1 unit pro dissent                     24%             23%             22%              23%              3,138                It is especially noteworthy that this was true even when controlling
    Same                                   48%             48%             50%              48%              6,659                for students’ ideological self-placement in their freshman year and
    1 unit anti dissent                    21%             22%              19%              21%             2,840                the average ideological placement of peers at their institution. This
      >1 unit pro dissent                   3%              3%              3%               3%                356                suggests that there is an effect of elite education on political values
    Total                                 100%            100%            100%                               100%                 that is independent of the political ideological views of students who
    n                                     3,868           5,436            4,431                            13,735                attend the university. Whereas it may be the fact that faculty at these
                                                                                                                                  institutions are different and exert a stronger effect on students,
                                                                                                                                  Campbell and Horowitz (2016) argued that there is a family effect for
                                                                                                                                  students: that is, wealthier families influence students’ politics to the
policy questions, and changes in their belief that “dissent is a                                                                  left in their college years. Accordingly, university ranking may serve
critical component of the political process.”                                                                                     as a proxy for these family characteristics.
    On the demographic variables, results are somewhat mixed.                                                                         The relationship between liberal arts college classification and
Women moved more to the left than men on general ideological                                                                      students’ drift to the left was confounded by peer ideology. When
identification and the view that racism is a serious problem. Men,                                                                peer ideology was removed from our models, liberal arts colleges
however, moved more leftward than women on the issue of gay                                                                       tended to produce more leftward movement on overall ideological
marriage. Men also shifted more than women toward the view that                                                                   identification (p<0.001). The addition of peer ideology eliminated
dissent is important to the political process. Nonwhite students                                                                  the effect. This means that the leftward drift of students at liberal
moved more to the left in four years than white students on self-                                                                 arts colleges is explained by the fact that their peers tend to be
reported ideology, abortion, and gay marriage.                                                                                    more liberal than those at other universities.


This means that the leftward drift of students at liberal arts colleges is explained by the fact
that their peers tend to be more liberal than those at other universities.

    We hypothesized that leftward movement is related to stu-                                                                        Peers have an independent effect in several of the models.
dents’ majors, with students in the arts, humanities, and social                                                                  With the exception of gay marriage, the effect is positive; this
sciences moving farther to the left than those in professional                                                                    means that students move more to the left—independent of their
majors and the hard sciences. We made this assumption for two                                                                     ideological self-placement—when their peers are more to the left.
reasons. First, debates about social policy are more likely to occur                                                              Students also learn to value dissent more when exposed to liberal
in the liberal arts than in the hard sciences and professional                                                                    versus conservative peers.


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    Table 7
    Regression Predicting Shifts in Student Views from the First to Fourth Years
    Independent Variable                                              Ideology                       Abortion                      Gay Marriage                   Affirm Action                 Racism Problem                    Dissent Vital
    (Constant)                                                           0.249 ***                      0.218 *                        1.669 ***                    -0.569 ***                      -0.015                          -0.046
                                                                        (0.060)                       (0.094)                        (0.089)                       (0.093)                         (0.090)                         (0.090)
    Sex                                                                   0.073 ***                       0.03                         -0.155 ***                    -0.031                          0.061 ***                      -0.064 ***
                                                                         (0.011)                       (0.017)                        (0.016)                       (0.017)                         (0.016)                         (0.016)
    Is R non-white?                                                       0.094 ***                     0.076 ***                      0.078 ***                     -0.037                          0.025                           0.033
                                                                         (0.012)                      (0.020)                         (0.018)                       (0.019)                         (0.019)                         (0.019)
    Arts & Humanities or                                                  0.122 ***                     0.069 ***                      0.025                         0.107 ***                        0.113 ***                      0.081 ***
       Social Sciences Major?                                            (0.011)                       (0.017)                        (0.016)                       (0.017)                         (0.016)                         (0.016)
    School Ranking                                                       0.029 ***                       0.02 *                        0.051 ***                     0.113 ***                      0.038 ***                        -0.01
                                                                        (0.006)                       (0.009)                        (0.008)                       (0.009)                         (0.008)                         (0.008)
    Liberal Arts College?                                               1.9E-02                      -3.2E-02                      -4.0E-03                       -9.1E-02 ***                    4.0E-03                          2.9E-02
                                                                        1.3E-02                       2.1E-02                       1.9E-02                        2.0E-02                        2.0E-02                          2.0E-02
    Average Peer Ideology                                                  0.28 ***                    0.095 **                    -8.3E-02 **                     1.2E-01 ***                    -5.0E-02                         7.2E-02 *
                                                                         (0.021)                      (0.033)                        3.1E-02                       3.2E-02                         3.2E-02                         3.1E-02
    Ideological Self-Placement (1st Year)                             -4.2E-01 ***                   -1.0E-01 ***                   -2.7E-01 ***                   2.8E-02 **                     -2.7E-02 **                     -9.0E-03
                                                                       7.0E-03                        1.0E-02                        1.0E-02                       1.0E-02                         1.0E-02                         1.0E-02
    Adjusted R2                                                            0.228                         0.009                          0.074                           0.02                          0.006                           0.004
    n                                                                    14,486                         14,234                         14,290                        13,927                          14,322                          13,276

    Abortion −liberal þconser; Sex: M=1 f=2; Car 1=bac 3=research; Rank 1=low 3=high; Relig 0=no 1=yes; Expen




    There is a significant difference in the explanatory power of the                                                             their first to fourth year in college. Moreover, these issue-
regression models for ideological drift compared to issue-position                                                                position changes often are predicted by the average student views
drift. Almost a quarter (22.8%) of the variation in ideological drift                                                             at the institution. Students with more liberal peers tend to move
can be explained by the regression model. By contrast, the model                                                                  more to the left on ideological self-placement, abortion, and
explains only 7% of variation in views on gay marriage; 2% of the                                                                 affirmative action when compared to students with more con-
drift in views on affirmative action; and less than 1% of the drift in                                                            servative peers. The evidence is consistent with research in political
views on abortion, racism, and dissent. Whereas being an arts,                                                                    socialization that shows a significant peer effect on young people’s
humanities, or social science major tends to predict more leftward                                                                political values (Milem 1998).
movement on issue positions, the majority of variance in students’                                                                    The fact that arts, humanities, and social science students move
views is unexplained. This raises the possibility that the liberaliz-                                                             leftward faster than students in the hard sciences and professional
ing effect of college is not tied to a student’s major but rather is a                                                            majors certainly raises the possibility that left-leaning faculty—
byproduct of the college experience common to all students. The                                                                   however unintentionally—transmit their beliefs to their students.
common element could include the impact of the liberal arts core                                                                  Yet, it is also possible that the socializing influence of peers is
curriculum. Alternatively, it might be the result of nonacademic                                                                  more intense in majors in which fellow students are more liberal.
influences such as student-life organizations, which often delib-                                                                 Because our measurement for “average peer ideology” can capture
erately promote the value of tolerance and diversity in a manner                                                                  the views of students only at the college rather than in the major, it
that overlaps with left–right ideological debates.                                                                                is difficult to know if the arts, humanities, and social sciences
                                                                                                                                  variable denotes influence by the faculty or by peers in the major.
CONCLUSION                                                                                                                        We will explore this topic in future work.
Our analysis supports the conclusion that students’ views on                                                                          Finally, although college does appear to have some impact on
policy issues are more malleable than their political self-                                                                       undergraduates’ political views, most students, overall, will com-
identification. Students’ ideological change over four years has a                                                                plete their four-year degree with their ideological identity and
slight liberal drift, although the majority of movement can be                                                                    views largely intact. Change in ideological identity appears to be a
summarized as a regression toward the mean effect. It is worth                                                                    regression to the mean effect. On specific issues, students drift
noting that few students actually change from the left side of the                                                                more uniformly to the left, suggesting that future studies of
ideological scale to the right or from the right side to the left: only                                                           political change during the college years should focus first on
4% change more than one unit on the scale.                                                                                        shifts in issue positions. ▪
    However, on a number of social and political issues, we saw
more uniform shifts over time and in the direction that is
consistent with a “liberalizing” effect of higher education. On                                                                   NOTES
the issues of abortion, affirmative action, and same-sex marriage,                                                                1. Mariani and Hewitt (2008) found slight drift to the left among students overall but
students across the political spectrum appear to drift left from                                                                     concluded that the majority do not change in political orientation during their



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    college experience. They also concluded that what change does occur is not                                                    Higher Education Research Institute (HERI). 2018a. “Freshman Student Survey.”
    sufficient to support an indoctrination hypotheses, especially because student                                                   Available at https://heri.ucla.edu/cirp-freshman-survey.
    change seems to be unrelated to professors’ political orientations.
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2. For example, see www.pewforum.org/fact-sheet/public-opinion-on-abortion and                                                       Available at https://heri.ucla.edu/college-senior-survey.
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                                                    LEFT TO RIGHT: SUSAN SEUBERT (GILLEY); SYLVIA JOHNSON (MEAD); WILLIAM FIGG (WAX)




When Professors’ Speech Is
Disqualifying
Should academic freedom really protect those who make false and morally repellent
claims? It’s time for a rethink.

Michael Bérubé, Jennifer Ruth / March 21, 2022

    Does academic freedom protect professors espousing white supremacist ideas?

    The answer, for the past hundred-and-more years since the founding of the
    American Association of University Professors (AAUP) in 1915, has been yes. This is a
    disturbing realization for anyone who thinks of academic freedom as one of the
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    cornerstones of a free and open society—and who understands how profoundly it is
    threatened by Republican state legislatures trying to criminalize the teaching of
    critical race theory (CRT). Also disturbing is the fact that, over the past decade, the
    concept of academic freedom has been confused—sometimes innocently, sometimes
    not—with free speech. The result is that even while pusillanimous university
    administrators remove a professor from his class for using a Chinese term that
    sounds like the N-word, seriously racist work continues to enjoy protection on the
    grounds that academic freedom is co-extensive with free speech, and scholars like
    University of Pennsylvania law professor Amy Wax can call for a “cultural distance
    nationalism” whose core belief is that “our country will be better off with more
    whites and fewer non-whites.” Indeed, in Wax’s case, this strange idea of academic
    freedom has permitted her to lie in public, in a 2017 interview with Glenn Loury,
    about the academic achievements of Black law students at Penn.

    Wax did not emerge entirely unscathed; she was removed from required first-year
    law classes, and her misrepresentations of Penn’s Black students were repudiated by
    her dean. But she remains on the faculty, and she remains a hero on the right and a
    cause célèbre for libertarians; in 2018, Penn trustee emeritus and law school overseer
    Paul S. Levy actually resigned in protest over Penn’s decision to remove Wax from
    those required first-year courses, writing to then-President Amy Gutmann that the
    decision effectively suppresses “open, robust, and critical debate over differing views
    of important social issues.”




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    And then there is the curious case of Bruce Gilley, a colleague of Jennifer Ruth’s at
    Portland State University. Gilley made a name for himself as the author of the article
    “THE CASE FOR COLONIALISM,” whose publication by the journal Third World
    Quarterly in 2017 led to considerable controversy. He has emphatically doubled
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    down since, giving a talk to the German far-right AfD Party about the glories of their
    colonial past. In 2019, publishing on the website of the National Association of
    Scholars, he asked, “Was it Good Fortune to be Enslaved by the British Empire?” His
    answer is yes: “To be Black in America is, historically speaking, to have hit the
    jackpot.” “For those who came ashore at Jamestown and in the centuries that
    followed,” Gilley concludes, “being enslaved under the British empire was about as
    good as it got.” On Twitter, he refers to George Floyd as a “thug” and King Leopold II,
    whose brutal practices in the Congo Free State resulted in an estimated 10 million
    deaths, as a “hero.” In a June 30, 2020, tweet, Gilley wrote that the Belgians should
    apologize to Congo, not for the murder of 10 million Congolese, but for

         *not colonizing the King’s estates sooner
         *ending colonial rule despite mainstream Congolese opposition to
         independence
         *not arresting or killing Patrice Lumumba sooner
         And nothing else.

    These remarks are of course protected by the First Amendment. Whether they are
    also protected by academic freedom is the trickier question—and it is the one we
    want to ask. The American concept of academic freedom is distinctive insofar as it
    covers not only research and teaching but also “extramural utterances”—statements
    beyond research and teaching, including Twitter and podcasts. The idea is that no
    professor gives up their First Amendment rights as a citizen when they take an
    academic position. And ever since the infamous Leo Koch case at the University of
    Illinois at Urbana-Champaign in 1960, in which Koch was fired for writing a letter to
    the student paper arguing that students should engage in premarital sex, the AAUP
    has consistently held that faculty should not be fired for extramural speech unless
    that speech calls into question a professor’s fitness to serve. Ordinarily, that speech
    has to bear directly on the faculty member’s field of study. The idea is that a historian
    who is a Holocaust denier is obviously unfit, whereas an electrical engineer who is a
    Holocaust denier is just a crank. This position makes perfect sense, though few
    people realize that it entails the unsettling corollary that professors enjoy greater
    protection for extramural speech when they have no idea what they’re talking about
    than for speech within the areas of their research and teaching.

    So how does this principle guide us with professors espousing white supremacist
    ideas and defenses of colonialism and slavery when they claim to be speaking and
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    writing on the basis of their scholarly expertise?

    When Gilley compares BLM “criminals” to the Red
    Guards of the Chinese Cultural Revolution, his First
    Amendment rights protect him. But that’s not the same
    thing as saying that his claims have the protection of
    academic freedom.
    When Gilley compares BLM “criminals” to the Red Guards of the Chinese Cultural
    Revolution, his First Amendment rights protect him. But that’s not the same thing as
    saying that his claims have the protection of academic freedom. He is not, after all,
    platforming as an ordinary citizen; he’s doing it, as he says in a tweet on June 16,
    2020, “based on my knowledge of Mao’s politics.” This is critical. For here he is saying
    that his extramural commentary is manifestly an extension of what he considers his
    area of expertise—the history and politics of various regimes. He’s not staking his
    rights to this speech on the First Amendment, but on his claim to expertise as a
    scholar of political science.

    Professors like Gilley provoke the question: If we are renaming a college that honors
    John C. Calhoun (as Yale did in 2017) and taking Woodrow Wilson’s name off a
    School of Public and International Affairs (as Princeton did in 2020), why are we not
    rethinking academic freedom for racists? If Princeton were to say, for example, “We
    are removing Woodrow Wilson’s name from the School of Public and International
    Affairs, but we will continue to employ and support faculty members who share
    Wilson’s beliefs about race and eugenics,” surely one would be right to dismiss the
    renaming as a purely symbolic public relations gesture involving no substantial
    reckoning with the legacy of eugenics and white supremacy. A more honest and
    thorough reckoning would ask whether those beliefs have any legitimacy
    whatsoever, and, if not, why they should continue to be promoted with the
    imprimatur of a university rather than relegated to the “race realist” fever swamp of
    the Pioneer Fund.



    Most discussions of “free speech on campus” don’t really concern academic freedom;
    rather, they tend to involve arguments that “cancel culture” and “wokeness” are
    making it impossible for Charles Murray to get a hearing for what are almost always

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    disingenuously called “controversial ideas.” But some ideas don’t deserve a hearing,
    and one of the primary roles of the university is to distinguish between those that do
    —and should continue to be explored and built upon—and those that should not be
    seriously entertained by any legitimate institution of higher education. Conflating
    free speech with academic freedom obscures this basic truth.

    Regrettably, the AAUP itself has contributed to this conflation—in its 1994
    statement, “On Freedom of Expression and Campus Speech Codes,” which concludes
    with the ringing words, “Free speech is not simply an aspect of the educational
    enterprise to be weighed against other desirable ends. It is the very precondition of
    the academic enterprise itself.” The political pressures of the 1990s remain legible
    today: The AAUP’s response to the advent of speech codes was not merely a response
    to the advent of speech codes, but to the broader phenomenon of “political
    correctness” as allegedly instantiated by those speech codes. For us, however, those
    ringing words ring false. To be sure, some version of free speech is indispensable to
    the academic enterprise: Universities must be intellectually autonomous from the
    state, and faculty members intellectually autonomous from university
    administrators, trustees, and donors. That is the rock on which the AAUP is founded.
    Students, for their part, may not enjoy academic freedom in the way that faculty do,
    but must be free to pursue and to contribute to their education in any manner that
    does not violate or jeopardize the educational mission of the university.

    Astonishingly, however, the statement argues that universities violate or jeopardize
    their mission if they try to adjudicate between good and bad ideas:

         An institution of higher learning fails to fulfill its mission if it asserts the
         power to proscribe ideas—and racial or ethnic slurs, sexist epithets, or
         homophobic insults almost always express ideas, however repugnant.
         Indeed, by proscribing any ideas, a university sets an example that
         profoundly disserves its academic mission.

    The “ideas” expressed by slurs and insults are typically limited to the literal terms of
    the utterance itself. But even more mistaken is the statement’s insistence that “by
    proscribing any ideas, a university sets an example that profoundly disserves its
    academic mission.” This dogmatic proscription of proscription suffuses the
    document, and it is nothing short of bizarre. It manifestly defaults on one of the
    primary responsibilities of institutions of higher education. “A college or university,”
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    it claims, “sets a perilous course if it seeks to differentiate between high-value and
    low-value speech.” On the contrary, it is one of the primary functions of a college or
    university, if not the primary function, to distinguish between high-value and low-
    value speech. This is what professors do every time they grade student papers, write
    student recommendations, evaluate the work of their colleagues (especially for
    tenure and promotion), or participate in routine committee work. What is the
    intellectual mission of the university, we wonder, if it abandons the obligation to
    exercise critical judgment about the comparative value of different speech acts?

    That abnegation of critical judgment is the most important feature of the 1994
    statement. It is announced in the document’s short, emphatic second paragraph,
    which reads like a pull quote for the statement as a whole (and has often been cited
    that way): “On a campus that is free and open, no idea can be banned or forbidden.
    No viewpoint or message may be deemed so hateful or disturbing that it may not be
    expressed.” This may be the case when it comes to students; that’s what they are
    there for—to test out their thoughts and ideas and develop them. But one wonders
    why professors would be so allergic to the idea that some ideas have no place on their
    campuses—say, ideas that climate change is a hoax, that creationism is as legitimate
    as the theory of evolution, that phrenology has much to teach us, that vaccines cause
    autism, that Jews control the world banking system and the mass media, or that—as
    liberal lion Oliver Wendell Holmes once argued—the state has a perfectly legitimate
    interest in promoting the involuntary sterilization of people with intellectual
    disabilities.

    At stake here is whether American universities can serve democracy, as they should,
    without turning into places where anything goes and knowledge is determined by
    those with the most money or the loudest voices. In Democracy, Expertise, and
    Academic Freedom: A First Amendment Jurisprudence for the Modern State, Yale law
    professor Robert C. Post distinguishes “democratic legitimation,” which is why we
    have the First Amendment, from “democratic competence,” which is why we have
    universities and academic freedom. As he explained in a 2012 interview, he
    developed these terms after realizing “that First Amendment protections can
    function to debase knowledge into mere opinion and thereby to undercut the very
    political conversation that the First Amendment otherwise fosters.” Democratic
    legitimation, he writes, “requires that the speech of all persons be treated with
    toleration and equality.” Democratic competence, by contrast, “requires that speech

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    be subject to a disciplinary authority that distinguishes good ideas from bad ones.”
    How to reconcile the two? Post concludes that we must understand academic
    freedom to be based on democratic competence but not on democratic legitimation.
    Democratic competence—the knowledge and insight made available to society
    through its universities that are based on study and knowledge and not reducible to
    mere opinion or viewpoint—can be ensured when academic freedom, not free
    speech, is the ruling principle: Universities must be “free to evaluate scholarly
    speech based upon its content.”

    Universities are thus critical institutions in democratic countries because the work
    they perform—discriminating between opinion or propaganda on the one hand and
    reasoned argument on the other—inhibits the development of alternate realities
    rooted in power and special interests. Why, then, has it been so easy and tempting for
    everyone to treat academic freedom as a synonym for free speech? For two reasons,
    we suspect. One, “expertise,” some conception of which is integral to academic
    freedom, is in bad odor these days, for some good and some bad reasons. Two, the
    idea of “competence” pales next to the triumphant rhetoric of free speech—the idea
    that everyone has a right to speak their mind. According to Post, while “it is not
    intelligible to believe that all ideas are equal,” Americans gravitate to free speech
    over the cognitive ideal embedded in academic freedom because “Americans are
    committed to the equality of persons,” and “the deep egalitarian dimension of the
    First Amendment resonates far more with this ethical value than with any cognitive
    ideal.”

    Post is probably right about this—with the proviso that not all Americans are
    committed to the equality of persons, and that the conflict between those who are
    and those who are not has been central to the country’s legacy of racism.
    Acknowledging this reality—even in states where it is now illegal to acknowledge
    that legacy in schools—is the first step toward ensuring that white supremacist
    beliefs do not regain the academic legitimacy they enjoyed for so many years.



    We didn’t choose to write about the problem of white supremacist professors simply
    because of the rise of Trumpism and the vicious backlash against BLM and CRT.
    Those are factors, to be sure. But the larger problem, which theorists of academic
    freedom have yet to confront, is that white supremacism has a very long and deeply

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    entrenched history in American higher education. It was for many years the
    dominant strain of historiography in the United States, inaugurated by Columbia
    professor William Archibald Dunning in the late nineteenth century and carried on
    by his legions of students for generations. The Dunning School was, in effect, the
    intellectual arm of the neo-Confederate, white supremacist movement that
    continued to prosecute the Civil War—with great success. The derogatory and
    heavily laden terms “carpetbagger” (for Northerners who came to the South for
    political or economic reasons) and “scalawag” (for Southerners who supported
    Reconstruction) made their way into countless American history textbooks, and
    there was an entire cottage industry devoted specifically to besmirching the record
    and the person of President Ulysses S. Grant. The archive of the Dunning School is
    impressively large, and impressively influential. It was, in effect, the academic
    accomplice to Jim Crow.

    Nor is the Dunning School itself anomalous in the history of American academe. As
    scholars of literature, we can add that the field of American literary study, from its
    origins in the 1920s, was almost exclusively an all-white affair as well, and remained
    so until the 1980s. For much of the first half of the twentieth century, the work
    produced in elite universities, in many fields, was either complicit with or actively
    engaged in promoting the projects of white supremacy. Again, Columbia University
    provides a shining example: John W. Burgess, whose influential two-volume 1890
    work, Political Science and Comparative Constitutional Law, assured a generation
    and more of theorists and policymakers that “the highest talent for political
    organization has been exhibited by the Aryan nations” and that “Teutons” (by which
    he meant Anglo Americans, Germans, and Scandinavians) rule by right over their
    inferiors: “In a state whose population is composed of a variety of nationalities the
    Teutonic element, when dominant, should never surrender the balance of political
    power, either in general or local organization, to the other elements. Under certain
    circumstances it should not even permit participation of the other elements in
    political power.” Burgess is often considered to be among the scholars responsible for
    establishing political science as a discipline.

    So for those of us living and working in academe today, what is to be done? Are we to
    retroactively cancel William Dunning, John Burgess, and all their epigones, firing
    them posthumously and removing their books from the libraries? Of course not. Like
    D.W. Griffith’s The Birth of a Nation and Thomas Dixon’s The Clansman, the novel on

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    which the groundbreaking film was based, they are part of the legacy of American
    white supremacy just as surely as Black disenfranchisement, persecution, and
    lynching. We need to acknowledge that today and continue to study its implications,
    not cancel it. But we also need to say, after 250 years of slavery and another 150 of
    systemic racism in American life, that enough is enough. White supremacist
    scholarship is bad scholarship; it serves morally and politically repugnant ends; and
    though we can’t wish its legacy away, we can and should say that it has long outlived
    its expiration date. Like Holocaust denial by historians of Germany, it needs to be
    understood as a sign of unfitness that needs to be assessed by a panel of disciplinary
    peers.

    We need to say, after 250 years of slavery and another 150
    of systemic racism in American life, that enough is
    enough. White supremacist scholarship is bad
    scholarship; it serves morally and politically repugnant
    ends; and though we can’t wish its legacy away, we can
    and should say that it has long outlived its expiration
    date.
    Let us be clear about where we are setting the bar. We are not saying that widely held
    political positions on the right, like opposition to affirmative action or immigration,
    are grounds for determining a faculty member’s unfitness. Affirmative action and
    immigration are subjects about which there can be legitimate political disagreement.
    But the assertion that Black people are biologically or culturally less capable of self-
    government than others is qualitatively different—and disqualifying. Versions of
    that belief have poisoned so-called Western culture for more than 500 years, and
    arguably reached an apex in the early twentieth century, when pseudoscientific
    racism laid the groundwork for eugenics and genocide. It is past time for them to go
    the way of beliefs in phlogiston, the philosopher’s stone, and the efficacy of human
    sacrifice—beliefs that every American is free to espouse but no one would defend on
    the basis of academic freedom.



    So, this brings us to the money question: Amy Wax made headlines again in early
    2022, this time for complaining that there are too many Asians in the country. In
    response, Keith E. Whittington, professor of politics at Princeton, rushed to her
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    defense, as he has before—this time under the aegis of the newly formed Academic
    Freedom Alliance. “Wax should suffer no formal consequences as the result of these
    public statements,” Whittington wrote. “Regardless of what one thinks about
    Professor Wax’s personal political views, the only appropriate action that the
    University of Pennsylvania should take in this situation is to publicly reaffirm the
    free speech rights of the members of its faculty.” The idea, once again, is that
    academic freedom is identical with free speech, and that accordingly, nothing a
    professor says can be considered grounds for “formal consequences.”

    To be sure, professors should not be fired simply for obnoxious beliefs. But if those
    beliefs demonstrate unfitness—professional incompetence—then they are grounds
    not merely for criticism but dismissal. Incompetence has always been the criterion,
    as it should be; and while the AAUP has rightly insisted that the bar for determining
    unfitness must be very high, surely it is not so high that it disappears from view
    altogether. Occasionally, faculty do face consequences for espousing beliefs with no
    tether to any plausible reality known to humankind; James Tracy at Florida Atlantic
    University and Joy Karega at Oberlin College are two recent examples. Tracy was a
    communications scholar and a Sandy Hook truther who made a point of tormenting
    the grieving parents of children murdered in that massacre; Karega was a professor
    of rhetoric and composition who promoted a panoply of antisemitic conspiracy
    theories, including the claims that ISIS is a CIA/Mossad front and that the 2015
    Islamist attack on the Paris offices of Charlie Hebdo was in fact a false flag operation
    conducted by Israel. Both were rightly determined to be in the ballpark of Holocaust-
    denying historians (though Tracy was technically fired for insubordination).

    But who gets to decide unfitness, and how is due process ensured? The AAUP has
    always been resolute in its conviction that only one’s peers can decide one’s fitness.
    An engineer does not review a literary critic for promotion and tenure; only other
    literary critics do. A Republican governor does not decide what political scientists
    determine should be in their curricula. Furthermore, administrators are supposed to
    defer to the mechanisms of peer review. But when it comes to dealing with allegedly
    racist faculty, there is no system of peer review whatsoever—and so decisions are
    handed by default to administration, and procedures are opaque if not Kafkaesque.

    We therefore call on faculty senates across the country to develop “academic
    freedom committees” comprising faculty elected to adjudicate cases by establishing
    field-appropriate review panels in the physical sciences, social sciences, arts, and
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    humanities. Some senates have standing committees with “academic freedom” as
    their charge already; their jurisdiction should be enlarged to ensure that cases of
    disciplinary incompetence can be brought to them and panels created by them.
    Faculty at institutions with strong traditions of shared governance understand the
    power of universitywide faculty committees, but they may harbor doubts about such
    committees nonetheless. The vast majority of faculty do not labor under the illusion
    that some other body, one not made up of one’s peers, is gifted with a degree of
    clarity and insight that eludes faculty, but they still have reason to wonder if we can
    trust one another. We understand that we, the faculty, lose academic freedom the
    moment we search for recourse in any authority but our own. But then again, who
    are we? We exist in the same typically predominantly white institutions that have
    housed white nationalists and Western chauvinists for years. We are the people who
    have been unable or unwilling to integrate what Black intellectuals from George
    Washington Williams to Charles W. Mills have repeatedly pointed out about the
    structural racism that is baked into higher education no less than it is in democracy
    itself. We are also the people who jealously guard any apparent infringement on
    absolute autonomy, willing to protect those we abhor if we think it makes our own
    protection more invincible.

    Yes, the faculty are still dominated by a “we” for whom largely libertarian defenses of
    academic freedom remain persuasive. But only by a slight margin. These traditional
    defenders for whom free speech and academic freedom are synonymous have grown
    increasingly alarmed by what they interpret to be the younger generation’s
    ignorance regarding academic freedom’s purpose and importance. This is the
    generation that will populate and direct academic freedom committees—and the
    same signs that worry free-speech absolutists and those who conflate free speech
    with academic freedom are the ones that give us hope. There is much more to be said
    on this question of the emergent values of the next cohort of academics, of course,
    and much that remains unclear. But we cannot look outside the university for the
    help we need to solve a problem specific to universities; and academic freedom,
    unlike free speech, is specific to universities. And we believe we need to do
    something. We will offer one last example of why.

    In July 2020, Lawrence M. Mead, a professor of politics and public policy at NYU,
    published an essay in the journal Society titled “POVERTY AND CULTURE.” The
    article immediately sparked controversy and calls for its retraction, on the grounds

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    that its argument was not only overtly racist but utterly unsupported by scholarship
    on poverty. There is no question, we think, that the argument is racist. The really
    challenging and daunting thing about it, however, is that it is not an outlier, and not
    unsupported by other scholarship. On the contrary, it draws on decades of white
    supremacist work in the social sciences, including much of Mead’s prior work.

    The thesis is simple and familiar: Poverty is not, by and large, caused by structural
    oppression, historical and compounded inequities, or racism. It is caused primarily
    by cultural differences, by which Mead means the enterprising individualist culture
    of “the West” and the collective, less-than-enterprising cultures of the “non-West”:
    “Today, the seriously poor are mostly blacks and Hispanics, and the main reason is
    cultural difference. The great fact is that these groups did not come from Europe....
    Their native stance toward life is much more passive than the American norm.”
    Mead argues that the non-West is the source of “minorities”: “the West has simply
    chosen a more ambitious way of life than the non-West, where minorities originate....
    An enterprising temperament, historians suggest, chiefly explains why the West has
    dominated the globe in recent centuries.” You will not be surprised to learn that
    there is no footnote to indicate which “historians” have suggested this. But you
    might be surprised to learn that Hispanics—who, last we checked, came to the
    Americas from Spain—are part of the “non-West” in which minorities originate.

    If the relegation of Hispanics to the non-West were not bad enough, Mead treats his
    readers to some straight-up anti-Black racism, laced with a degree of ignorance that
    should embarrass anyone claiming the title of professor:

         Academics blame black social problems on white oppression. By that logic,
         the problems should have been worst prior to the civil rights reforms in the
         1960s. But in fact the opposite occurred. The collapse of the black family
         occurred mostly after civil rights rather than before. Most blacks came
         from a highly collective society in Africa, then lived under slavery and Jim
         Crow in the South. Those structures kept disorder at a low level. In that
         era, black levels of crime and female-headedness were not much higher
         than among whites. But blacks lost that structure after many migrated to
         the Northern cities in the last century, and especially after Jim Crow was
         abolished in the 1960s. So black social problems escalated even as
         opportunities broadened.

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    One hardly knows where to begin. Should one point out that the Black family was all
    but nonexistent under slavery, insofar as marriage was illegal and children were
    routinely sold away from their mothers? Natal alienation would seem relevant to any
    historical understanding of the “Black family.” Or should one remark on the Gilley-
    esque implication that slavery and Jim Crow had benefits for Black families, by
    keeping “disorder at a low level”? Or should one stop and marvel at the culturally
    illiterate claim—again, embarrassing for anyone with the title of professor—that
    “Africa” is a highly collective society? It is surely but a half-step from there to the
    belief that Africa is a backward continent.

    Not long after Mead’s essay was published, Mohamad Bazzi, a professor of
    journalism at NYU, tweeted a series of screenshots of excerpts of what he called “this
    stunning article.” The tweets drew the attention of Timothy Burke, a historian and
    Africanist at Swarthmore who from 2002 to 2021 maintained a highly respected blog,
    Easily Distracted (he has since moved, like so many other bloggers, to Substack).
    Burke proceeded to compose a nearly 3,500-word blog post detailing the numerous
    inaccuracies and failures of scholarship in Mead’s essay. What was especially striking
    about Burke’s response was his breakdown of the claim that Africa is a highly
    collective society, offering quick sketches of “Igbo-speaking communities in the
    Niger Delta/Cross River area between 1600–1800,” “Mande-speaking societies
    associated with the formation of the empire of Mali in the upper Niger and the
    savannah just west of the Niger,” the Asante Empire, and the Kingdom of Dahomey.
    “I’m going to be somewhat crudely comparative here,” Burke wrote, “but what I’m
    calling crude is essentially about ten magnitudes of sophistication above Mead’s
    crayon scrawling.”

    Burke’s post is dated July 28, 2020; the following day, an “editor’s note” appeared
    online at the head of Mead’s article, reading, “Concerns have been raised with this
    article and are being investigated. Further editorial action will be taken as
    appropriate once the investigation into the concerns is complete and all parties have
    been given an opportunity to respond in full.” (We do not mean to imply that Burke’s
    post alone was responsible for this note; the outcry sparked by Mead’s article was
    immediate, loud, and widespread.) Two days later, the editor in chief of Society,
    Jonathan B. Imber, Jean Glasscock Professor of Sociology at Wellesley College,
    together with Springer Nature, the publisher, retracted the article. Imber has since
    stepped down as editor in chief.

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    This regrettable sequence of events seems to us right and just, for as with Gilley’s
    “the case for colonialism,” the publication of “POVERTY AND CULTURE” appears to
    have rested on editorial judgment that is questionable at best, and certainly not in
    line with standard academic practice. As Imber explained in a statement, his
    decision “was a mistake, and one I deeply regret. My intent was to have this
    commentary published alongside two critical reviews of Mead’s 2019 book, Burdens
    of Freedom, on which Mead’s commentary is based, that identify flaws in Mead’s
    arguments. The decision was entirely my responsibility and no other member of the
    editorial board of Society was consulted or participated in that decision.” Mead, for
    his part, refused to agree to the retraction.

    But the mention of Mead’s book Burdens of Freedom: Cultural Difference and
    American Power raises the larger question at stake. Burdens of Freedom was
    published by the conservative press Encounter Books, not by an academic press, but
    it testifies to the fact that for Mead, “POVERTY AND CULTURE” was not a one-off.
    Quite the contrary, the ideas in that essay are the foundation of Mead’s career; in fact,
    Society had recently published (in 2018) a substantially similar essay by Mead,
    “CULTURAL DIFFERENCE.” And Mead has been recycling this material for quite
    some time. Furthermore, it is not as if Mead is an obscure academic, quietly
    ruminating on why people of color lack individual initiative while whittling on his
    front porch; he is, by all accounts, one of the most influential voices in American
    public policy on welfare, having provided the intellectual apparatus for welfare
    “reform” in the 1990s as enacted by Rudolph Giuliani in New York City and (to some
    extent) President Clinton at the federal level.

    The problem with Mead, therefore, is not the narrow question of whether “POVERTY
    AND CULTURE” was properly peer reviewed. It is not even whether his account of
    poverty or his characterization of “African society” makes any sense. Timothy Burke
    understood the stakes immediately: When a work “is not only bad,” he wrote, “but
    makes morally and politically repellant [sic] claims, it’s right to not merely offer
    public criticism but to raise questions about why a respectable scholarly journal
    would offer a place to such work.”

    There is no question, we believe, that Mead’s article makes morally and politically
    repellent claims, just as Gilley’s “THE CASE FOR COLONIALISM” and “Was it Good
    Fortune to be Enslaved by the British Empire?” do. As to the question of whether it is
    “bad” in a scholarly sense—well, yes, of course. It is very bad. But then that judgment
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    is an indictment not merely of this essay but of the entire tradition of
    pseudoscholarship of which it is a part. “But wait,” you say. “This argument extends
    well beyond the kind of white supremacism you’re targeting, and you’re assuming
    that it will be adopted only by people you agree with. What if leftist
    pseudoscholarship were at stake? Wouldn’t you close ranks and invoke the very idea
    of academic freedom you’re critiquing here?”

    No, we wouldn’t. Pseudoscholarship knows no party affiliation, and the arguments of
    Joy Karega and James Tracy should be subject to the same scrutiny we’re applying to
    Mead. As if to make our case for us, renowned leftist media theorist Mark Crispin
    Miller has for many years offered an impressive array of “alternative” accounts of
    reality, from 9/11 and Sandy Hook to the little-known “fact” that Black Lives Matter is
    funded by the CIA. In the era of Covid-19, Miller has turned the volume up to 11,
    proclaiming that the vaccines are an “inhuman witch’s brew of nanoparticles,
    human DNA (from fetal cells), and toxic adjuvants” and warning all and sundry of
    the global eugenicist conspiracy being carried out by Bill Gates, George Soros, the
    Rockefellers, the House of Windsor, and Ted Turner.

    If Miller is indeed teaching such material in his courses on Mass Persuasion and
    Propaganda, we think he should be treated identically to someone who tells students
    that The Protocols of the Elders of Zion is a reliable source. But instead, what
    happened to Miller at NYU was that in 2020 his colleagues called for an “expedited
    review” of his alleged “intimidation tactics, abuses of authority, aggressions and
    microaggressions, and explicit hate speech.” In 2021, Miller was cleared, and
    declared victory over the forces of woke oppression; he sued his colleagues for
    defamation, and that suit was dismissed in February of this year.

    But there is a crucial question here. Mark Dery asked it in his Chronicle of Higher
    Education essay on Miller: “Why did his colleagues, in the letter that provoked his
    lawsuit, focus not on his seeming disregard for core academic values like intellectual
    rigor and objective fact, at a moment when the very notions are under assault, but
    rather his alleged ‘hate speech,’ ‘microaggressions,’ and transphobia?” The answer,
    we propose, is that NYU has an office and a procedure for dealing with hate speech,
    microaggressions, and transphobia. It does not have an office or a procedure for
    dealing with faculty whose teachings violate every standard of legitimate and
    responsible research. And so Mark Crispin Miller’s case was adjudicated by means of

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    a category error, as if the real problem is his allegedly nasty attitude and transphobia
    rather than his manifestly falsifiable conspiracy-mongering.

    That is why universities need academic freedom committees: to differentiate
    between professors’ high-value and low-value speech, and to determine whether a
    professor’s beliefs can be, at an extreme, disqualifying. That is how we can maintain
    the academic integrity of academic freedom.



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John von Neumann Thought He Had the Answers
Samanth Subramanian




Samanth Subramanian
John von Neumann Thought He Had the Answers




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                                Exhibit MM

                    Placeholder for Videotaped Recording


Ybeth Bruzul, New Florida bill calls for annual evaluations of all university
viewpoints, Spectrum News 13 (July 18, 2021), available at https://www.mynews
13.com/fl/orlando/political-connections/2021/07/16/political-connections?cid=
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                               AERA Statement on the Significance of Academic Freedom in a Divisive Political Climate


                                                          Felice J. Levine, AERA Executive Director
                                                       Na’ilah Suad Nasir, AERA President, 2021–2022

                                                                         February 22, 2022


                             Our democracy is in a precarious moment. There are many disturbing signs. Most notable for higher
                             education institutions that serve as the bedrocks for the free expression of ideas and innovation is the
                             evident effort to suppress academic freedom. These attacks come at a time when such freedoms are the
                             solution to, rather than the cause of, a divisive political climate.


                             We support higher education institutions and urge them to stand firm for what is foundational to their
                             purpose. Universities and colleges are core contributors to the advancement of societies through faculty
                             research, the conveyance of knowledge to the next generation of students, and the dissemination of new
                             knowledge and discoveries to the public. These institutions are in many respects the centerpiece of a
                             vibrant democracy, where ideas—no matter the viewpoint—are shared, challenged, and improved in the
                             service of our communities and the world at large.


                             A central tenet undergirding this ecosystem is the free exchange of ideas—in the classroom, in research
                             topics studied, and in the communication of research findings to public and policy audiences. A right to
                             academic freedom is fundamental to this ecosystem. Indeed, the U.S. Supreme Court has repeatedly
                             emphasized the need to protect academic freedom under the First Amendment.


                             As early as 1967, the Court stated: “Our Nation is deeply committed to safeguarding academic freedom,
                             which is of transcendent value to all of us and not merely to the teachers concerned. That freedom is
                             therefore a special concern of the First Amendment, which does not tolerate laws that cast a pall of
                             orthodoxy over the classroom” (Keyishian v. Board of Regents, 1967).1 Acknowledging the important role
                             of the university in creating a climate for the free expression of ideas, at the beginning of this century the
                             Court reaffirmed: “We have long recognized that, given the important purpose of public education and the
                             expansive freedoms of speech and thought associated with the university environment, universities occupy
                             a special niche in our constitutional tradition” (Grutter v. Bollinger, 2003).2
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Threats to academic freedom are not new, but the political climate in which we now live is putting those
freedoms at grave risk. Some state legislators and executive branch leaders are functionally taking the view
that public academic institutions are extensions of government. Courses are being removed from the
curriculum or threatened with removal; those engaged in teaching or undertaking research on such topics
as racism, critical race theory, or gender identity are being scrutinized or chilled from pursuing those lines
of inquiry, whether directly by their institutions or more broadly by the pressures exerted on their
institutions. While some of the most egregious suppression is directed to social issues, many other areas
(e.g., pressure to destroy COVID research data) have experienced suppression effects as well.

There is good reason for being both alarmed and vigilant. A wave of legislation that aims to restrict
academic freedom, limit anti-racist education and research, and even prohibit the discussion of “divisive”
concepts in the classroom is beginning to flood state legislatures. Several bills proposed in Alabama would
make it illegal to teach students to believe “divisive concepts” regarding race or gender, including critical
race theory. One bill goes so far as to require the termination of faculty who do so.

Other examples of restrictive legislation are evident in Florida. The state has cast a pall over higher
education with the passage of a law with a provision that allows postsecondary students to record faculty
without their knowledge for possible violations of “intellectual freedom and viewpoint diversity.” The
chilling effects of such state laws can be seen in the actions by one Florida public institution barring faculty
from testifying in voting rights and mask-mandated court cases and pressuring faculty to remove race-
related language from course materials and destroy COVID-19 data.

In Texas, a faculty research project on anti-racist education was paused without investigation following a
Title VI complaint. Although the university subsequently lifted the hold, this type of disruption sends a
paralyzing chill throughout an academic setting. Faculty should be guaranteed the right to due process
before administrative actions are taken if universities are to truly remain fertile ground for the exchange
and advancement of ideas.

These threats to academic freedom are serious, and they are spreading. In January, the Mississippi Senate
passed one of several bills directed to banning critical race theory in public K–12 schools and public higher
education institutions. Laws like these have been rebutted through lawsuits that make a case for the
dangers to a democracy when freedom of expression is stifled, which did occur in the case of Florida. If we
are, however, to promote and foster a free and civil society, we need to work proactively, especially with
higher education institutions and with scientific and scholarly societies, to steward academic freedoms
rather than only to position ourselves to defend fundamental rights.


This is not the first time that AERA or other scholarly societies have confronted the need to protect
academic freedom in the face of political pressure. But we are at a critical juncture when we are also
confronting a U.S. history of racism, debating public health measures during a pandemic, engaging with
other challenging issues in the public sphere (e.g., limiting the rights of transgender and nonbinary
youths), and undergoing a rapid change in the demography of our population. At times like these, scholars
and students must be free to explore ideas, test them, and widely share and communicate findings, even if
they challenge current narratives or political views.


AERA is prepared to act on matters that affect the ability of its members to conduct research, communicate
findings, and teach students in an environment free of political interference. We endorsed the 1940
Statement of Principles on Academic Freedom and Tenure; issued a joint “Statement in Support of Anti-
Racist Education”; and co-signed a “Joint Statement on Legislative Efforts to Restrict Education about
Racism and American History.” Based on what we have observed already, it is none too soon to challenge
the growing state legislative efforts and the policies of state-level government officials that can undermine
or even more severely damage academic freedom in our educational institutions.


AERA joins other scientific societies, institutions of higher education, and faculty in the U.S. and
throughout the world in a commitment to academic freedom as a fundamental principle central to the
development of knowledge, an informed public, and the advancement of society. We encourage higher
education institutions to implement policies that safeguard faculty in the exercise of that right and create a
culture that celebrates that right as a core part of their mission. If colleges and universities are to remain
the center of intellectual debate and the pursuit of knowledge, efforts to insulate academia from political
pressure must be advanced.

1
 Keyishian v. Board of Regents, 385 U.S. 589 (1967). https://supreme.justia.com/cases/federal
/us/385/589/ (under headline, click “Case”). See Section III, para. 21. This paragraph count treats each
part of a broken paragraph as if it were separate.

2Grutter v. Bollinger, 539 U.S. 306 (2003). https://supreme.justia.com/cases/federal/us/539/306/ (under

headline, click “Case”). See Section IIIA, para. 6. This paragraph count treats each part of a broken
paragraph as if it were separate.


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